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                    EXHIBIT 1
      (FILE UNDER SEAL)
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                                                                       Page 1
                   HIGHLY CONFIDENTIAL AEO
                  UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK
       -----------------------------x
       VIRGINIA L. GIUFFRE,
                          Plaintiff,
               v.                  Case No:
                                   15-cv-07433-RWS

       GHISLAINE MAXWELL,

                                    Defendant.

       -----------------------------x


                            HIGHLY CONFIDENTIAL
                        DEPOSITION OF SARAH RANSOME
                            NEW YORK, NEW YORK
                        Friday, February 17, 2017




       Reported by:
       JEREMY RICHMAN
       JOB NO:  300491

                        MAGNA LEGAL SERVICES
                  320 West 37th Street, 12th Floor
                      New York, New York 10018
                          (866) 624-6221
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  1                     HIGHLY CONFIDENTIAL AEO

  2
  3
  4                                February 17, 2017

  5                                9:00 a.m.

  6
  7                     DEPOSITION of SARAH RANSOME, held

  8    at the offices of Boies, Schiller & Flexner,

  9    575 Lexington Avenue, New York, New York,

 10    before JEREMY RICHMAN, a Shorthand Reporter and

 11    Notary Public of the State of New York.

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                                                                       Page 3
  1                      HIGHLY CONFIDENTIAL AEO
  2    APPEARANCES:
  3
  4    BOIES, SCHILLER & FLEXNER, LLP
  5    Attorneys for plaintiff
  6             401 East Las Olas Boulevard, Suite 1200
  7             Fort Lauderdale, FL 33301-2211
  8    BY:      SIGRID STONE MCCAWLEY, ESQ.
  9             (smccawley@bsfllp.com)
 10
 11
 12    HADDON, MORGAN AND FOREMAN, P.C
 13    Attorneys for Defendant
 14             150 East 10th Avenue
 15             Denver, CO 80230
 16    BY:      LAURA A. MENNINGER, ESQ.
 17             JEFFREY S. PAGLIUCA, ESQ.
 18             (lmenninger@hmflaw.com)
 19             (jpagliuca@hmflaw.com)
 20
 21
 22
 23
 24
 25
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                                                                       Page 4
  1                       HIGHLY CONFIDENTIAL AEO
  2    APPEARANCES (Continued):
  3
  4    J. STANLEY POTTINGER, PLLC
  5    Attorneys for the witness
  6             49 Twin Lakes Road, Suite 100
  7             South Salem, NY 10590
  8    BY:      J. STANLEY POTTINGER, ESQ.
  9             (stanpottinger@aol.com)
 10
 11
 12    MINTZ & GOLD, LLP
 13    Attorneys for the witness
 14             600 Third Avenue
 15             New York, NY 10016
 16    BY:      PETER GUIRGUIS, ESQ.
 17             (guirguis@mintzandgold.com)
 18
 19
 20    ALSO PRESENT:
 21    GHISLAINE MAXWELL, via teleconference
 22
 23
 24
 25
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  1                        HIGHLY CONFIDENTIAL AEO

  2                    IT IS HEREBY STIPULATED AND AGREED

  3    by and between the attorneys for the respective

  4    parties herein, that filing and sealing be and

  5    the same are hereby waived.

  6                    IT IS FURTHER STIPULATED AND AGREED

  7    that all objections, except as to form of the

  8    question, shall be reserved to the time of the

  9    trial.

 10                    IT IS FURTHER STIPULATED AND AGREED

 11    that the within deposition may be sworn to and

 12    signed before any officer authorized to

 13    administer an oath, with the same force and

 14    effect as if signed and sworn to before the

 15    Court.

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 20                    -     oOo   -

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  1             HIGHLY CONFIDENTIAL AEO
  2                  MS. MENNINGER:           If we could
  3         have counsel enter their
  4         appearances for the record,
  5         please.
  6                  MR. GUIRGUIS:          Sure.       My
  7         name is Peter Guirguis.               I'm
  8         appearing on behalf of the
  9         witness today.
 10                  MS. MCCAWLEY:          Sigrid
 11         McCawley on behalf of Virginia
 12         Giuffre, the plaintiff in the
 13         action.
 14                  MR. POTTINGER:           Stan
 15         Pottinger on behalf of the
 16         witness.
 17                  MS. MENNINGER:           Laura
 18         Menninger and Jeffrey Pagliuca on
 19         behalf of Ms. Maxwell, who is
 20         appearing by telephone.
 21                  SARAH RANSOME, having been
 22         called as a witness, having first
 23         been duly sworn by a Notary
 24         Public (Jeremy Richman) of the
 25         State of New York, was examined
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                                                                       Page 7
  1               HIGHLY CONFIDENTIAL AEO
  2          and testified as follows:
  3                   EXAMINATION BY
  4                   MS. MENNINGER:
  5          Q.       Good morning, Ms. Ransome.
  6          A.       Good morning.
  7          Q.       Can you please give us your
  8    full name.
  9          A.       Sarah Emma Ashley Ransome.
 10          Q.       And what is your birth date?
 11          A.
 12          Q.       And what is your current
 13    address?
 14                   MR. GUIRGUIS:           I'm going to
 15          object to current address.
 16          Q.       You can answer.
 17                   MR. GUIRGUIS:           You can give
 18          your last permanent address.
 19          A.
 20                   (An off-the-record
 21          discussion was held.)
 22          A.


 24          Q.       And what does that mean,
 25    that's your last permanent address?
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                                                                       Page 8
  1               HIGHLY CONFIDENTIAL AEO
  2          A.       I reside there.
  3          Q.       Do you rent an apartment?
  4          A.       My partner does.
  5          Q.       Who is your partner?
  6                   MR. GUIRGUIS:           Objection.
  7          Q.       Who is your partner?
  8                   THE WITNESS:          Do I have to
  9          answer that?
 10                   MR. GUIRGUIS:           Yes.
 11          A.
 12          Q.       I'm sorry?
 13          A.
 14          Q.       How do you spell that last
 15    name?
 16          A.
 17          Q.       And how long has                    been
 18    your partner?
 19                   MR. GUIRGUIS:           I'm going to
 20          object.       I'm not sure what the
 21          relevance of this is or where
 22          you're going with this.
 23          Q.       How long has                   been your
 24    partner?
 25                   THE WITNESS:          Sorry, can I
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  1                HIGHLY CONFIDENTIAL AEO
  2           just ask a question?              I would
  3           like to just clarify.              When you
  4           say objection, does that mean I
  5           actually have to answer the
  6           question?        Because that's
  7           irrelevant.
  8                    MR. GUIRGUIS:          Right.
  9           Unless I'm telling you not to
 10           answer, you need to answer.
 11                    THE WITNESS:          So I don't
 12           need to answer?
 13                    MR. GUIRGUIS:          No, you do
 14           need to answer this.
 15           A.       Okay.      We've been together
 16    almost a year.
 17           Q.       And what is your current
 18    occupation?
 19           A.       I'm a writer.
 20           Q.       And what do you write?
 21           A.       Just stuff, you know?               Just
 22    about factual stuff.               You know, just a
 23    bit of this, bit of that.
 24           Q.       Have you been paid for any
 25    of your writing?
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                                                                    Page 10
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       No.     It's more of a hobby,
  3    really.
  4           Q.       Are you employed?
  5           A.       Nope.
  6           Q.       Do you have any source of
  7    income?
  8           A.       My partner --
  9                    MR. GUIRGUIS:          I'm going to
 10           object to that.           Income is out.
 11                    You don't have to answer
 12           that.
 13           Q.       Do you have any source of
 14    income?
 15                    MR. GUIRGUIS:          I just
 16           objected to that.            You don't have
 17           to answer.
 18                    MS. MENNINGER:           Is there a
 19           privilege you're asserting?
 20                    MR. GUIRGUIS:          I'm not sure
 21           what the relevance is, and I'm
 22           not going to allow --
 23                    MS. MENNINGER:           Do you
 24           believe that relevance is a
 25           proper objection during a
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                                                                    Page 11
  1               HIGHLY CONFIDENTIAL AEO
  2           deposition?
  3                    MR. GUIRGUIS:          I believe
  4           that if you go far afield with
  5           this witness, that the judge is
  6           not going to appreciate it, and
  7           that I'm not going to just sit
  8           here and be a potted plant and
  9           allow her to answer any questions
 10           on any subject that you see fit.
 11                    MS. MENNINGER:           On
 12           relevance?        You're instructing
 13           her not to answer on a relevance
 14           objection?        Is that what you're
 15           saying?
 16                    MR. GUIRGUIS:          I just
 17           objected.
 18                    MS. MCCAWLEY:          I'm going to
 19           object on behalf of the
 20           plaintiff, Virginia Giuffre, to
 21           the extent that you're requesting
 22           from a nonparty financial
 23           information, which is not allowed
 24           under New York law.
 25                    MS. MENNINGER:           I have asked
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                                                                    Page 12
  1                HIGHLY CONFIDENTIAL AEO
  2           her whether she has any source of
  3           income, and you're going to
  4           object --
  5                    MS. MCCAWLEY:          Yes.
  6                    MS. MENNINGER:           -- and
  7           instruct her not to answer as
  8           well?
  9                    MS. MCCAWLEY:          I'm not
 10           instructing her not to answer.
 11           I'm just making a record.
 12                    MR. GUIRGUIS:          It's
 13           financial information --
 14                    MS. MENNINGER:           And whether
 15           she has a financial motive is
 16           relevant.
 17           Q.       So I'm going to ask you a
 18    last time:         Do you have any source of
 19    income?
 20                    MR. GUIRGUIS:          I'm going to
 21           instruct you again not to answer.
 22           Q.       Has any of your writing been
 23    published by anyone?
 24           A.       No.
 25           Q.       Have you sought to have your
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                                                                    Page 13
  1                HIGHLY CONFIDENTIAL AEO
  2    writing published by anyone?
  3           A.       No.
  4           Q.       What is your partner's
  5    occupation?
  6                    MR. GUIRGUIS:          Objection.
  7                    MS. MCCAWLEY:          Objection.
  8                    MR. GUIRGUIS:          I'm going to
  9           object, yeah.          Same objection.
 10                    MS. MENNINGER:           If you are
 11           going to instruct the witness not
 12           to answer, please say that
 13           contemporaneous with your
 14           objection, because there are two
 15           different things:            There are
 16           objections and instructions not
 17           to answer.
 18                    So are you instructing her
 19           not to answer what her partner's
 20           occupation is?
 21                    MR. GUIRGUIS:          Right.       Same
 22           objection.        I'm instructing the
 23           witness not to answer on the
 24           basis of both relevance and
 25           because she is a third-party non-
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  1                HIGHLY CONFIDENTIAL AEO
  2           -- I'm sorry -- nonparty witness
  3           who you are asking for financial
  4           information about --
  5                    MS. MENNINGER:           No, I asked
  6           for an occupation.
  7                    MS. MCCAWLEY:          I'm going to
  8           object.       That relates directly to
  9           financial information, so it's
 10           covered by New York law with
 11           respect to nonparty witnesses.
 12           Q.       What are the names of your
 13    parents?
 14           A.


 16           Q.       How do you spell
 17           A.
 18           Q.       And where do your parents
 19    live?
 20           A.       I'm not comfortable giving
 21    my mother's and my father's address to
 22    you.
 23                    MS. MENNINGER:           Are you
 24           instructing her not to answer?
 25                    MS. MCCAWLEY:          Do you want
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  1                HIGHLY CONFIDENTIAL AEO
  2           to confer?
  3                    MR. GUIRGUIS:          Give me a
  4           moment on this.
  5                    THE WITNESS:          We're really
  6           well organized.
  7                    (Time noted:          9:21 a.m.)
  8                    (Recess.)
  9                    (Time noted:          9:23 a.m.)
 10           Q.       Ms. Ransome, there was a
 11    question pending when you took a break
 12    with your lawyers.              Can you please
 13    answer the question.
 14                    MR. GUIRGUIS:          I'm
 15           instructing the witness not to
 16           answer questions regarding
 17           current information about her own
 18           location, her family's location,
 19           things of that nature.
 20                    The witness has expressed to
 21           me fears of harassment and the
 22           belief that she's being followed,
 23           and my understanding is that
 24           there are other witnesses that
 25           have had similar fears and
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                                                                    Page 16
  1                HIGHLY CONFIDENTIAL AEO
  2           concerns.
  3                    And unless you make some
  4           sort of proffer of the actual
  5           relevance of her parents'
  6           addresses, wherever those are,
  7           I'm not going to have her answer.
  8                    MS. MENNINGER:           Okay.      Where
  9           does that understanding come
 10           from, please, Mr. Guirguis?
 11                    Mr. Guirguis, where does
 12           your understanding come from?
 13           You just made a factual
 14           representation.           I would like to
 15           know where your understanding
 16           comes from.
 17                    MR. GUIRGUIS:          Yeah, I'm not
 18           being deposed.           I'm not going to
 19           answer your questions.
 20                    MS. MENNINGER:           All right.
 21           Q.       Ms. Ransome, did you agree
 22    to be a witness in the case of Giuffre
 23    versus Maxwell?
 24           A.       Yes.
 25           Q.       Did you voluntarily agree to
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  1                HIGHLY CONFIDENTIAL AEO
  2    do that?
  3           A.       Yes.
  4           Q.       Were you promised anything
  5    in exchange for your testimony in the
  6    Giuffre versus Maxwell case?
  7           A.       No.
  8           Q.       Were you provided legal
  9    counsel?
 10           A.       Sorry, does that mean --
 11                    MS. MCCAWLEY:          You have a
 12           lawyer, yes?
 13                    MR. GUIRGUIS:          Yes.
 14           A.       Yes.
 15           Q.       Okay.      How many lawyers do
 16    you have now?
 17           A.       Three.
 18                    MS. MENNINGER:           I would like
 19           the record to reflect that
 20           witness is checking with the
 21           lawyers to get answers to these
 22           questions.
 23                    MR. POTTINGER:           Wait, wait,
 24           wait.      Objection.
 25                    MR. GUIRGUIS:          There is
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  1               HIGHLY CONFIDENTIAL AEO
  2           absolutely no exchange.                 No words
  3           were spoken by --
  4                    MS. MENNINGER:
  5           Mr. Pottinger, did you put up a
  6           number of fingers?
  7                    Did you put up a number of
  8           fingers, Mr. Pottinger?
  9                    MR. POTTINGER:           You said,
 10           I'm going to object because the
 11           witness is answering these
 12           questions, in the plural.
 13                    MS. MENNINGER:           Mm-hmm.
 14                    MR. POTTINGER:           That is
 15           inaccurate.         When she looked at
 16           me to ask how many lawyers she
 17           had, I said three with three
 18           fingers.       That is a single
 19           request on her part and a single
 20           answer, not multiple.
 21                    MS. MENNINGER:           No.     She has
 22           looked to her lawyers for
 23           previous answers.
 24                    We'll just make a record as
 25           we go along.         Thank you.
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  1                HIGHLY CONFIDENTIAL AEO
  2                    MS. MCCAWLEY:          You could
  3           have had a videotape here so that
  4           we would have a record of that,
  5           because I think your verbal
  6           record is inaccurate, so...
  7                    MR. POTTINGER:           And, in
  8           fact, she -- this is Mr.
  9           Pottinger speaking.
 10                    And, in fact, she has not
 11           looked at me during this
 12           deposition except one time, which
 13           was for what I took to be a
 14           request to know how many lawyers
 15           she has.
 16                    MS. MENNINGER:           So are you
 17           being deposed, Mr. Pottinger?
 18                    MR. POTTINGER:           I am not.
 19           Q.       Ms. Ransome, how many
 20    lawyers do you think you have?
 21           A.       Three.
 22           Q.       Can you please name them?
 23           A.       Peter, Sigrid and Stan.
 24           Q.       Is Mr. Bradley Edwards
 25    representing you?
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  1                HIGHLY CONFIDENTIAL AEO
  2           A.       Yes.
  3           Q.       Is Mr. Paul Cassell
  4    representing you?
  5           A.       No.
  6           Q.       Is Mr. David Boies
  7    representing you?
  8           A.       Yes.
  9                    MS. MCCAWLEY:          I just want
 10           to be clear for the record if
 11           you're talking about representing
 12           generally or you're talking about
 13           a particular matter.              Because we
 14           have a couple matters.
 15                    MS. MENNINGER:           I'm asking
 16           questions here.
 17                    MS. MCCAWLEY:          No, I
 18           understand that you have to make
 19           the record clear --
 20                    MS. MENNINGER:           Ms.
 21           McCawley, if you want to ask her
 22           questions later, you are more
 23           than welcome to do so.               I am
 24           going to ask questions of the
 25           witness I am deposing.
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  1               HIGHLY CONFIDENTIAL AEO
  2                    MS. MCCAWLEY:          Well, we want
  3           the record to be clear that there
  4           are more than one action --
  5                    MS. MENNINGER:           You can ask
  6           questions when you're doing your
  7           questioning.         I'm doing my
  8           questioning now, and so I will
  9           ask the questions.
 10                    MS. MCCAWLEY:          I'm going to
 11           object.       The record should be
 12           clear there is more than one
 13           action pending here.              She is
 14           represented here as a nonparty
 15           witness, and she also has her own
 16           action pending.
 17                    MR. PAGLIUCA:          Thank you for
 18           that speaking objection, Ms.
 19           McCawley, and communicating that
 20           information to the witness, which
 21           you know is totally improper.
 22                    MS. MCCAWLEY:          Now, that's
 23           two people objecting right now.
 24           Is it going to be Laura taking
 25           this deposition or you, Jeff?
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  1                HIGHLY CONFIDENTIAL AEO
  2           You guys have done this to me
  3           before, and it's not a position
  4           where you're allowed to object
  5           and she's allowed to object.                  You
  6           guys pulled that at the last
  7           deposition, so please do not do
  8           this here.
  9                    MR. PAGLIUCA:          I was just
 10           thanking you.
 11           Q.       All right.         So the number of
 12    lawyers we're up to so far is
 13    Mr. Guirguis, Ms. McCawley,
 14    Mr. Pottinger, Mr. Edwards, Mr. Boies.
 15                    That's five, correct?
 16           A.       Can I just ask you a
 17    question?
 18           Q.       No, you cannot.
 19           A.       Okay.
 20           Q.       Are those five lawyers that
 21    are representing you?
 22                    MR. GUIRGUIS:          Objection.
 23           Q.       Yes or no?
 24           A.       Yes.
 25           Q.       All right.         Anyone else
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  1                HIGHLY CONFIDENTIAL AEO
  2    representing you?
  3           A.       No.
  4           Q.       Ms. Schultz?          Is
  5    Ms. Meredith Schultz representing you?
  6           A.       No.
  7           Q.       How much are you paying for
  8    any of those lawyers?
  9           A.       It's on a pro-bono basis.
 10           Q.       Do you know what each of
 11    those lawyers' normal hourly rates
 12    are?
 13           A.       No.
 14           Q.       Do you know how many hours
 15    you have spent with your attorneys?
 16           A.       No.
 17                    MR. GUIRGUIS:          Objection.
 18           Q.       How many hours have you
 19    spent with Mr. Guirguis?
 20                    MR. GUIRGUIS:          Objection.
 21           Q.       Without communicating to me
 22    any information you and he have
 23    shared.
 24           A.       A few, maybe.
 25           Q.       How many?
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  1                HIGHLY CONFIDENTIAL AEO
  2           A.       About 11 hours in total.
  3           Q.       When is the first time that
  4    you met Mr. Guirguis?
  5                    MR. GUIRGUIS:          Objection.
  6                    MS. MCCAWLEY:          You can
  7           answer.
  8                    MR. GUIRGUIS:          You can
  9           answer.
 10           A.       Yesterday.
 11           Q.       You met Mr. Guirguis
 12    yesterday?         Was that your answer?
 13           A.       Yes.
 14           Q.       And who is paying for
 15    Mr. Guirguis's fees, if you know?
 16           A.       I have a pro-bono
 17    arrangement.
 18           Q.       Do you know if he's
 19    receiving money from anyone else in
 20    exchange for representing you?
 21           A.       No.
 22           Q.       No, you don't know, or no,
 23    he is not?
 24           A.       I don't know.
 25           Q.       How many hours have you
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  1                HIGHLY CONFIDENTIAL AEO
  2    spent with Ms. McCawley?
  3           A.       Can I just clarify that
  4    question?         Does that mean on the
  5    phone?       Like what are you referring
  6    to, in person or --
  7           Q.       Either one.         How many hours,
  8    how much time have you spent with
  9    Ms. McCawley in person?
 10           A.       I met with Ms. McCawley for
 11    the first time in person yesterday,
 12    but I've spent -- yeah, we've been --
 13    Ms. McCawley was the first person I
 14    actually spoke to.
 15           Q.       And how many hours have you
 16    spent with her on the phone?
 17           A.       Many, many hours.
 18           Q.       Approximately how many?
 19           A.       I don't know.
 20           Q.       Five?
 21                    MR. GUIRGUIS:          Objection.
 22           A.       More than five.
 23           Q.       Ten?
 24                    MR. GUIRGUIS:          Objection.
 25           Q.       Ten?
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                                                                    Page 26
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       Well, 10, 15.          She's been
  3    with me the whole way since when I
  4    came forward, so she's been a very
  5    prominent person.
  6           Q.       And when did you first speak
  7    with her on the phone?
  8           A.       I think it was --
  9           Q.       Without telling me what you
 10    said.
 11           A.       I think it was November.
 12           Q.       November what?
 13           A.       I can't remember the date.
 14           Q.       Early November?           Late
 15    November?
 16                    MR. GUIRGUIS:          Objection.
 17           A.       I can't remember.
 18           Q.       Was she speaking to you on
 19    your cell phone or a landline?
 20           A.       Cell phone.
 21           Q.       A mobile number or a
 22    landline?
 23           A.       A cell phone.
 24           Q.       Okay.      And what's that cell
 25    phone number?
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                                                                    Page 27
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       I don't have it anymore.
  3           Q.       That's okay.          What's the
  4    cell phone number?
  5           A.       I actually don't know.               I
  6    can't remember my cell phone number.
  7    I don't have anything with me, so I
  8    can't remember that number offhand.
  9           Q.       How long did you have that
 10    cell phone?
 11           A.       About eight months.
 12           Q.       What happened to it?
 13           A.       I got rid of it.
 14           Q.       Why?
 15           A.       Because I fear for my life
 16    because of Jeffrey Epstein and
 17    Ghislaine Maxwell.
 18           Q.       What did you do with it?
 19           A.       I sold it.
 20           Q.       When?
 21           A.       November.
 22           Q.       Before or after you first
 23    spoke with Ms. McCawley?
 24           A.       Before.
 25           Q.       So then how did you speak
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 29 of 469
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                                                                    Page 28
  1                HIGHLY CONFIDENTIAL AEO
  2    with Ms. McCawley over the phone?
  3           A.       On my partner's cell phone.
  4           Q.       What's his cell phone
  5    number?
  6                    MS. MCCAWLEY:          Objection.
  7           What's the relevance of her
  8           partner's cell phone?
  9                    Again, this is irrelevant.
 10           It's harassing.           It's -- you're
 11           seeking information to be able
 12           to -- the witness has already
 13           expressed fear about her --
 14           people currently going after her.
 15           So we would object to that
 16           intimidation of a nonparty
 17           witness.
 18           Q.       What is your partner's cell
 19    phone number?
 20                    MR. GUIRGUIS:          I'm directing
 21           the witness not to answer.
 22           Q.       How many hours have you
 23    spent speaking with Mr. Pottinger?
 24           A.       I've been speaking to
 25    Mr. Pottinger from November.
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 30 of 469
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                                                                    Page 29
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       When in November?
  3           A.       I can't remember.
  4           Q.       On your same cell phone that
  5    you got rid of?
  6           A.       No, on my partner's cell
  7    phone.
  8           Q.       And when did you first meet
  9    Mr. Pottinger in person?
 10           A.       It was in the beginning of
 11    January.
 12           Q.       And where was that meeting?
 13           A.       Barcelona.
 14           Q.       Where in Barcelona?
 15           A.       Barcelona.         It's Barcelona.
 16    We meet -- I can't remember the area.
 17           Q.       In a restaurant?            In a
 18    hotel?       In an office?
 19           A.       In a hotel.
 20           Q.       And how long did you spend
 21    with Mr. Pottinger on that occasion?
 22           A.       Two days.
 23           Q.       How many hours over the two
 24    days?
 25           A.       Gosh, about 16.
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                                                                    Page 30
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       How many hours did you spend
  3    with Mr. Edwards?
  4                    MS. MCCAWLEY:          Objection.
  5           A.       The same amount.
  6           Q.       He was with Mr. Pottinger?
  7           A.       Yeah, yes.
  8           Q.       And Mr. Boies, how much time
  9    have you spent with Mr. Boies?
 10           A.       I haven't spent any time
 11    with him yet.
 12           Q.       Have you met him?
 13           A.       No.
 14           Q.       Have you spoken to him on
 15    the phone?
 16           A.       No.
 17           Q.       And you have not paid any
 18    money for any of those lawyers' time,
 19    correct?
 20           A.       Yes.
 21           Q.       In addition to your free
 22    legal counsel, were you given anything
 23    else in exchange for your agreement to
 24    be a witness in this case?
 25                    MR. GUIRGUIS:          Objection.
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                                                                    Page 31
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       No.
  3           Q.       Did you fly over here?
  4           A.       Yes.
  5           Q.       From Barcelona?
  6           A.       Yes.
  7           Q.       Did you pay for the plane
  8    ticket?
  9           A.       Yes.
 10           Q.       How much was the plane
 11    ticket?
 12           A.       It was -- I think it was
 13    1,000 -- it was 1,000 -- I can't
 14    remember the exact total.
 15           Q.       Has anyone agreed to
 16    reimburse you for that?
 17           A.       No.
 18           Q.       And you're staying where
 19    while you're here?
 20                    MR. GUIRGUIS:          Objection.
 21                    And direct you not to answer
 22           that.
 23           Q.       Are you staying in a hotel
 24    while you're here?
 25                    MR. GUIRGUIS:          You can
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 33 of 469
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                                                                    Page 32
  1                HIGHLY CONFIDENTIAL AEO
  2           answer that.
  3           A.       Yeah.
  4           Q.       Are you paying for that?
  5                    MR. GUIRGUIS:          Objection.
  6                    I'm directing you not to
  7           answer.
  8                    MS. MCCAWLEY:          You can
  9           answer.
 10                    MR. GUIRGUIS:          I think you
 11           can answer.
 12                    MS. MCCAWLEY:          Yeah, I think
 13           you can answer.
 14                    MR. GUIRGUIS:          That's fine.
 15           I agree.
 16                    MS. MCCAWLEY:          You're a
 17           nonparty witness.            You can answer
 18           that question.
 19                    MS. MENNINGER:           Who is --
 20                    MS. MCCAWLEY:          I am
 21           representing Virginia.               He is
 22           representing the witness.
 23                    MS. MENNINGER:           Well, you're
 24           representing the witness as well,
 25           right?
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                                                                    Page 33
  1                HIGHLY CONFIDENTIAL AEO
  2                    MS. MCCAWLEY:          I'm not.
  3                    MS. MENNINGER:           Well, did
  4           you just tell her she can answer
  5           a question?
  6                    MS. MCCAWLEY:          I did.
  7           Q.       Are you paying for the
  8    hotel?
  9           A.       No.
 10           Q.       Who's paying for the hotel?
 11           A.       It's on expenses, I think,
 12    of a witness.           It's expenses from --
 13    yeah, I don't know, actually.
 14           Q.       You don't know who is paying
 15    for your hotel?
 16           A.       No.
 17           Q.       It's not you?
 18           A.       No.
 19           Q.       And how much per night is
 20    your hotel?
 21           A.       I have no idea.
 22           Q.       How long are you staying
 23    here on this trip?
 24           A.       Just for the deposition.
 25           Q.       Okay.      When did you arrive?
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                                                                    Page 34
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       It was Tuesday, late Tuesday
  3    night.
  4           Q.       And when are you leaving?
  5           A.       Tomorrow evening.
  6           Q.       In addition to your legal
  7    counsel and your hotel, is there
  8    anything else you've been given in
  9    exchange for your --
 10           A.       No.
 11           Q.       -- to be a witness in this
 12    case?
 13                    You have to wait for me to
 14    finish my question before you answer.
 15           A.       Sorry.
 16           Q.       Have you been given anything
 17    else?
 18           A.       No.
 19           Q.       Have you been promised
 20    anything else?
 21           A.       No.
 22           Q.       Have you been promised that
 23    you would have counsel to help you
 24    bring a lawsuit against a number of
 25    people?
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 36 of 469
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                                                                    Page 35
  1                HIGHLY CONFIDENTIAL AEO
  2                    MS. MCCAWLEY:          Objection.
  3                    To the extent this gets into
  4           attorney/client privileged
  5           information, you're not allowed
  6           to answer.
  7           Q.       Have your lawyers agreed to
  8    bring a lawsuit on your behalf against
  9    a number of people?
 10           A.       Yes.
 11           Q.       And are you paying for that
 12    counsel?
 13           A.       No.
 14           Q.       Have you reached any
 15    agreement about a contingency fee for
 16    that case?
 17           A.       Can you explain what
 18    contingency means?              Sorry.
 19           Q.       Do you expect to receive
 20    money as a result of that lawsuit?
 21           A.       Oh, no.       No.
 22           Q.       You're not asking to receive
 23    any money as a result of that lawsuit?
 24           A.       No.     No.
 25           Q.       All right.          So have you had
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 37 of 469
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                                                                    Page 36
  1                HIGHLY CONFIDENTIAL AEO
  2    any agreements regarding writing a
  3    book --
  4           A.       No.
  5           Q.       -- about your experience?
  6                    You have to wait for me to
  7    finish my question.
  8                    Have you had any agreements
  9    with your lawyers about media rights
 10    in any form?
 11                    MR. GUIRGUIS:          Objection to
 12           the extent that you're asking
 13           about communications with the
 14           attorneys.
 15                    MS. MENNINGER:           I'm asking
 16           about her arrangement with her
 17           attorneys, which is not
 18           privileged.
 19           A.       Can you please repeat the
 20    question.
 21           Q.       Have you reached any
 22    agreement with your attorneys
 23    regarding media rights for your story?
 24           A.       No.
 25           Q.       Have you talked to anyone
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 38 of 469
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                                                                    Page 37
  1                HIGHLY CONFIDENTIAL AEO
  2    about publishing anything relating to
  3    your story?
  4           A.       Can you repeat the question,
  5    please.
  6                    MS. MENNINGER:           Can you read
  7           it back.
  8                    (Requested portion of the
  9           record was read back.)
 10           A.       Yes, I have.
 11           Q.       Who have spoken to?
 12           A.       The New York Post.
 13           Q.       Who at the New York Post?
 14           A.       Maureen Callahan.
 15           Q.       And when did you speak with
 16    her?
 17           A.       I think it was later
 18    October.
 19           Q.       Have you spoken with her
 20    since?
 21           A.       No.
 22           Q.       And how long did you speak
 23    to her?
 24           A.       I spoke to her for, gosh,
 25    about 30 minutes on the phone once.
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                                                                    Page 38
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       And what was -- what did you
  3    tell her in your phone call?
  4           A.       I told her what Jeffrey
  5    Epstein and Ghislaine Maxwell did to
  6    me and the other girls.
  7           Q.       Did she give you any money
  8    in exchange for that interview?
  9           A.       No.
 10           Q.       Did she publish anything
 11    related to that interview?
 12           A.       No.
 13           Q.       How did you get in touch
 14    with Ms. Callahan?
 15           A.       I emailed after I read an
 16    article that she had written about
 17    Jeffrey Epstein, and the last sentence
 18    was -- it was on the 16th of October,
 19    and one of the last sentences I
 20    remember was, will we ever know the
 21    true extent of Jeffrey Epstein's
 22    victims.        And I wrote her after that
 23    because, well, it still continues,
 24    doesn't it.
 25           Q.       Where is the email that you
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 40 of 469
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                                                                    Page 39
  1                HIGHLY CONFIDENTIAL AEO
  2    wrote her?
  3           A.       It's on a -- it's on my
  4    computer.
  5           Q.       Okay.      In your Yahoo
  6    account?
  7           A.       Yes.
  8           Q.       Did you have any agreement
  9    with her to have any additional
 10    conversation?
 11           A.       Yes.
 12           Q.       And what was that agreement?
 13           A.       It wasn't an agreement per
 14    such.       What actually happened was I
 15    came forward.           As soon as I came
 16    forward, there was -- where I live in
 17    Barcelona, there's quite a lot -- it's
 18    quite busy traffic with people.
 19                    I came forward to Maureen
 20    Callahan.         I wanted to tell my story,
 21    and I want to run a campaign in which
 22    all the girls that have been abused by
 23    Ghislaine and Jeffrey can come
 24    forward.        And I wanted to run a
 25    campaign with the New York Post to get
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 41 of 469
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                                                                     Page 40
  1               HIGHLY CONFIDENTIAL AEO
  2    these girls to have the courage to
  3    come forward, because I know a lot of
  4    them are frightened like myself.
  5                    The email correspondence I
  6    had with Maureen Callahan, she was
  7    going away or something and she was
  8    going to write a piece in the New York
  9    Post about my story.               During that time
 10    it was the elections, so there was a
 11    lot more other things going on.
 12                    There were two people
 13    following me after I came forward to
 14    Maureen Callahan.             I went to -- I
 15    walked downstairs.              I walked around --
 16    I have a usual routine that I do.                        In
 17    the morning I went out, I saw the same
 18    two people.          Later on that afternoon,
 19    I saw the same two people again.                     I
 20    was frightened.            I'm frightened for my
 21    life, absolutely frightened.                   So there
 22    you go.
 23                    So that's what I was --
 24    communication stopped between Maureen
 25    Callahan and I.            I got really angry
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 42 of 469
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                                                                    Page 41
  1                HIGHLY CONFIDENTIAL AEO
  2    with Maureen because she had obviously
  3    told someone.           Being the New York
  4    Post, so, you know.
  5           Q.       So you had an email to
  6    Ms. Callahan and an email back from
  7    her?
  8           A.       Yes.
  9           Q.       More than one?
 10           A.       Yes.
 11           Q.       How many?
 12           A.       I can't remember.
 13           Q.       More than ten or less than
 14    ten?
 15           A.       Less than ten.
 16           Q.       And you had one phone call
 17    with her or more than one?
 18           A.       Just one.
 19           Q.       And it lasted about 30
 20    minutes?
 21           A.       About that.
 22           Q.       And was that also on the
 23    cell phone that you got rid of?
 24           A.       That was on my partner's
 25    cell phone.
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 43 of 469
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                                                                    Page 42
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       And what had you read in the
  3    press that caused you to get in touch
  4    with Ms. Callahan?
  5                    MS. MCCAWLEY:          Objection to
  6           form.      Go ahead.
  7           A.       You can read the article
  8    yourself.         It's on the 16th of
  9    October, there's an article in the New
 10    York Post written by Maureen Callahan.
 11    You can read it.            And that's what
 12    inspired me to come forward.
 13           Q.       What do you recall about
 14    that article?
 15           A.       Oh, I can't remember.               The
 16    one thing I do remember is the last
 17    sentence of the article, which has
 18    stuck with me and quite prominent, and
 19    that is, will we ever know the true
 20    extent of Jeffrey Epstein's victims.
 21           Q.       Do you recall anything else
 22    about the article?
 23           A.       It's just the same.              When I
 24    read the article, the stuff that I had
 25    experienced myself with Jeffrey, it's
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 44 of 469
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                                                                     Page 43
  1                HIGHLY CONFIDENTIAL AEO
  2    just same old stuff, just continuing.
  3    I thought he had stopped abusing
  4    girls.
  5           Q.       What do you recall reading a
  6    article that Jeffrey Epstein was
  7    doing?
  8           A.       I can't remember.
  9           Q.       Anything at all?
 10           A.       You can read the article.                 I
 11    can't remember.
 12           Q.       The question is what you
 13    remember.
 14           A.       I can't remember.
 15           Q.       You remember nothing else
 16    about the article --
 17                    MS. MCCAWLEY:          Asked and
 18           answered objection.
 19           Q.       -- except it was related to
 20    Jeffrey Epstein and it ended with the
 21    sentence that you've described?
 22                    MS. MCCAWLEY:          Objection,
 23           asked and answered.
 24           A.       Yes.
 25           Q.       What do you know about other
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 45 of 469
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                                                                    Page 44
  1                HIGHLY CONFIDENTIAL AEO
  2    girls being frightened?
  3           A.       I know that the girls on the
  4    island and in New York during my time
  5    with Jeffrey and Ghislaine, that they
  6    were frightened.
  7           Q.       Okay.      What are the names of
  8    those girls?
  9           A.                                .
 10    -- I don't know her surname.                   I can't
 11    remember her surname.
 12           Q.       How do you spell the first
 13    name?
 14           A.                  I'm just taking a
 15    guess,                      , I'm guessing, I
 16    think.
 17                    MR. GUIRGUIS:          I'm going to
 18           remind the witness I told her not
 19           to speculate, but that's okay.
 20           Q.       In addition to
 21                  and                  what are the
 22    names of the other girls who you
 23    believe are frightened?
 24           A.                        There were a
 25    couple other girls I met during my
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 46 of 469
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                                                                    Page 45
  1                HIGHLY CONFIDENTIAL AEO
  2    time with Ghislaine and Jeffrey that
  3    were frightened.
  4           Q.       What were the names of the
  5    girls that you met that were
  6    frightened?
  7           A.       There was
  8                             .     And there were two
  9    other girls, I can't remember their
 10    names.
 11           Q.       Okay.        Please describe them.
 12           A.       The -- describe all the
 13    girls or --
 14           Q.       No.     We're talking about the
 15    girls that you met on the island that
 16    you described as frightened.
 17           A.       Okay.        On the island --
 18                    MR. GUIRGUIS:          Objection.
 19           You seem to be suggesting that
 20           all those girls are from the
 21           island.        I'm not sure that's the
 22           testimony.
 23           Q.       All right.         You said girls
 24    on the island and in New York who are
 25    frightened.           I asked you for their
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 47 of 469
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                                                                    Page 46
  1                HIGHLY CONFIDENTIAL AEO
  2    names.
  3                    You gave me three, correct?
  4           A.       Yes.
  5           Q.       You said there were two
  6    others, correct?
  7           A.       Mm-hmm.
  8           Q.       What did those two other
  9    girls look like?
 10           A.       I can't really remember.
 11    One had blonde hair; long, blonde
 12    hair.
 13           Q.       Anything else about that?
 14           A.       I can't remember.
 15           Q.       The other girl, can you
 16    remember her hair color?
 17           A.       No, I can't remember.
 18           Q.       Do you know the height of
 19    either one of them?
 20           A.       No, I can't remember.
 21           Q.       Do you have a photograph of
 22    either one of them?
 23           A.       No.
 24           Q.       And where did you meet these
 25    two other girls?
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                                                                    Page 47
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       In New York.
  3           Q.       Where in New York?
  4           A.       I can't remember.
  5           Q.       You don't know the location
  6    at all?
  7           A.       No.     It was ten years ago.
  8           Q.       Was it in a home or in a
  9    commercial setting?
 10           A.       I met girls commercially and
 11    in home settings.
 12           Q.       Where did you meet these two
 13    other girls you described as being
 14    frightened?
 15           A.       I can't remember.
 16           Q.       What is                  's last
 17    name?
 18           A.       I don't know.
 19           Q.       What does                    look
 20    like?
 21           A.       She's got long, blonde hair.
 22           Q.       How long?
 23           A.       Long, long hair.
 24           Q.       Longer than your hair now?
 25           A.       I think so.         I think it was
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 49 of 469
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                                                                    Page 48
  1                HIGHLY CONFIDENTIAL AEO
  2    longer.
  3           Q.       So middle of her back?
  4           A.       I can't -- I can't remember
  5    on how long her hair is.
  6           Q.       Where did you meet
  7           A.       I met                  first in New
  8    York.
  9           Q.       Where in New York?
 10           A.       I can't remember.
 11           Q.       Anywhere in New York?               You
 12    can't remember at all?
 13           A.       I can't remember the
 14    location.
 15           Q.       Was it at Mr. Epstein's
 16    home?
 17                    MR. GUIRGUIS:          Objection.
 18           You have asked her now almost 20
 19           questions about where she met
 20           these girls, and she has
 21           consistently said that she does
 22           not remember.
 23           Q.       Was it in Mr. Epstein's
 24    home?
 25           A.       No.
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                                                                    Page 49
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Was it at a club?
  3                    MR. GUIRGUIS:          Are we going
  4           to spend seven hours with her
  5           saying I can't remember where she
  6           met these two girls?
  7           Q.       Was it at a club?
  8           A.       One was at a club.
  9           Q.       Which one?
 10           A.                                .
 11           Q.       Where did you meet
 12           A.       I first met                    on the
 13    island.
 14           Q.       Did you meet her a second
 15    time?
 16           A.       Yes.
 17           Q.       Where did you meet her the
 18    second time?
 19           A.       I can't remember.
 20           Q.       State?
 21           A.       Can't remember.
 22           Q.       Country?
 23           A.       Well, U.S.
 24                    THE WITNESS:          Sorry, can I
 25           have a break?          I actually need to
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                                                                    Page 50
  1                HIGHLY CONFIDENTIAL AEO
  2           go to the bathroom.             Sorry.
  3                    MS. MENNINGER:           Yes, I don't
  4           think I have a question pending.
  5           We'll go off the record now.
  6                    (Time noted:          9:52 a.m.)
  7                    (Recess.)
  8                    (Time noted:          10:07 a.m.)
  9           Q.       So I want to return to your
 10    conversations with Ms. Callahan,
 11    conversation with Ms. Callahan.
 12                    Did you have any further
 13    communications with her after the
 14    phone call you described?
 15           A.       There were, I think, a few
 16    emails exchanged, but nothing ever
 17    came about it.
 18           Q.       And, again, those are emails
 19    from your Yahoo account?
 20           A.       Yes.
 21           Q.       Did you ask Ms. Callahan for
 22    compensation in exchange for your
 23    story?
 24                    MS. MCCAWLEY:          Objection,
 25           asked and answered.
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                                                                    Page 51
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       No.
  3           Q.       Had you seen any other
  4    stories in the press about Jeffrey
  5    Epstein?
  6           A.       Through the last ten years,
  7    I've seen a few articles written about
  8    Jeffrey Epstein.
  9           Q.       What do you recall about
 10    those articles?
 11           A.       The way he used to abuse
 12    girls.       Basically articles written
 13    very similar to my own story -- well,
 14    identical, so...
 15           Q.       And have you written down
 16    your story?
 17           A.       No.
 18           Q.       Nowhere?
 19           A.       No.
 20           Q.       Did you see any articles
 21    about Virginia Roberts?
 22           A.       Yes.
 23           Q.       Which articles did you see
 24    about Virginia Roberts?
 25           A.       I can't remember.            It was
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 53 of 469
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                                                                    Page 52
  1                HIGHLY CONFIDENTIAL AEO
  2    quite some time ago.
  3           Q.       What do you recall about it?
  4           A.       She came forward and I
  5    was -- it was a few years ago that she
  6    came forward, and her story was
  7    exactly the same as mine.
  8                    I can't remember
  9    specifically what article I read, but
 10    every single article I did read during
 11    the duration of that time, she
 12    experienced the same thing I did.
 13                    So it was more or less the
 14    same context and it's the same story
 15    in all articles, really.
 16           Q.       So you were reading these
 17    articles over the course of a period
 18    of ten years, you think?
 19           A.       Yeah.      I didn't pay much
 20    attention to it because I've spent the
 21    last ten years trying to get over that
 22    experience, and I've been frightened
 23    to come forward.
 24           Q.       And when you read the
 25    articles, you noticed that there were
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 54 of 469
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                                                                    Page 53
  1                HIGHLY CONFIDENTIAL AEO
  2    details that you thought were similar
  3    to your experience?
  4                    MS. MCCAWLEY:          Objection.
  5           A.       They were details that were
  6    exactly the same as what I had
  7    experienced.
  8           Q.       Do you know whether anyone
  9    else had brought lawsuits against
 10    Mr. Epstein?
 11           A.       No.
 12           Q.       Did you save any of these
 13    articles that you read?
 14           A.       Sorry, can you repeat that.
 15           Q.       Did you save any of the
 16    articles that you read?
 17           A.       No.
 18           Q.       Where did you grow up?
 19           A.       I grew up in South Africa.
 20    I then finished school in Scotland.
 21           Q.       When did you move to
 22    Scotland?         How old were you?
 23           A.       I was 14.
 24           Q.       Did your family move to
 25    Scotland or just you?
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                                                                    Page 54
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       Just myself.
  3           Q.       Are you a South African
  4    citizen?
  5           A.       Yes.
  6           Q.       Do you have a South African
  7    passport?
  8           A.       Well, yeah.         It was stolen.
  9    I'm reapplying for a new one.                    I have
 10    to renew my South African passport.
 11    It was stolen.           South Africa for you.
 12           Q.       So when did you get that
 13    South African passport?
 14           A.       I can't remember.            I've had
 15    a South African passport my whole
 16    life, so...
 17           Q.       And when was it stolen?
 18           A.       I think it was 2014, 2015.
 19           Q.       So you were born in South
 20    Africa, you're a South African
 21    citizen, and you had a South African
 22    passport your whole life.
 23                    Have I got that right?
 24           A.       Mm-hmm.
 25           Q.       Yes or no?
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                                                                    Page 55
  1                HIGHLY CONFIDENTIAL AEO
  2                    MR. GUIRGUIS:          Objection to
  3           form.
  4                    You can answer.
  5           A.       Yes.
  6           Q.       Did you also have a British
  7    passport?
  8           A.       Yes.
  9           Q.       How did that come about?
 10           A.       My mom's side of the family
 11    is British.
 12           Q.       And when did you get a
 13    British passport?
 14           A.       I think when I was about
 15    five.
 16           Q.       Do you have a dual
 17    citizenship?
 18           A.       Yes.
 19           Q.       And do you travel using both
 20    passports?
 21           A.       It's really complicated.                 I
 22    only use my South African passport
 23    when I enter into South Africa.                     So
 24    that's the only time I use my South
 25    African passport, then.
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                                                                    Page 56
  1                HIGHLY CONFIDENTIAL AEO
  2                    Other than that, I use my
  3    British passport for all other
  4    transportation.            Because South Africa
  5    you need, like, a visa; it's really
  6    complicated.           So I'm lucky I've got a
  7    British passport.
  8           Q.       It's easier to travel on a
  9    British passport than a South African
 10    passport?
 11           A.       Yeah, a lot easier.              A lot
 12    easier.
 13           Q.       All right.         Did you have any
 14    siblings growing up?
 15           A.       Yes.
 16           Q.       How many?
 17           A.       I've got one real older
 18    brother and then I've got a half
 19    younger brother and a half younger
 20    sister.
 21           Q.       Did you all grow up in the
 22    same home?
 23           A.       No.
 24           Q.       Who did you grow up in the
 25    same home with?            I don't need their
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 58 of 469
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                                                                    Page 57
  1                HIGHLY CONFIDENTIAL AEO
  2    names, but just the people you just
  3    described.
  4                    MR. GUIRGUIS:          Objection.
  5                    You can answer.
  6           A.       I grew up with my mom and my
  7    stepdad, and my brother was just
  8    entering boarding school.
  9                    And then I lived with my
 10    auntie and uncle in Scotland.
 11           Q.       And cousins?
 12           A.       Yeah, and cousins.             One
 13    cousin.
 14           Q.       And how long did you attend
 15    school in Scotland?
 16           A.       About three years.
 17           Q.       Did you graduate?
 18           A.       Yep, yes.
 19           Q.       Is that the equivalent of
 20    our high school?
 21           A.       Yeah, it is.
 22           Q.       Did you go to college?
 23           A.       I went to university to
 24    study psychology and sociology.
 25           Q.       Where did you go?
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                                                                     Page 58
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       Queen Margaret University in
  3    Edinburgh.
  4           Q.       Did you graduate?
  5           A.       No, I didn't.
  6           Q.       Did you go to that college
  7    immediately after graduating from high
  8    school?
  9           A.       No.
 10           Q.       When did you go to that
 11    college?
 12           A.       2004.
 13           Q.       And how long did you stay at
 14    Queen Margaret college?
 15           A.       A year and a half.
 16           Q.       Why did you leave college?
 17           A.       I chose the wrong course.                 I
 18    didn't -- I didn't really agree with
 19    what I was being taught in sociology,
 20    so I quit.
 21           Q.       During the time you were in
 22    college, did you work?
 23           A.       Yes.
 24           Q.       Where did you work?
 25           A.       I was a waitress at a bar.
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                                                                    Page 59
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Anything else?
  3           A.       No.
  4           Q.       Have you ever been married?
  5           A.       No.
  6           Q.       Have you ever been engaged?
  7           A.       Yes.
  8           Q.       To whom?
  9           A.                              .
 10           Q.       Your current partner?
 11           A.       Yes.
 12           Q.       Anyone else?
 13           A.       Yes, I have.
 14           Q.       Who else have you been
 15    engaged to?
 16                    MS. MCCAWLEY:          Objection.
 17                    MR. GUIRGUIS:          Objection.
 18           A.       I don't really see the
 19    relevance in that.
 20           Q.       Who else have you been
 21    engaged to?
 22           A.                          .
 23           Q.       Was he listed in your
 24    passport?
 25           A.       Yes.
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                                                                    Page 60
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.         Anyone else?
  3           A.         Listed on my passport?
  4    Sorry.
  5           Q.         Have you been engaged to
  6    anyone else?
  7           A.         Oh, sorry.       I've got a
  8    really bad train...              No.
  9           Q.         During what period of time
 10    were you engaged to                               ?
 11           A.         I can't remember.
 12           Q.         Was it before 2006 or after?
 13           A.         After.
 14           Q.         How long after?
 15           A.         Three years.
 16           Q.         Did you know Mr.
 17    during 2006?
 18           A.         It's          , sorry.
 19                  .
 20                      Vaguely, vaguely.          We lost
 21    contact.
 22           Q.         When did you lose contact?
 23           A.         In 2006.
 24           Q.         And when did you reestablish
 25    contact?
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 62 of 469
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                                                                    Page 61
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       2008.
  3           Q.       Do you go by any other
  4    names?
  5           A.       No.
  6           Q.       Do you go by
  7    online?
  8           A.       I don't think so.            I don't
  9    know.
 10           Q.       On Twitter?
 11           A.       I don't have any social
 12    media platforms, so I can't remember.
 13           Q.       Have you ever gone by
 14                            , all one word, on
 15    Twitter?
 16           A.       I can't remember.
 17           Q.       Do you have any tattoos?
 18           A.       Yes.
 19           Q.       Where?
 20           A.       One here.
 21           Q.       Indicating on your arm?
 22           A.       Indicating on my arm, sorry.
 23    No camera.
 24                    Yes, I have one, two, three
 25    four.
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 63 of 469
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                                                                    Page 62
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Where is the second one?
  3           A.       I've got four.
  4           Q.       All right.         Just tell me
  5    where they are.
  6           A.       One is on my arm, one is on
  7    my right hip, one's on my upper bikini
  8    line on my right inner thigh, and I've
  9    got one on my left side on my rib
 10    cage.
 11           Q.       Okay.      Have you had them for
 12    a long time?
 13           A.       I've had -- hang on.              Two I
 14    have had for a long time.
 15           Q.       Which ones are they?
 16           A.       The scorpion on my right hip
 17    and my Leo symbol on my bikini line.
 18           Q.       Have you ever obtained a
 19    college degree?
 20           A.       No.
 21           Q.       Have you ever gone back to
 22    college?
 23           A.       I have tried to.            I wanted
 24    to.
 25           Q.       When did you do that?
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 64 of 469
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                                                                    Page 63
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       When I moved to New York.
  3           Q.       In 2006?
  4           A.       Correct.
  5           Q.       Any other time?
  6           A.       Well, recent.          I mean, I'm
  7    going back to university next year, so
  8    I'm currently relooking at colleges.
  9    I'm going back to do my psychology
 10    degree.
 11           Q.       Where?
 12           A.       I haven't decided yet
 13    because I'm looking for an open degree
 14    -- well, sorry, home learning, so I
 15    haven't found somewhere yet.                   But I'm
 16    currently going -- well, my aim is to
 17    go back to university and get
 18    qualified.
 19           Q.       Between 2006 and today, have
 20    you applied to any other colleges?
 21           A.       No.
 22                    Oh, yes.        Sorry, can you
 23    repeat the question?               Sorry.
 24                    MS. MENNINGER:           He can read
 25           it back.
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                                                                    Page 64
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       Yes.     Yes.
  3           Q.       Okay.      When did you apply to
  4    colleges between 2006 and today?
  5           A.       It was 2006.
  6           Q.       Is that FIT?
  7           A.       That's correct.
  8           Q.       Anywhere else?
  9           A.       No.
 10           Q.       Other than working as a
 11    waitress at a bar during college in
 12    2004-2005, what other employment have
 13    you had?
 14           A.       I have worked in
 15    hospitality.           I've worked in
 16    superyachting, those wealthy people
 17    that have superyachts.                I used to work
 18    for them.         I have done modeling.              And
 19    I can't remember any...
 20           Q.       Did you have a modeling
 21    agent?
 22           A.       I did in Scotland.
 23           Q.       In college?
 24           A.       Mm-hmm, that's correct.
 25           Q.       Any other time?
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                                                                    Page 65
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       No.
  3           Q.       And what type of modeling
  4    was that?
  5           A.       Just commercial.
  6           Q.       Print?
  7           A.       Yep.
  8           Q.       Runway?
  9           A.       Yep.
 10           Q.       TV or ads?
 11           A.       No.
 12           Q.       And all in Scotland?
 13           A.       No.
 14           Q.       Where else did you model?
 15           A.       New York.
 16           Q.       Anywhere else?
 17           A.       No.
 18           Q.       London?
 19           A.       Oh, yeah, I did, sorry.                I
 20    did do modeling, a bit of modeling in
 21    London.
 22           Q.       All right.         When did you do
 23    modeling in New York?
 24           A.       During -- when I first
 25    arrived in New York in 2006.
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                                                                    Page 66
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       How much money did you make
  3    as a model?
  4                    MR. GUIRGUIS:          Objection.
  5           A.       I can't remember.
  6           Q.       When did you work in
  7    superyachting?
  8           A.       I can't remember.            About
  9    2011.       About 2011.
 10           Q.       And when did you work in
 11    hospitality?
 12           A.       I've worked in hospitality
 13    my whole life.           I've worked in -- I
 14    mean, hospitality, I've either done
 15    bar work, waitressing, superyachting,
 16    yeah.
 17           Q.       So on and off?
 18           A.       Yeah, on and off.
 19           Q.       And since you were an adult?
 20           A.       And since I was an adult, I
 21    worked in corporate jobs as well.
 22           Q.       Where did you work in
 23    corporate jobs?
 24           A.       In South Africa.
 25           Q.       And just so I understand,
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 68 of 469
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                                                                    Page 67
  1                HIGHLY CONFIDENTIAL AEO
  2    you lived in Scotland from the ages of
  3    14 to 22?
  4           A.       That's correct.
  5           Q.       And then where did you move?
  6           A.       To New York.
  7           Q.       And how long did you live in
  8    New York?
  9           A.       About seven, eight months.
 10           Q.       And where did you move?
 11           A.       Back in London.
 12           Q.       And how long did you live in
 13    London?
 14           A.       Well, I lived in the UK.
 15    Because I moved around a few times, so
 16    I didn't just specifically live in
 17    London.       But I was in the UK about
 18    2012.
 19           Q.       And then where did you move?
 20           A.       I then went into the
 21    superyachting industry, so I didn't --
 22    I lived on a boat in Italy and south
 23    of France.
 24           Q.       Did you work for a company?
 25           A.       I worked for a private
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                                                                    Page 68
  1                HIGHLY CONFIDENTIAL AEO
  2    owner.
  3           Q.       On one yacht?
  4           A.       On multiple yachts.
  5           Q.       And what was your job?
  6           A.       Stewardess -- stewardess,
  7    and then I was a deckhand.
  8           Q.       With wine?
  9           A.       Sorry?
 10           Q.       What's a decant?
 11           A.       A deckhand.
 12                    MS. MCCAWLEY:          D-E-C-K.
 13                    THE WITNESS:          Sorry.
 14                    MS. MENNINGER:           Oh,
 15           deckhand.        I thought you were
 16           decanting wine.           It's a pretty
 17           good job.
 18           Q.       Who is the owner of the
 19    ship?
 20           A.       I'm not allowed to specify.
 21           Q.       Do you have a
 22    confidentiality agreement?
 23           A.       I did sign a confidentiality
 24    agreement when I started employment.
 25           Q.       And how long were you
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 70 of 469
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                                                                    Page 69
  1                HIGHLY CONFIDENTIAL AEO
  2    employed in superyachting?
  3           A.       Two and a half years.
  4           Q.       Okay.      And what did you do
  5    after that?
  6           A.       I moved back to Cape Town.
  7           Q.       So that was in 2014?
  8           A.       I can't remember the
  9    specific dates or year.
 10           Q.       Between 2014 and 2016?
 11           A.       I've moved 47 times, so I
 12    can't remember.
 13           Q.       You can't remember what year
 14    you moved back to Cape Town?
 15           A.       No.
 16           Q.       Okay.      And who did you live
 17    with when you moved back to Cape Town?
 18           A.       Myself.
 19           Q.       And how long did you live
 20    there?
 21           A.       Four years.
 22           Q.       And you, when did you move
 23    after that?
 24           A.       December.        Yeah, it was
 25    December 2015.           Sorry.       It was
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                                                                    Page 70
  1                HIGHLY CONFIDENTIAL AEO
  2    December 2015.
  3           Q.       Where did you move?
  4           A.       I moved from Cape Town to
  5    London.
  6           Q.       And how long did you live
  7    there?
  8           A.       Three months.
  9           Q.       And then where did you move?
 10           A.       Barcelona.
 11           Q.       So in March 2016?
 12           A.       Sorry, no, just hang on.
 13    Sorry.       I moved to Barcelona around
 14    June, June last year.
 15           Q.       2016 June?
 16           A.       Yeah.
 17           Q.       You moved to Barcelona?
 18           A.       Yeah.
 19           Q.       When you came to the U.S.,
 20    you said that was in 2006?
 21           A.       Correct.
 22           Q.       And who did you come with?
 23           A.       Myself.
 24           Q.       And who paid for your plane
 25    ticket?
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                                                                    Page 71
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       Myself.
  3           Q.       Why did you come?
  4           A.       I wanted to advance my
  5    career.
  6           Q.       What year?
  7           A.       I wanted to go to FIT
  8    university.
  9           Q.       Did you have a student visa
 10    when you came in 2006?
 11           A.       No.
 12           Q.       Had you applied to FIT when
 13    you came to New York in 2006?
 14           A.       No.
 15           Q.       Did you have a job when you
 16    came here in 2006?
 17           A.       No.
 18           Q.       Where did you stay when you
 19    got here in 2006?
 20           A.       The Upper East Side.
 21           Q.       With whom?
 22           A.       It was just a housemate,
 23    house.
 24           Q.       What was that person's name?
 25           A.
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                                                                    Page 72
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       How do you spell
  3           A.
  4           Q.       And what's the last name of
  5
  6           A.       I can't remember.
  7           Q.       Male or female?
  8           A.       Male.
  9           Q.       How old?
 10           A.       I think he was in his 40s.
 11           Q.       And how did you meet
 12           A.       I met              just via -- I
 13    met him when -- why can't I remember?
 14    I think, yeah, I was looking for an
 15    apartment when I got here so it was
 16    just a -- like, we just kind of met on
 17    the Upper East Side and, yeah, I said
 18    I was looking for somewhere to stay.
 19           Q.       Did you pay rent?
 20           A.       Yes.
 21           Q.       How much did you pay?
 22           A.       I can't remember.
 23           Q.       A thousand dollars?
 24                    MR. GUIRGUIS:          Objection.
 25           A.       I think it was less than
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                                                                    Page 73
  1                 HIGHLY CONFIDENTIAL AEO
  2    that.
  3           Q.       Did you have your own
  4    bedroom?
  5           A.       No.
  6           Q.       Was             the only other
  7    occupant?
  8           A.       There was another guy.
  9           Q.       Did you share a bed with
 10    anyone at that house?
 11           A.       With
 12           Q.       Were you in a relationship
 13    with
 14           A.       No.
 15           Q.       You slept in a bed with
 16                in the apartment on the Upper
 17    East Side?
 18           A.       That's correct.
 19           Q.       What was the address of that
 20    apartment?
 21           A.       I can't remember.
 22           Q.       Do you have any way of
 23    reaching                now?
 24           A.       No, no, I don't.
 25           Q.       Do you know approximately
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 75 of 469
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                                                                    Page 74
  1                HIGHLY CONFIDENTIAL AEO
  2    where in New York it was besides the
  3    Upper East Side?
  4           A.       I just remember it being in
  5    the Upper East Side.               I can't remember
  6    the exact location.
  7           Q.       Any of the cross-streets?
  8           A.       I went there the other day,
  9    and it looks -- it looks familiar.                      I
 10    can't -- I can't remember
 11    specifically.
 12           Q.       You went to the apartment
 13    the other day?
 14           A.       No, I didn't go to the
 15    apartment the other day.                 I went to
 16    the Upper East Side yesterday -- the
 17    other day, sorry.             But I can't
 18    remember where the apartment was, no.
 19           Q.       Was it a walkup or a doorman
 20    or elevator kind of building?
 21           A.       It was an elevator building.
 22           Q.       Was there a doorman?
 23           A.       No.
 24           Q.       What floor were you on?
 25           A.       I can't remember.
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                                                                    Page 75
  1                 HIGHLY CONFIDENTIAL AEO
  2           Q.       And you don't remember how
  3    you met
  4                    MR. GUIRGUIS:          Objection.
  5           A.       I met loads of people during
  6    that time.         I can't specifically
  7    remember how I met every individual.
  8           Q.       And in the same house, there
  9    was             and another guy?
 10           A.       That's correct.
 11                    MS. MCCAWLEY:          Objection,
 12           misstates --
 13           Q.       Do you remember the other
 14    guy's name?
 15           A.       I can't remember.
 16           Q.       How long did you live with
 17                and the other guy?
 18           A.       For a -- I think it was a
 19    couple months until I moved.
 20           Q.       And where did you move?
 21           A.       To Jeffrey Epstein's
 22    apartment.
 23           Q.       What was the address to
 24    that?
 25           A.       I think it was 2000 -
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                                                                    Page 76
  1                HIGHLY CONFIDENTIAL AEO
  2    sorry -- 205 East.              It was Midtown
  3    somewhere.
  4           Q.       I'm sorry, what?
  5           A.       It was sort of Midtown.                I'm
  6    not familiar with New York because I
  7    haven't been here and I don't live
  8    here.       It was kind of Midtown, his
  9    apartment.
 10           Q.       Okay.
 11           A.       If I recall, yeah.
 12           Q.       So it's 205 East something?
 13           A.       It's East -- it's East
 14    something.         It was the same -- it was
 15    the same apartment building that
 16    lived in, because we lived in the same
 17    building.
 18           Q.       Did you live in the same
 19    apartment?
 20           A.       No.
 21           Q.       Did you have your own
 22    apartment?
 23           A.       Yes.
 24           Q.       How big was the apartment?
 25           A.       It was massive.
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                                                                    Page 77
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       How many bedrooms did it
  3    have?
  4           A.       I can't remember.            I can't
  5    remember.         I can't --
  6           Q.       Two or seven?
  7           A.       I just -- I remember just
  8    the -- like, the living room, and it
  9    was very spacious.
 10           Q.       Can you draw a picture of
 11    the layout of it?
 12           A.       I wouldn't remember the
 13    layout.       There was -- I remember like
 14    a pale blue decor.
 15           Q.       And no one else lived there
 16    with you?
 17           A.       No.
 18           Q.       And you don't know how many
 19    bedrooms?
 20           A.       I can't remember how many
 21    bedrooms there were.
 22           Q.       Was there a doorman?
 23           A.       Oh, I can't remember.
 24           Q.       Was it a walkup or elevator?
 25           A.       Elevator.
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                                                                     Page 78
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       What floor were you on?
  3           A.       I can't remember.
  4           Q.       Approximately when did you
  5    move into this apartment?
  6           A.       It was not long after I
  7    moved in with                      About two
  8    months, I think.            About two months, I
  9    think, roughly.
 10           Q.       So you lived with                       for
 11    about two months and then you moved
 12    into this other apartment?
 13           A.       That's correct.
 14           Q.       And how much were you paying
 15    for this new apartment?
 16           A.       Oh, it was Jeffrey's.               I
 17    didn't pay a single thing.
 18           Q.       And who else lived in the
 19    apartment building?
 20           A.       Quite a -- gosh.            A few,
 21    actually.         I recall
 22           Q.       Do you know                    last
 23    name?
 24           A.       I can't remember her last
 25    name,                 last name.
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                                                                    Page 79
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Okay.      Who else?
  3           A.       There were a few other
  4    girls.       I can't remember their names.
  5           Q.       None of them?
  6           A.       No.     It was a long time ago.
  7           Q.       What did they look like,
  8    these other names you can't remember?
  9           A.       I can't remember.            There
 10    were so many.           There were so many
 11    girls, a constant influx of girls.
 12           Q.       How many?
 13                    MS. MCCAWLEY:          Objection.
 14           A.       I can't remember.
 15           Q.       50?
 16                    MR. GUIRGUIS:          Objection.
 17           A.       I can't remember.
 18           Q.       A hundred?
 19                    MR. GUIRGUIS:          Objection.
 20           A.       I can't remember.
 21           Q.       Can you say if it was more
 22    than a thousand or less?
 23                    MR. GUIRGUIS:          Objection.
 24           A.       I can't remember.
 25           Q.       You can't remember if it was
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                                                                    Page 80
  1                HIGHLY CONFIDENTIAL AEO
  2    more than a thousand?
  3           A.       I can't remember.
  4                    MR. GUIRGUIS:          Objection.
  5                    MS. MCCAWLEY:          Objection.
  6           This is harassing.
  7                    MR. GUIRGUIS:          Objection.
  8           We're crossing a line here.
  9                    MS. MENNINGER:           Okay.      I'm
 10           asking if she can remember if it
 11           was more than a thousand or less.
 12                    MS. MCCAWLEY:          But you
 13           haven't defined it.             You're not
 14           saying where.          In the apartment?
 15           In general when she met with
 16           Jeffrey?       I mean --
 17                    MS. MENNINGER:           I'm asking
 18           her -- she said there were so
 19           many women that were influx in
 20           the apartment, and I'm asking how
 21           many.
 22                    MS. MCCAWLEY:          She didn't
 23           say in the apartment.              Go back
 24           and look at the testimony.
 25                    THE WITNESS:          In the
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 82 of 469
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                                                                    Page 81
  1                HIGHLY CONFIDENTIAL AEO
  2           building.
  3           Q.       Right.      In the building.
  4    How many females did you meet in the
  5    building?
  6                    MR. GUIRGUIS:          Objection.
  7           A.       I can't remember.
  8           Q.       And can you say it was more
  9    or less than one thousand?
 10                    MR. GUIRGUIS:          Objection.
 11           A.       It was less than a thousand
 12    girls.
 13           Q.       Was it less than a hundred?
 14           A.       Yes, it was less than a
 15    hundred.
 16           Q.       Was it less than 50?
 17           A.       I can't remember.
 18           Q.       Apart from                  can you
 19    name any other one of the females that
 20    you met in the apartment building?
 21                    MR. GUIRGUIS:          Objection.
 22           A.       I can't remember.
 23           Q.       Can you describe any of
 24    them?
 25                    MR. GUIRGUIS:          Objection.
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                                                                    Page 82
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       I can't remember.
  3           Q.       Did you do any employment
  4    while you were here in the U.S. in the
  5    fall of 2006?
  6                    MR. GUIRGUIS:          Objection.
  7           A.       I did freelance modeling.
  8           Q.       Who did you do that for?
  9           A.       Various photographers.
 10           Q.       Do you have those
 11    photographs still?
 12           A.       No.
 13           Q.       Do you have a portfolio?
 14           A.       I used to have one.
 15           Q.       Do you currently have a
 16    modeling portfolio?
 17           A.       No.
 18           Q.       Do you have any of your
 19    modeling photos?
 20                    MS. MCCAWLEY:          Objection,
 21           asked and answered.
 22           A.       Yeah, I got a couple.
 23           Q.       Where are they?
 24           A.       At home.
 25           Q.       In Barcelona?
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                                                                    Page 83
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       That's correct.
  3           Q.       Are they on a computer?
  4           A.       No.
  5           Q.       When you came to the U.S. in
  6    the fall of 2006, was there a limit on
  7    how long you could stay here?
  8                    MR. GUIRGUIS:          Objection.
  9           A.       Yes, there was.
 10           Q.       What was that?
 11           A.       It was a three-month tourist
 12    visa.
 13           Q.       Were you permitted to be
 14    employed while you were here on a
 15    tourist visa?
 16                    MR. GUIRGUIS:          Objection.
 17           Hold on a second.
 18                    MS. MENNINGER:           I don't know
 19           what kind of visa she was on.
 20           I'm just asking the question.
 21                    MR. GUIRGUIS:          I don't -- I
 22           don't know why her visa status is
 23           relevant or why we're going to
 24           get into things that
 25           might be interested in, so I'm
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 85 of 469
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                                                                    Page 84
  1                HIGHLY CONFIDENTIAL AEO
  2           not going to have her sit here
  3           and testify about whether she was
  4           complying with immigration law or
  5           not.
  6                    MS. MENNINGER:           Is she
  7           taking the Fifth Amendment?
  8                    MR. GUIRGUIS:          I'm just not
  9           sure that you need to ask the
 10           question.
 11                    MS. MENNINGER:           Well, I did
 12           ask the question.            I want to know
 13           if she was permitted, on the type
 14           of visa she came in on the fall
 15           of 2006, to engage in paid
 16           employment.
 17                    MR. GUIRGUIS:          Okay.      Now
 18           that I hear the question, you can
 19           answer it if you know the answer.
 20           A.       No.
 21           Q.       No, you were not permitted
 22    to do paid employment, correct?
 23           A.       That's correct.
 24           Q.       You did paid employment
 25    while you were here on the tourist
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 86 of 469
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                                                                    Page 85
  1                HIGHLY CONFIDENTIAL AEO
  2    visa, correct?
  3           A.       I wouldn't quite say -- I
  4    kind of -- I wasn't that great at it,
  5    so I didn't make a lot of money doing
  6    modeling.         I was too fat, apparently.
  7    So I wouldn't say I milked the bank
  8    there.
  9                    (An off-the-record
 10           discussion was held.)
 11           A.       Milked the bank with my
 12    modeling -- amazing modeling career.
 13           Q.       So you came over in order to
 14    further your education, I think you
 15    testified to earlier, correct?
 16           A.       That's correct.
 17           Q.       So while you were here
 18    during those three months -- was it
 19    three months you said, at first, on
 20    the tourist visa?             Correct?
 21           A.       Yes, yeah.
 22           Q.       When you were here those
 23    first three months, what did you do to
 24    further your education?
 25           A.       I started looking at
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 87 of 469
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                                                                    Page 86
  1                HIGHLY CONFIDENTIAL AEO
  2    universities or colleges, researching
  3    what was the right one for me to go
  4    to.
  5                    By that stage, I -- I've
  6    always been interested in the fashion
  7    industry, designing, clothes
  8    designing.         And New York was -- well,
  9    this is the place to be for it.
 10                    So, yeah, I did quite a lot
 11    of research on which university, what
 12    kind of people were there and
 13    etcetera, so...
 14           Q.       How were you supporting
 15    yourself while you were living in New
 16    York during the three-month period
 17    after you initially arrived?
 18           A.       I had some savings.
 19           Q.       Was your family providing
 20    you any money?
 21           A.       No.
 22           Q.       Apart from your savings, was
 23    there any other source of income
 24    during October or so of 2006?
 25           A.       I did the occasional, I
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                                                                    Page 87
  1                HIGHLY CONFIDENTIAL AEO
  2    guess, job where I was called to
  3    entertain or spend time with people,
  4    but that was about it.
  5           Q.       What does that mean?
  6           A.       Well, I don't really like to
  7    use the word per se, because you guys
  8    kind of, in your legal minds, have it
  9    in a box of what you think it is.
 10                    But, like, once or twice, I
 11    was paid to spend dinner with a
 12    gentleman during that time.
 13           Q.       And how did you meet the
 14    gentleman?
 15           A.       It was through an agency.
 16           Q.       What was the name of the
 17    agency?
 18           A.       I can't remember.
 19           Q.       Do you know where it was
 20    located?
 21           A.       No.
 22           Q.       Do you know how much you
 23    were paid to spend dinner time with a
 24    gentleman?
 25           A.       It depended how long the
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 89 of 469
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                                                                    Page 88
  1                HIGHLY CONFIDENTIAL AEO
  2    dinner was for.
  3           Q.       And what was the most that
  4    you recall making for spending dinner
  5    with a gentleman?
  6           A.       $1,500.
  7           Q.       Did you engage in any sexual
  8    relations with the gentleman?
  9           A.       One, yeah, once or twice,
 10    but it was on my own accord.                   It was
 11    after that time period had finished.
 12           Q.       What time period?
 13           A.       My appointment, my dinner
 14    with them.
 15           Q.       Okay.
 16           A.       He just happened to be
 17    really good looking.
 18                    MR. GUIRGUIS:          It's been
 19           about an hour.           Maybe we can take
 20           five minutes, stretch.
 21                    MS. MENNINGER:           Sure.
 22                    (Time noted:          10:47 a.m.)
 23                    (Recess.)
 24                    (Time noted:          11:05 a.m.)
 25           Q.       Approximately how many times
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 90 of 469
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                                                                    Page 89
  1                HIGHLY CONFIDENTIAL AEO
  2    do you recall being paid to spend
  3    dinner with a gentleman in New York
  4    when you were living here in late
  5    2006?
  6           A.       I can't remember.
  7           Q.       Ten times?
  8                    MR. GUIRGUIS:          Objection.
  9           A.       It could be, it wasn't --
 10    yeah, it could be that.                It wasn't
 11    really...
 12           Q.       Apart from that income, did
 13    you have any other sources of income?
 14                    MR. GUIRGUIS:          I'm sorry.
 15           Off the record for a second.
 16                    (An off-the-record
 17           discussion was held.)
 18                    MS. MENNINGER:           I think
 19           there's a question pending.
 20                    (Requested portion of the
 21           record was read back.)
 22           A.       Yes, I did, yes.
 23           Q.       What were the other sources?
 24           A.       Jeffrey Epstein.
 25           Q.       Any other source?
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                                                                    Page 90
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       No.
  3           Q.       Who introduced you to
  4    Jeffrey Epstein?
  5           A.
  6           Q.       And how did you meet
  7
  8           A.       I met her in a nightclub.
  9           Q.       Do you know which nightclub?
 10           A.       I can't remember the exact
 11    name.       It was a rock club.             The owner
 12    of the club, his name is                          Yeah,
 13    his name -- it's quite a well-known
 14    club.       If you Google the name
 15    you'll find the name.                       the
 16    nightclub owner; he's quite famous in
 17    New York.
 18           Q.       Do you know where in New
 19    York the club is located?
 20           A.       I can't remember.            I don't
 21    know the exact location.
 22           Q.       Were you there socially or
 23    were you working?
 24           A.       Socially.
 25           Q.       And were you with anyone?
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                                                                     Page 91
  1                HIGHLY CONFIDENTIAL AEO
  2                    MR. GUIRGUIS:          Objection.
  3           A.       I can't remember.            I would
  4    have been with an acquaintance or
  5    something, but I can't remember who I
  6    was with.
  7           Q.       Were you able to make some
  8    friends with people here in New York
  9    when you moved here?
 10           A.       Yes.
 11                  a girl named
 12    There were a few other -- I can't
 13    remember their -- they weren't close
 14    friends, they were just acquaintances.
 15    You don't really make friends in New
 16    York.
 17           Q.       Tell me about your meeting
 18    of
 19           A.       She was a very attractive
 20    girl,                    I think                     Very
 21    friendly, very beautiful girl, very --
 22    we clicked immediately.
 23                    Yeah.      She approached me.             I
 24    wasn't -- yeah, I didn't go out of my
 25    way to meet any friends in a
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 93 of 469
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                                                                    Page 92
  1                HIGHLY CONFIDENTIAL AEO
  2    nightclub, so -- especially girls.
  3           Q.       What do you mean, she
  4    approached you?
  5           A.       So when I go to a club, I
  6    don't really speak to girls.                   I speak
  7    to guys.        So               approached me and
  8    came on to me.
  9           Q.       Where were you?
 10           A.       In the nightclub.
 11           Q.       Where in the nightclub?
 12           A.       I can't -- I can't remember
 13    the exact location.
 14           Q.       Were you at the bar area?
 15    On the dance floor?              In the bathroom?
 16           A.       I would say she pretty much
 17    hit on me everywhere in the club.
 18           Q.       Was there a dance floor?
 19           A.       Yes, there was.
 20           Q.       Was it a one floor club or
 21    two floors?
 22           A.       I can't remember how many
 23    floors.
 24           Q.       And what did she do to hit
 25    on you?
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                                                                    Page 93
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       She befriended me, she --
  3    yeah, she kissed me.
  4           Q.       Where did she kiss you?
  5           A.       On the mouth.
  6           Q.       Anywhere else?
  7           A.       Can -- is that in general or
  8    at that --
  9           Q.       I'm just talking about the
 10    first time you met.
 11           A.       The first time we met?
 12           Q.       Right.
 13           A.       I can't remember if we had
 14    sex the first night we met, but we
 15    definitely were intimate the first
 16    time we met.          But I can't remember if
 17    we had had sex on that first night.
 18           Q.       Okay.      Was that consensual
 19    sex?
 20           A.       Yes, it was with
 21
 22           Q.       And where did you have
 23    consensual sex with
 24           A.       In the club the first time.
 25           Q.       Where in the club?
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                                                                    Page 94
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       In the owner's office.
  3           Q.       Was the owner present?
  4           A.       Yes, the owner was present.
  5           Q.
  6           A.       Is that -- I don't know his
  7    surname, so -- is it --                      -- I can
  8    give you a description of                        if you
  9    want.
 10           Q.       Sure.
 11           A.
 12
 13
 14
 15
 16           Q.       Okay.      So you and
 17    and           had consensual sex in                    's
 18    office?
 19                    MR. GUIRGUIS:          Objection.
 20                    MS. MCCAWLEY:          Objection.
 21           Q.       Is that right?
 22           A.       That's correct.
 23           Q.       Did I get that wrong in any
 24    way?
 25                    MR. GUIRGUIS:          Here's the
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 96 of 469
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                                                                    Page 95
  1                HIGHLY CONFIDENTIAL AEO
  2           question.
  3           A.       Yeah, that's correct.
  4           Q.       Was anyone else present?
  5           A.       No.
  6           Q.       Did you have any alcohol
  7    that night?
  8           A.       I did.
  9           Q.       How much?
 10           A.       Not enough to forget or
 11    black out, so not much.                I was able to
 12    make decisions.
 13           Q.       Do you recall what you were
 14    wearing?
 15           A.       No, I don't.
 16           Q.       Did you have any cocaine
 17    that night?
 18           A.       I don't remember.
 19           Q.       Did you use cocaine during
 20    the fall of 2006?
 21           A.       Yes, I did.
 22           Q.       And where did you get that
 23    cocaine?
 24           A.       From            and
 25           Q.       Anywhere else?
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                                                                    Page 96
  1                HIGHLY CONFIDENTIAL AEO
  2           A.       From          's best friend, a
  3    guy named                                   I don't
  4    know how to spell that.
  5           Q.       Anywhere else?
  6           A.       No.
  7           Q.       Did you pay for any of the
  8    cocaine?
  9           A.       No.
 10           Q.       Did you use any other
 11    controlled substances in the fall of
 12    2006?
 13           A.       No.
 14           Q.       Did you take any
 15    prescriptions in the fall of 2006?
 16           A.       I did.
 17           Q.       What did you take?
 18           A.       Jeffrey's psychiatrist
 19    prescribed me lithium, Ritalin, and
 20    there was a bipolar description drug
 21    that was also prescribed to me by
 22    Jeffrey Epstein's psychiatrist.                     I
 23    can't remember the exact name of that
 24    bipolar drug.           But I was started off
 25    with lithium and Ritalin.
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                                                                    Page 97
  1                HIGHLY CONFIDENTIAL AEO
  2           Q.       Okay.      What was the name of
  3    the psychiatrist?
  4           A.       I can't remember her name.
  5           Q.       It was a woman?
  6           A.       It was a woman.
  7           Q.       And where was she located?
  8           A.       I can't -- I can't remember
  9    the exact location of her office.
 10           Q.       Can you describe the office
 11    in any way?
 12           A.       I can't remember.
 13           Q.       Did anyone go with you?
 14           A.       No, I went on my own.
 15           Q.       Where did you go to get your
 16    prescriptions filled?
 17           A.       A pharmacy near Jeffrey
 18    Epstein's apartment that I was living
 19    in at the time.            I think it was a
 20    Duane Reade.
 21           Q.       Were they in your name?
 22           A.       Yes, they were.
 23           Q.       Were you taking these in the
 24    fall of 2006 or in 2007 or both?
 25           A.       Jeffrey first put me in
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 99 of 469
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                                                                    Page 98
  1                HIGHLY CONFIDENTIAL AEO
  2    touch with his psychiatrist, it was
  3    before -- it was -- yeah, it was well
  4    before December, so it was the fall
  5    of -- fall/winter, going into winter
  6    2006.
  7           Q.       Do you recall what month you
  8    came to the U.S.?
  9           A.       It was September 2006.
 10           Q.       Did you leave and come back
 11    in October?
 12           A.       I think I may have.              I may
 13    have made a trip to London or like a
 14    quick, brief trip.
 15           Q.       Who paid for that?
 16           A.       I can't remember.
 17           Q.       Why did you go back?
 18           A.       I actually can't even
 19    remember why I went back.
 20           Q.       So you think you came in
 21    September?
 22           A.       I know I came in September.
 23           Q.       And you said you could stay
 24    for three months?
 25           A.       And then I left the country
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 100 of 469
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                                                                    Page 99
   1               HIGHLY CONFIDENTIAL AEO
   2    briefly for a day and then I came back
   3    in again.
   4          Q.       When did you do that?
   5          A.       So if you look at my
   6    passport when I entered -- you've got
   7    my passport.          So I arrived on the 1st,
   8    I think, of September, and then it was
   9    just before the three months were up,
  10    and then I left.
  11                   I think that was the trip
  12    that I made to London in -- October,
  13    November -- October, November -- yeah,
  14    so I was -- I left before the due time
  15    that my tourist visa was up, and I
  16    spent a summer and came back.
  17          Q.       Where did you go?
  18          A.       I think it was London.                I
  19    went to -- I went to London.                   And then
  20    Jeffrey paid for a flight for me to
  21    visit my family in South Africa in
  22    February.
  23          Q.       Okay.      So there's two trips
  24    to London we're talking about?
  25    There's one you went and you came
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 101 of 469
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                                                                   Page 100
   1               HIGHLY CONFIDENTIAL AEO
   2    right back?
   3          A.       I only recall one trip to
   4    London.       I didn't really kind of
   5    catalog every trip I made.                 I did a
   6    lot of traveling during my time in the
   7    U.S., so...
   8          Q.       Had you traveled a lot
   9    before you came to the U.S.?
  10          A.       Yeah.      I spent my whole life
  11    traveling.
  12          Q.       How were you able do that?
  13          A.       Through savings, through
  14    waitressing jobs, that kind of thing.
  15          Q.       Did your family ever pay for
  16    you to go on trips?
  17          A.       No.
  18          Q.       Never?
  19          A.       No.
  20          Q.       Does your family travel?
  21          A.       Yeah, they travel.              They go
  22    on holidays overseas.               They go on
  23    holidays.
  24          Q.       So you said you got a
  25    passport your whole life, I think you
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 102 of 469
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                                                                   Page 101
   1               HIGHLY CONFIDENTIAL AEO
   2    said, right?
   3          A.       Well, I can't remember the
   4    specific date when -- I was like from
   5    3 to 5 when I got my passport.                    I
   6    didn't arrange my passport at 3 years
   7    old; my mom kind of did that.
   8                   So I've always grown up with
   9    a British and South African passport.
  10    I had dual nationality right from the
  11    get-go.
  12          Q.       Right.       So when you were a
  13    child, did you travel internationally?
  14          A.       Yeah, I did, to visit my
  15    family in Scotland.
  16          Q.       And apart from the UK and
  17    South Africa, did you go anywhere as a
  18    child?
  19          A.       We went on holidays and
  20    Africa.       Maybe I went to Scotland to
  21    visit my family, yeah, possibly.                      I
  22    don't remember.
  23          Q.       Okay.
  24          A.       They weren't photo-happy in
  25    my family.
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                                                                   Page 102
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       They were what?
   3          A.       They weren't photo-happy,
   4    so...
   5          Q.       So back in the fall 2006,
   6    you were here for three months and
   7    then you left --
   8          A.       Yeah.      I didn't want to go
   9    over my visa and get in trouble, and I
  10    wasn't making much money anyway.                     And
  11    Jeffrey was with FIT, so he was going
  12    to organize me a visa so I could stay.
  13                   So I didn't do anything
  14    wrong or illegal with my visa, just to
  15    clarify.
  16          Q.       I understand.           I'm just
  17    trying to get the timing of when you
  18    were here and then you left and then
  19    you came back; is that right?
  20          A.       So the duration that I was
  21    here, I arrived in September and I
  22    left -- I think it was the 1st of May.
  23                   So during that time, there
  24    was a trip that I made to South Africa
  25    to visit my family and there was a
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 104 of 469
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                                                                   Page 103
   1               HIGHLY CONFIDENTIAL AEO
   2    trip to London.           I don't recall -- I
   3    don't remember any other trips that I
   4    made during that duration of time,
   5    away from Jeffrey and Ghislaine, if
   6    you understand, on my independent own.
   7          Q.       Right.       So if you came in
   8    September and you could stay for three
   9    months --
  10          A.       Mm-hmm.
  11          Q.       So you left in December?
  12                   MS. MCCAWLEY:           Objection,
  13          asked and answered.
  14          A.       September, October,
  15    November.        Yeah, I did -- I did make a
  16    trip to -- I don't recall the specific
  17    dates, but I did make a trip to London
  18    and I did make a trip to South Africa
  19    in February.          So I don't...
  20          Q.       Did you go from London to
  21    South Africa?
  22          A.       I don't remember the exact
  23    trip itinerary.           But, yeah, I flew to
  24    South Africa on a plane.
  25          Q.       From London?
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                                                                       Page 104
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       From New York.
   3          Q.       Okay.      So you recall having
   4    been on two trips independently
   5    between September 2006 and May 2007,
   6    right?      One to London and one to South
   7    Africa?
   8          A.       Yeah, that's correct.
   9          Q.       And the one to London, you
  10    recall being a brief trip to then
  11    allow you to stay in the country
  12    longer?
  13          A.       I don't remember why I went.
  14    I don't even remember the trip, okay?
  15    I really don't recall.               I probably
  16    visited my mom or -- or whatever.                     I
  17    just know that I made two trips during
  18    that duration and I know that I did
  19    not over go the three-month thing.                        So
  20    I made those for those specific
  21    reasons.
  22          Q.       Okay.
  23          A.       But those -- I just wanted
  24    to make clear that those were the only
  25    two trips I made independently without
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 106 of 469
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                                                                   Page 105
   1               HIGHLY CONFIDENTIAL AEO
   2    Jeffrey aiding, and I would like to
   3    make that clear.            I made multiple
   4    trips with Jeffrey, so independently I
   5    did those two.
   6          Q.       Were any of your trips with
   7    Jeffrey international?
   8          A.       No.
   9          Q.       Can you tell me when in your
  10    stay in the U.S. you initially met
  11
  12          A.       It was pretty soon after I
  13    arrived.       I can't remember the exact
  14    time frame.          I think it was about
  15    maybe two, three weeks after I
  16    arrived.
  17          Q.       Were you living at                    's?
  18          A.       Yes.
  19          Q.       Did you consider yourself in
  20    a relationship with
  21          A.       No, we were just having fun.
  22    And she was -- she was really
  23    friendly, and I didn't know anyone in
  24    New York, so -- and, you know, I
  25    wanted to make friends.                She was a
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 107 of 469
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                                                                   Page 106
   1               HIGHLY CONFIDENTIAL AEO
   2    girl and was just very friendly,
   3    pretty.
   4          Q.       Was she also involved in the
   5    fashion industry at all?
   6          A.       I don't recall.            I just
   7    recall her working for Jeffrey.
   8          Q.       What did you observe her
   9    doing for Jeffrey?
  10          A.       The exact same thing she did
  11    with me.       She recruited me and was
  12    paid for it.
  13          Q.       Okay.      Did you see her get
  14    paid?
  15          A.       No.
  16          Q.       How do you know she got
  17    paid?
  18          A.       The girls told me.
  19          Q.       Who were the girls?
  20          A.       I can't remember their
  21    names.
  22          Q.       Okay.      So the girls told
  23    you're that                    got paid by
  24    Jeffrey?
  25          A.       That's correct.
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                                                                   Page 107
   1                HIGHLY CONFIDENTIAL AEO
   2           Q.      So what did you see
   3    do for Jeffrey?
   4           A.      Well, she recruited me.                I
   5    think she recruited other girls for
   6    Jeffrey.
   7           Q.      Did you see her do that?
   8           A.      No, but I met some of the
   9    other girls that had been introduced
  10    to Jeffrey and Ghislaine via
  11           Q.      Got it.
  12                   So you were recruited by
  13                  correct?       Yes or no.
  14           A.      Yes.
  15           Q.      And you met other girls who
  16    knew                and Jeffrey, correct?
  17           A.      Well, all the girls knew
  18    each other, really.              All the girls
  19    kind of...
  20           Q.      Are these the same girls
  21    that are in the apartment building or
  22    a different set of girls?
  23           A.      Different set of girls.
  24           Q.      Okay.
  25           A.      You know, there was a
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 109 of 469
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                                                                     Page 108
   1                HIGHLY CONFIDENTIAL AEO
   2    constant flow of women, girls.
   3           Q.      So where did you see these
   4    other girls?
   5           A.      In Manhattan, with Jeffrey,
   6    a few social occasions that we went
   7    on, the island.           On the plane, Jeffrey
   8    Epstein's plane.            I met girls
   9    everywhere -- every time I went with
  10    Jeffrey.       Well, not every time, but he
  11    was always surrounded by new girls.                      I
  12    couldn't keep up with the names, to be
  13    honest.       That's why I can't remember
  14    any of them.
  15           Q.      Getting back to                         you
  16    met her at the nightclub?
  17           A.      Mm-hmm.
  18           Q.      Did she work as a model at
  19    all?
  20           A.      I wasn't quite clear what
  21    she actually did, to be honest.                    I
  22    have absolutely no idea.
  23           Q.      Do you know where she lived?
  24           A.      No, I didn't.           I don't know
  25    where she lives.
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                                                                   Page 109
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Did you ever go to her
   3    apartment?
   4          A.       No.
   5          Q.       When is the last time you
   6    talked to her?
   7          A.       I haven't -- I think before
   8    I left New York.
   9          Q.       Did you have a cell phone
  10    when you were in New York?
  11          A.       Yes, I did.
  12          Q.       Do you recall who your cell
  13    phone provider was?
  14          A.       I don't remember.
  15          Q.       Do you know your cell phone
  16    number?
  17          A.       No, I have no idea.
  18          Q.       When you were living in New
  19    York, were your parents living in
  20    South Africa?
  21          A.       My dad was living in South
  22    Africa, my mom was in the UK.
  23          Q.       Can you tell me about your
  24    first conversation with
  25          A.       I can't remember my first
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 111 of 469
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                                                                   Page 110
   1                 HIGHLY CONFIDENTIAL AEO
   2    conversation with her.
   3           Q.       Can you remember any
   4    conversation with her?
   5           A.       Yeah, I can.         I can remember
   6    chatting.        She was my friend.             I mean,
   7    we spoke about everything.                 We spoke
   8    about life with Jeffrey, we spoke
   9    about Ghislaine, we spoke about the
  10    other girls, we spoke about
  11    was a really nice girl as well.                    Like,
  12    we often got coffee with each other,
  13    lunches, dinners.
  14           Q.       Okay.     Do you remember any
  15    specifics of your conversations?
  16                    MS. MCCAWLEY:          Objection,
  17           asked and answered.
  18           A.       We spoke very frequently
  19    about the faces Jeffrey used to pull
  20    when he used to masturbate over the
  21    girls, which was quite funny.
  22                    We spoke about Ghislaine
  23    quite a lot and what a monster she
  24    was.        She's really not a nice person,
  25    so -- yeah, I mean, we spoke about
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 112 of 469
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                                                                   Page 111
   1               HIGHLY CONFIDENTIAL AEO
   2    them a lot, actually.
   3          Q.       Okay.      So you spoke about
   4    the faces Jeffrey made when he
   5    masturbates over the girls?
   6          A.       And the way he spits on his
   7    hand when he masturbates.                 It's really
   8    gross.      It's quite funny.
   9          Q.       Any other conversations with
  10                that you remember?
  11          A.       I remember I didn't really
  12    get on with Ghislaine.               As I said,
  13    she's -- in my opinion, she's not a
  14    nice person.          I didn't really get her.
  15                   And Jeffrey Epstein promised
  16    me a -- going to FIT.               So we
  17    frequently spoke about just everyday
  18    things, you know.
  19                                and I --
  20    really -- Jeffrey Epstein and I once
  21    had a fight and                      patched things
  22    up between us, because I didn't want
  23    to speak to Jeffrey anymore.
  24                   I often spoke to
  25    about why Ghislaine didn't like me and
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 113 of 469
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                                                                    Page 112
   1                HIGHLY CONFIDENTIAL AEO
   2    why the other girls didn't like me:
   3               didn't like me, Ghislaine didn't
   4    like me,                          definitely
   5    didn't like me.           Yeah, that kind of
   6    stuff.
   7          Q.       How is it that you came to
   8    meet Jeffrey Epstein?
   9          A.       Through
  10          Q.       Tell me about that.
  11          A.       I first met Jeffrey --
  12                 introduced me to Jeffrey.                She
  13    kind of described him to me.                   She knew
  14    I wanted to go back to school to get a
  15    degree, and I was really battling
  16    financially because at that time I
  17    wasn't really modeling material.
  18                   So, yeah, she told me about
  19    this guy who was really wealthy, a
  20    philanthropist, you know, really
  21    enjoyed -- you know, he really cares
  22    about people and he really wants to
  23    help them, and he was a really good,
  24    decent guy.
  25                   Then we -- he was helping
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 114 of 469
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                                                                   Page 113
   1               HIGHLY CONFIDENTIAL AEO
   2    her at that time, as well as                       and
   3    other girls.
   4          Q.       That's what she told you?
   5          A.       Yes.
   6          Q.       Where were you when
   7    was describing Jeffrey?
   8          A.       I can't remember the
   9    location, but -- I mean, she first
  10    described Jeffrey -- I think it was
  11    the second time we met, because I had
  12    discussed with her that I was
  13    struggling financially because my
  14    modeling career hadn't really taken
  15    off as I had hoped, so I was -- yeah,
  16    she wanted to help.
  17          Q.       And you don't remember where
  18    you had this conversation?
  19          A.       No, not specifically the
  20    exact location.
  21          Q.       Was it in person or over the
  22    phone?
  23          A.       It was in person.
  24          Q.       Was anybody else there?
  25          A.       I think              could have been
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 115 of 469
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                                                                   Page 114
   1               HIGHLY CONFIDENTIAL AEO
   2    there,                              could have been
   3    there, a few other people could have
   4    been there.         Various people.            She was
   5    quite open about it.
   6          Q.       And do you know when this
   7    was in the fall of 2006?
   8          A.       It was very close to after I
   9    had first arrived, so it was quite
  10    soon after I arrived.               I don't know
  11    specifically if it was three weeks or
  12    two weeks, but it was quite soon after
  13    I first got to...
  14          Q.       Okay.      So did you meet
  15    Jeffrey?       Did you agree to meet
  16    Jeffrey?       What happened next?
  17                   MR. GUIRGUIS:           Objection to
  18          form.
  19          Q.       What happened next?
  20                   MR. GUIRGUIS:           Objection to
  21          that one too.
  22          A.       I agreed to -- yeah, I met
  23    Jeffrey.
  24          Q.       How?
  25          A.       We went to -- the first
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 116 of 469
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                                                                   Page 115
   1               HIGHLY CONFIDENTIAL AEO
   2    meeting I had with Jeffrey was at the
   3    cinema.       There were about ten other
   4    girls with him.
   5          Q.       How did that meeting get
   6    arranged?
   7          A.                    arranged it, and
   8    said she had spoken to Jeffrey and
   9    Jeffrey wanted to meet me.
  10          Q.       And what movie did you see?
  11          A.       I can't remember what movie
  12    it was.
  13          Q.       Did you sit with him?
  14          A.       Yes, I did.
  15          Q.       Next to him?
  16          A.       I can't remember if it was
  17    next to him, but I was close by him.
  18          Q.       You,                  ten other
  19    girls and Jeffrey?
  20          A.       I don't know if it was
  21    exactly ten, but there were -- there
  22    were many other girls there.                   There
  23    was like a big group of us.
  24          Q.       And where was the theater?
  25          A.       I can't remember the exact
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 117 of 469
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                                                                      Page 116
   1               HIGHLY CONFIDENTIAL AEO
   2    location, but it was quite a
   3    prominent -- it was a big cinema.                        It
   4    was like a huge -- like one of your
   5    main cinemas.          Somewhere -- is there a
   6    cinema on Lexington, maybe?
   7                   I don't know.           Sorry.
   8    Navigation isn't in my strong points.
   9    I'm going to stop speculating.                    I'm
  10    sorry, okay?          I said it for you.             I
  11    don't know.
  12          Q.       It was somewhere in New
  13    York?
  14          A.       It was in New York.
  15          Q.       And you went with
  16          A.       Yes.
  17          Q.       How did you go?
  18          A.       By cab.
  19          Q.       From your apartment with
  20
  21          A.       Yes.
  22          Q.       And tell me about your
  23    experience at the cinema?
  24          A.       I bought popcorn and sweets
  25    and juice, and I had an awesome time
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                                                                   Page 117
   1               HIGHLY CONFIDENTIAL AEO
   2    watching the movie with a bunch of new
   3    people.
   4          Q.       And you do not remember the
   5    name of the movie?
   6                   MR. GUIRGUIS:           Objection.
   7          A.       No.
   8          Q.       And what happened after the
   9    movie was over?
  10                   MR. GUIRGUIS:           Objection.
  11          A.       I got in a taxi.
  12          Q.       And?
  13                   MR. GUIRGUIS:           Objection.
  14                   MS. MENNINGER:           What's the
  15          objection?
  16                   MR. GUIRGUIS:           The question
  17          and, objection to form.                That's a
  18          good objection.
  19          A.       I went home.
  20          Q.       When was the next time you
  21    met Jeffrey?
  22          A.       I can't remember specific --
  23    I can't remember -- I think I met
  24    him -- again, I'm not trying to
  25    speculate.         I think I met him in New
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                                                                   Page 118
   1               HIGHLY CONFIDENTIAL AEO
   2    York again.         I can't remember that
   3    meeting.       I then met him again on his
   4    private plane.
   5          Q.       So you believe the third
   6    time you met him was on the private
   7    plane?
   8          A.       That's correct.
   9          Q.       And do you remember anything
  10    about the second time you met him?
  11          A.       No, I can't remember.
  12          Q.       And do you know how long
  13    after the first time you met him the
  14    second time was?
  15          A.       Pretty soon after.
  16          Q.       What does that mean to you?
  17          A.       Couple days.
  18          Q.       Where did you meet him that
  19    second time?
  20          A.       In New York.
  21          Q.       Where?
  22          A.       I can't remember.
  23          Q.       At his house?
  24          A.       No, it wasn't at his house.
  25          Q.       Was anyone else there the
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 120 of 469
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                                                                   Page 119
   1               HIGHLY CONFIDENTIAL AEO
   2    second time you met him?
   3          A.
   4          Q.       Anyone else?
   5          A.       No, not that I recall.
   6          Q.       Anything memorable about
   7    that event?
   8          A.       Nothing, nothing memorable.
   9          Q.       Anything sexual happen at
  10    the second meeting?
  11          A.       No.
  12          Q.       At the first meeting?
  13          A.       No.
  14          Q.       How did the flight meeting
  15    become arranged, if you know?
  16          A.       So it was pretty a
  17    last-minute thing.                         phoned me
  18    up and said that Jeffrey Epstein would
  19    very much like to have me go to his
  20    island.       It was going to be so much
  21    fun, it was going to be a girls' week,
  22    there were lots of other girls going,
  23    we were going to have so much fun,
  24    etcetera, etcetera, etcetera.
  25          Q.       And what did you do?
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                                                                   Page 120
   1               HIGHLY CONFIDENTIAL AEO
   2                   MR. GUIRGUIS:           Objection.
   3          A.       I went on the -- I went with
   4    them to the island.
   5          Q.       Where was the plane located?
   6          A.       I can't remember the exact
   7    airport.       I think it was either Newark
   8    or JFK.
   9          Q.       Did you fly commercially or
  10    private?
  11          A.       Private.
  12          Q.       Was it Jeffrey's plane?
  13          A.       Yes.
  14          Q.       Who else was on the plane?
  15          A.                               -- I would
  16    like to say               but I can't remember
  17    her specifically being there on the
  18    first trip, so...                         and
  19    were definitely there.
  20          Q.       Had you met                 before?
  21          A.       No.
  22          Q.       And you don't remember
  23    anyone else?
  24          A.       No, it was -- I mean, there
  25    were always new people around Jeffrey
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 122 of 469
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                                                                   Page 121
   1               HIGHLY CONFIDENTIAL AEO
   2    and Ghislaine, so I don't really --
   3          Q.       Well, you just said and
   4    Ghislaine.         Was Ghislaine there?
   5          A.       No, not the first time.
   6          Q.       And do you recall what month
   7    this was?
   8          A.       I can't remember what month
   9    it was.
  10          Q.       It was sometime during your
  11    first three-month period?
  12          A.       Yeah, it was within that
  13    first three months.
  14          Q.       So sometime between
  15    September and December?
  16          A.       That's correct.
  17          Q.       And did you have a camera
  18    with you when you went?
  19          A.       I did.
  20          Q.       Did you take pictures?
  21          A.       I took a couple.
  22          Q.       Describe for me what
  23    happened on the plane ride?
  24          A.                 walked in, sat down in
  25    front of me,                      We all buckled
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                                                                   Page 122
   1               HIGHLY CONFIDENTIAL AEO
   2    up, we took off.
   3                   The rest of the passengers
   4    in the -- I think it's towards the
   5    front of the plane where all the seats
   6    are -- we all -- all the guests
   7    were -- fell asleep.              I pretended to
   8    be asleep.
   9                   Jeffrey then went -- Jeffrey
  10    went to his -- was in his bed on the
  11    plane, having open sex with                          for
  12    everyone to see, on display.
  13          Q.       Did you participate in that
  14    sex at all?
  15          A.       No, I didn't.
  16          Q.       Did anyone ask you to?
  17          A.       No.
  18          Q.       Did you and                     have any
  19    sexual relationship on that plane, the
  20    first plane ride?
  21          A.       No.
  22          Q.       Were you still having an
  23    occasional sexual relationship with
  24                at that time?
  25                   MS. MCCAWLEY:           Objection.
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                                                                   Page 123
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       I can't remember.
   3          Q.       What types of sexual
   4    relationship did Jeffrey and
   5    have on the plane in your presence?
   6          A.       Well,              was straddling
   7    Jeffrey for quite some time.                   I
   8    watched them both ejaculate with each
   9    other.      They were having quite a good
  10    time together.
  11          Q.       How long was the plane ride?
  12          A.       Gosh, a few hours.              Few
  13    hours.
  14          Q.       Did you say anything?
  15          A.       No.     I was a guest.              I
  16    thought it would be quite
  17    inappropriate.
  18          Q.       All right.         Can if I ask you
  19    if you could just draw a layout of the
  20    plane?
  21                   I'm going to reach over?
  22                   Just kind of describe where
  23    everyone was sitting and the bed area.
  24          A.       I don't remember if it was
  25    the back or front.             The front of the
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 125 of 469
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                                                                   Page 124
   1               HIGHLY CONFIDENTIAL AEO
   2    plane, I think there was a round --
   3    there was, like, a round bed at the
   4    back of the plane.
   5                   There was seating.              Pilots
   6    are there.                  walked in with her
   7    Louis Vuitton handbag.               She sat there
   8    in front of me at the side of the
   9    plane.      So there was seating here.
  10          Q.       Can you just write
  11    next to that --
  12          A.       Okay.
  13          Q.       -- so I will remember later.
  14          A.                 sat there when she
  15    first walked in.            And I remember her
  16    specifically with a Louis Vuitton
  17    handbag that she had, a black one.
  18          Q.       Okay.      And where were you
  19    sitting?
  20          A.       I was sitting opposite her.
  21    And then I think we changed positions
  22    or there was -- I just remember at the
  23    front, there was seating here, okay.
  24          Q.       Well, where was
  25    sitting?
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 126 of 469
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                                                                   Page 125
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       I don't remember where she
   3    was sitting.
   4          Q.       Can you just put where the
   5    other seats were, if you don't
   6    remember who was in them?
   7          A.       I remember there was seating
   8    here.      I think there was -- I'm
   9    speculating here, but I can't remember
  10    if they were sitting on the -- on the
  11    other side of the plane.                I can't -- I
  12    just remember that I sat on a seat in
  13    the front of the plane and there were
  14    people opposite me.
  15          Q.       When you say opposite, do
  16    you mean in front and back of you or
  17    are you saying to your sides?
  18          A.       In front of me.
  19          Q.       Okay.
  20          A.       So it's like a seating --
  21          Q.       Is it one seat in a row?
  22          A.       I can't remember the
  23    specific layout of the seating on the
  24    aircraft, but I know that there's a
  25    big, fat, round open -- there's a bed
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 127 of 469
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                                                                   Page 126
   1               HIGHLY CONFIDENTIAL AEO
   2    on the back of the plane --
   3          Q.       Okay.
   4          A.       -- which there's no door, so
   5    you can quite easily have sex and show
   6    the whole plane.            Which is how it's
   7    designed, I'm guessing.
   8          Q.       Okay.
   9          A.       Because there's no privacy
  10    around the bed.
  11          Q.       I understand.
  12                   Can you just draw where the
  13    other seats are, though?
  14                   MS. MCCAWLEY:           Objection,
  15          asked and answered.
  16          A.       I don't remember where the
  17    other seats are.            I remember me
  18    sitting in a specific airplane seat at
  19    the beginning, you know, at the front
  20    of the plane.          I don't remember the
  21    decor of the plane.              I remember there
  22    was a bed.         It was open, it was open
  23    plan.
  24          Q.       Were there bathrooms on the
  25    plane?
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 128 of 469
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                                                                   Page 127
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       Yes.
   3          Q.       Where were they?
   4          A.       I can't remember where the
   5    bathrooms were located on the
   6    aircraft.
   7          Q.       Do you know what kind of
   8    plane it was?
   9          A.       It was a nice, big plane.
  10    Yeah, it was a plane.               A plane.
  11          Q.       Had you been on a private
  12    plane before?
  13          A.       No.
  14          Q.       Do you know how many people
  15    it carried?
  16          A.       I just know it's a plane.
  17                   MS. MENNINGER:           Can we mark
  18          that.      Can you mark that as
  19          Defendant's Exhibit 1.
  20                   MR. GUIRGUIS:           Have you seen
  21          it before you want to mark it?
  22                   THE WITNESS:          It's really
  23          bad.     Do you want me to redraw
  24          that?      It's really embarrassing.
  25          I'm not an artist or anything.
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 129 of 469
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                                                                   Page 128
   1               HIGHLY CONFIDENTIAL AEO
   2          It's really bad.
   3                   MR. GUIRGUIS:           Just hand it
   4          over.
   5                   (Defendant's Exhibit 1,
   6          hand-drawn picture marked for
   7          identification.)
   8          Q.       Was there a kitchen on the
   9    plane that you recall?
  10          A.       I can't remember any, no.
  11          Q.       Was there an office area?
  12          A.       I can't remember the layout
  13    of the plane.          I remember the bed.
  14    The only thing I remember is the
  15    open-plan bed where I watched
  16    and Jeffrey have sex.
  17          Q.       Apart from the Louis Vuitton
  18    bag, do you remember what                         was
  19    wearing?
  20          A.       I just remember she had a
  21    black Louis Vuitton handbag.                   And I
  22    don't remember what she was wearing,
  23    no.     But I remember the black handbag
  24    because I liked it so much, I bought
  25    the red-colored version a few years
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 130 of 469
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                                                                   Page 129
   1               HIGHLY CONFIDENTIAL AEO
   2    later.      It was really nice.
   3          Q.       How long did you stay on the
   4    island during this first trip?
   5          A.       A few days.
   6          Q.       Was it a week or two days?
   7          A.       I can't remember.
   8          Q.       Apart from
   9    Jeffrey and yourself, is there anyone
  10    else you recall being on that first
  11    trip?
  12                   MR. GUIRGUIS:           Objection.
  13          A.       On that particular first
  14    trip, I can't remember.                I just
  15    remember                               Jeffrey,
  16    myself on the first trip.
  17          Q.       When you got to the island,
  18    was there anyone there?
  19          A.       Yes.      There was a lovely
  20    couple from Zimbabwe, somewhere in
  21    Africa.       I think they were either
  22    South African or from Zimbabwe, but
  23    they was a lovely middle-age couple.
  24    Chef, like staff, really nice staff on
  25    the island.
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                                                                   Page 130
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Any other guests?
   3          A.       No, not that first trip.
   4          Q.       Did you engage in any sexual
   5    acts with Jeffrey Epstein on your
   6    first trip?
   7          A.       Yes.
   8          Q.       What happened?
   9                   MR. GUIRGUIS:           Objection.
  10          A.       It was -- I had to give him
  11    a massage in his bedroom.
  12          Q.       And how did that come about?
  13          A.       So the entire basics were
  14    explained to me, there's this wealthy
  15    dude, this philanthropist, loves
  16    women, loves getting massages.                    And
  17    this was a nice way to make extra
  18    cash, which is great.
  19                   I got to the island -- oh, I
  20    was made to massage Jeffrey on the
  21    plane.      Sorry.       That's where I gave my
  22    first massage to Jeffrey.
  23                   So my first massage started
  24    with him on the plane, with his feet
  25    and his hands.           And on that trip I
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 132 of 469
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                                                                   Page 131
   1               HIGHLY CONFIDENTIAL AEO
   2    was -- I had to give him other
   3    massages, like legs, arms, feet,
   4    hands, head, shoulders.                And it wasn't
   5    straight away, but they got more
   6    sexual.       Then I was called to his
   7    bedroom.
   8          Q.       Okay.      I just want to make
   9    sure we're talking about the same time
  10    frame.
  11                   There was a massage you gave
  12    on the plane on the way down there?
  13          A.       Yes.
  14          Q.       That was not sexual?
  15          A.       That was not sexual, no.
  16          Q.       Was that before or after he
  17    was having sex with                     in the open
  18    bed in the plane area?
  19          A.       It was before.           It was
  20    before they had sex, because we all
  21    fell asleep.
  22          Q.       Okay.      And then how did the
  23    massage come about?
  24          A.       On the island or --
  25          Q.       No, on the plane.             Just on
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 133 of 469
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                                                                   Page 132
   1                HIGHLY CONFIDENTIAL AEO
   2    the plane.
   3           A.      Jeffrey asked me to massage
   4    him.
   5           Q.      So you were asleep and
   6    Jeffrey woke you up?
   7                   MS. MCCAWLEY:           Objection.
   8           A.      When we first got on the
   9    plane, we sat down.              You know, like
  10    when you first get on an airplane, you
  11    settle in and chat, chat, chat.                    And I
  12    massaged him, and then it was after
  13    that we find of all fell asleep.                     And
  14    then I woke up and I saw Jeffrey and
  15
  16           Q.      Okay.
  17           A.      So in that effect, I was
  18    probably sitting -- I was facing the
  19    bed.
  20           Q.      You were rear-facing?
  21           A.      Yeah.
  22           Q.      Can I just hand you back
  23    Defendant's Exhibit 1.               Is it still,
  24    in your recollection, the same place?
  25           A.      Yeah.      We switched seats a
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 134 of 469
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                                                                   Page 133
   1               HIGHLY CONFIDENTIAL AEO
   2    few times.
   3          Q.       So where was Jeffrey when
   4    you gave him the massage on the
   5    airplane?
   6          A.       He was -- he was seated at
   7    the front.
   8          Q.       In front of where you were?
   9          A.       We weren't really all seated
  10    throughout the entire duration of the
  11    flight.       So as soon as the flight took
  12    up, we took our seat belts off and
  13    kind of moved around freely, because
  14    it's not a commercial flight.                   You can
  15    do that on private planes.                 So we
  16    weren't in our seats the whole time.
  17    There was a lot of moving around.
  18          Q.       Okay.      Can you just draw on
  19    Defendant's Exhibit 1 where he was
  20    when you gave him the massage?
  21          A.       I can't remember where
  22    specifically on what seat or where I
  23    was facing that I gave Jeffrey his
  24    massage, so I'm not comfortable
  25    putting something because that's
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 135 of 469
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                                                                   Page 134
   1                HIGHLY CONFIDENTIAL AEO
   2    speculating.
   3           Q.      Do you have a general area
   4    at all?       Was it in the front area?
   5           A.      The general area -- the
   6    general area here is at the front of
   7    the plane, and then the bed at the
   8    back of the plane.
   9           Q.      So which of those two
  10    general areas was the massage?
  11           A.      So the massage was at the
  12    front, because I didn't give him it on
  13    the bed; it was in the front of the
  14    plane.       I don't remember what specific
  15    seat plan I gave him a massage.
  16           Q.      Was he wearing clothes?
  17           A.      Yes.
  18           Q.      During the whole massage?
  19           A.      During the whole massage,
  20    yes.
  21           Q.      What was he wearing?
  22           A.      I don't remember.
  23           Q.      Did he have on shoes?
  24           A.      Yes, he had on shoes when he
  25    walked onto the plane.               But then he
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 136 of 469
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                                                                   Page 135
   1               HIGHLY CONFIDENTIAL AEO
   2    took his shoes off to have the
   3    massage.
   4          Q.       And do you recall what he
   5    said when he asked you to give him a
   6    massage?
   7          A.       Yes.      He asked me to massage
   8    his feet and massage him.
   9          Q.       Were you surprised by that
  10    request?
  11          A.       No.
  12          Q.       Why not?
  13          A.       Because                  told me that
  14    he liked getting massages from girls
  15    and that he paid for them.
  16          Q.       Did he pay you for that
  17    massage on the plane?
  18          A.       No.
  19          Q.       Did you expect him to?
  20          A.       Well it was a -- it was the
  21    beginning of the trip, so I'm hardly
  22    going to go, I don't really know you.
  23    Can you please pay me.               It's not
  24    something you really discuss, I don't
  25    think.      It's not really appropriate.
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 137 of 469
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                                                                   Page 136
   1               HIGHLY CONFIDENTIAL AEO
   2    It's not very businesslike.
   3          Q.       And you were clothed during
   4    the massage on the plane?
   5          A.       Yes.
   6          Q.       Where was the second
   7    massage?
   8          A.       On his island.
   9          Q.       Where on the island?
  10          A.       So the second time I
  11    massaged him was probably on -- it
  12    was -- I was then asked to massage him
  13    again later that day, to massage him
  14    again in the open-planned seating area
  15    on the island.
  16          Q.       Who asked you to do that?
  17          A.
  18          Q.       So                       was on the
  19    island?
  20          A.       Yes.
  21          Q.       Did she travel with you?
  22          A.       Not all -- I can't remember
  23    specifically who traveling -- I can't
  24    say that I a hundred percent remember
  25    her there on that first flight.                    I
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 138 of 469
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                                                                   Page 137
   1               HIGHLY CONFIDENTIAL AEO
   2    don't -- I can't visually see her
   3    there.      But I know that she traveled
   4    with us pretty much every time with
   5    Jeffrey.       She traveled everywhere with
   6    Jeffrey.
   7          Q.       How many times did you go to
   8    the island?
   9          A.       Several.
  10          Q.       How many?
  11          A.       Several.        Several times.
  12    There were multiple occasions that I
  13    went to the island.
  14          Q.       Three times?
  15          A.       Several.        Several.        I can't
  16    remember how many times specifically.
  17          Q.       I understand you don't have
  18    a specific answer.
  19          A.       Yeah.
  20          Q.       Do you believe it was more
  21    than ten times?
  22          A.       I don't think it was as much
  23    as ten times, no.            Maybe a little bit
  24    less, but not that many.
  25          Q.       Do you know how many times
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 139 of 469
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                                                                   Page 138
   1               HIGHLY CONFIDENTIAL AEO
   2    you went on the private plane versus a
   3    commercial plane?
   4          A.       I flew both, so I can't
   5    remember how many times I did
   6    commercial, how many times I did
   7    private.       I mean, it was -- I know
   8    that I did fly commercially at some
   9    times when the plane wasn't available.
  10          Q.       And the total number of
  11    trips to the island you think was less
  12    than ten times?
  13                   MR. GUIRGUIS:           Objection.
  14          A.       There was several times.
  15    I'm not sure if it was more than ten.
  16    I don't know the accurate number.                     It
  17    was several times.
  18          Q.       Did you go through any type
  19    of passport control when you went to
  20    the island at all?
  21          A.       No, they didn't check
  22    passports.
  23          Q.       How did you get from where
  24    the plane landed to the island?
  25          A.       Jeffrey's speedboat.
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 140 of 469
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                                                                   Page 139
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Was that the only method?
   3          A.       Also a helicopter.
   4          Q.       Who flew the helicopter?
   5          A.       I don't -- a guy.
   6          Q.       Was he cute?
   7                   MR. GUIRGUIS:           Objection.
   8          A.       I don't remember.
   9                   MR. GUIRGUIS:           Objection,
  10          and I direct the witness not to
  11          answer.
  12                   MS. MENNINGER:           I'm learning
  13          about superyachting.              I thought I
  14          would find out about the
  15          helicopter.
  16                   MR. GUIRGUIS:           I thought you
  17          were going to ask if he was
  18          taller than 6 feet or less than 6
  19          feet.      I thought that was the
  20          next series of questions.
  21          Q.       So you said the second
  22    massage you gave Jeffrey was on the
  23    island the same day you flew down
  24    there the first time?
  25          A.       Yes.
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                                                                   Page 140
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       And it was in the open-plan
   3    area?
   4          A.       Yes.
   5          Q.       And you recall
   6    being the one to ask you to give the
   7    message?
   8          A.       We were all sitting there
   9    socially.        Jeffrey asked me.             And that
  10    wasn't a sexual massage in the seating
  11    area on the island, the second
  12    massage.       He was still training me to
  13    massage, so my standards weren't quite
  14    high enough.
  15          Q.       How did he train you to
  16    massage him?
  17          A.       He let the girls massage me
  18    in front of him.            He showed me how
  19    to -- because his body's full of
  20    knots, so -- and he likes his massage
  21    really hard.          So when you really push
  22    on those knots that he has, you have
  23    to be quite firm with him.
  24          Q.       So he told you what he
  25    liked?
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                                                                   Page 141
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       Yes, yeah.         And some of the
   3    other girls -- sorry.                           showed
   4    me how he like his massages.
   5          Q.       Was he clothed during the
   6    second massage?
   7          A.       Yes.
   8          Q.       Were you clothed?
   9          A.       Yes.
  10          Q.       Did any sexual contact occur
  11    on the second massage?
  12          A.       No.
  13          Q.       When do you recall there
  14    being a third massage?
  15          A.       The next day.
  16          Q.       And what happened that gave
  17    rise to the third massage?
  18          A.       I was called to Jeffrey's
  19    bedroom to massage him.
  20          Q.       Who called you?
  21          A.       I'm -- I don't want to
  22    speculate, so I can't remember
  23    specifically who called me.
  24          Q.       Okay.      So some third person
  25    you don't recall --
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                                                                   Page 142
   1                HIGHLY CONFIDENTIAL AEO
   2           A.      It was a female.            It was
   3    either                         or                 so I
   4    can't remember which of the two that
   5    called me, because they called me many
   6    times during the duration of my trip.
   7           Q.      So when you say called me,
   8    what does that mean?
   9           A.      They come up to me and say,
  10    please go to Jeffrey's bedroom and
  11    massage Jeffrey.            He is waiting for
  12    you.
  13           Q.      What time of day was it?
  14           A.      I think it was -- I can't
  15    remember what specific time of day it
  16    was.
  17           Q.      Can you kind of describe the
  18    island for me.           Were there more than
  19    one building on it?
  20           A.      Yeah, there were multiple
  21    buildings.         You had the main house.
  22    You had certain accommodation areas
  23    where the girls sit.
  24                   There were various buildings
  25    around the island where he used to
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 144 of 469
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                                                                   Page 143
   1               HIGHLY CONFIDENTIAL AEO
   2    have all -- him and his other guests,
   3    like beds and beds, like little
   4    shelter things where him and his
   5    guests used to have sex with the
   6    girls, like beds set up for instant
   7    sexual entertainment.               So --
   8          Q.       On a beach area?
   9          A.       All over the island.               All
  10    over the island.            So if you go on one
  11    of his quad bikes and do a tour of his
  12    island, which I'm sure you guys have
  13    done, you will see multiple buildings
  14    around the island.
  15          Q.       And where were you staying
  16    during this first trip?
  17          A.       I was staying in one of the
  18    guest houses that                       -- the main
  19    guest house that all the girls shared.
  20          Q.       Were you staying in your own
  21    room?
  22          A.       No.
  23          Q.       Who were you sharing a room
  24    with?
  25          A.                       I think
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 145 of 469
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                                                                   Page 144
   1               HIGHLY CONFIDENTIAL AEO
   2    slept in the bungalow; she didn't stay
   3    there per se.          She was explained to be
   4    Jeffrey Epstein's girlfriend at the
   5    time.
   6          Q.       When you were asked to give
   7    Jeffrey a massage on the third
   8    occasion by a female, do you recall
   9    what words were used?
  10          A.       I can't remember the exact
  11    words, no.         But I was -- it was
  12    generally -- it was, can you please go
  13    and give Jeffrey -- it's kind of like
  14    your turn type of thing.
  15          Q.       Did you know where his
  16    bedroom was?
  17          A.       I was shown to his bedroom.
  18          Q.       Who showed you to his
  19    bedroom?
  20          A.       I can't remember who showed
  21    me to his bedroom.
  22          Q.       All right.         Tell me what
  23    happened during the third massage?
  24          A.       So I went into Jeffrey
  25    Epstein's bedroom.             His bedroom is
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 146 of 469
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                                                                   Page 145
   1               HIGHLY CONFIDENTIAL AEO
   2    ice-cold; it's always ice-cold.                    He
   3    likes his bedrooms very well air
   4    conditioned.
   5                   There was a massage table
   6    laid out in his bedroom.                He asked me
   7    to undress and that he wanted to give
   8    me a massage, and he asked me to lay
   9    on the table.          He then started
  10    touching my body.
  11                   I was -- I was -- it didn't
  12    start off as a sexual massage; it was
  13    just -- you know, it was just doing a
  14    normal massage, and then he started to
  15    touch me.        He touched my vaginal
  16    region and he touched me all over.
  17          Q.       Were you draped with a
  18    towel?
  19          A.       No.
  20          Q.       For no part of the massage?
  21          A.       For the -- I can't remember.
  22          Q.       Was anyone else present in
  23    the room?
  24          A.       No.
  25          Q.       And after he started
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 147 of 469
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                                                                      Page 146
   1               HIGHLY CONFIDENTIAL AEO
   2    touching you while you were on the
   3    table, did you give him a massage?
   4          A.       I can't remember the
   5    specific sequence of events, but I
   6    remember the third massage, it wasn't
   7    for Jeffrey; it was for me.                  He
   8    performed the massage on me.
   9          Q.       Did you tell him to stop?
  10          A.       No, I didn't.
  11          Q.       Did you have any sexual
  12    contact with him?
  13          A.       No, he just touched me.                  And
  14    he was touching himself too, so...
  15          Q.       Did you have an orgasm?
  16          A.       I did have an orgasm.               He
  17    used a specific vibrator on me, which
  18    it was quite hard not to.
  19          Q.       Can you describe it?
  20          A.       Yeah.      It's quite big.            It's
  21    not an actual vibrator.                It's really
  22    good; you should get one if you don't.
  23                   THE WITNESS:          Sorry.       I'm
  24          allowed to talk.            Okay.      Sorry.
  25          A.       It's -- I'll -- can I draw
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 148 of 469
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                                                                   Page 147
   1               HIGHLY CONFIDENTIAL AEO
   2    it?     Can I draw it?           I'll draw you the
   3    exact -- I can actually get you -- I
   4    actually own one, so I can get you a
   5    photo of it, you know.               It's also in
   6    the pictures in the dentist chair, in
   7    one of the photos, so...
   8                   It's like this.
   9                   THE WITNESS:          I'm sorry.
  10                   MR. GUIRGUIS:           You're fine.
  11                   MS. MCCAWLEY:           You're fine.
  12          A.       So it's actually a massager
  13    for shoulders.           It's got a long base.
  14    It's got quite a -- it's got like a
  15    rubber white head.
  16                   And, yeah, it was really --
  17    it's not -- it's not used for sexual
  18    purposes.
  19          Q.       It's not?
  20          A.       No, that's what I'm saying.
  21    It's not a vibrator.
  22          Q.       Okay.
  23          A.       It was actually quite
  24    painful for me --
  25          Q.       Okay.
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                                                                   Page 148
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       -- actually.
   3          Q.       Okay.      Did you tell him to
   4    stop?
   5          A.       I told him to stop when
   6    he -- because he pressed the vibrator
   7    head on my clitoris and it was
   8    incredibly painful.              It hurt me.
   9    That's a very sensitive area, and the
  10    strength of this specific device he
  11    used is -- it's not really meant for
  12    that.
  13          Q.       Right.       Did he stop when you
  14    said stop?
  15          A.       No.
  16          Q.       And how long did this
  17    massage --
  18          A.       Until -- until I orgasmed.
  19          Q.       And then what happened?
  20          A.       He just stopped.            And I got
  21    dressed and I left.
  22          Q.       Was there any discussion?
  23          A.       No.
  24          Q.       Did he give you any money?
  25          A.       No.
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                                                                   Page 149
   1               HIGHLY CONFIDENTIAL AEO
   2                   MR. GUIRGUIS:           Can we stop
   3          for a moment?          The witness is
   4          crying.       I think maybe we should
   5          take a moment, have a moment.
   6                   MS. MENNINGER:           Okay.      Mark
   7          that as Defendant's Exhibit 2,
   8          and then we'll take a break for
   9          ten minutes.
  10                   (Defendant's Exhibit 2,
  11          hand-drawn picture, was marked
  12          for identification.)
  13                   (Time noted:          12:07 p.m.)
  14                   (Recess.)
  15                   (Time noted:          12:19 p.m.)
  16          Q.       So you just described for
  17    us, I think, what you recall being the
  18    third massage with Jeffrey?
  19          A.       Yeah.
  20          Q.       Do you recall the next one
  21    after that?
  22          A.       It was -- it was basically
  23    the same.        I was called to give
  24    Jeffrey massages.
  25          Q.       During that first trip to
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 151 of 469
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                                                                   Page 150
   1               HIGHLY CONFIDENTIAL AEO
   2    the island?
   3          A.       During the first trip, yeah.
   4          Q.       Can you approximate how many
   5    massages you gave to him during that
   6    first trip?
   7          A.       I would give him up to maybe
   8    two a day.         The other girls, they had
   9    to also give him massages during that
  10    trip.
  11          Q.       And you don't remember how
  12    many days that trip was?
  13          A.       No, not specifically how
  14    many.      It was a few days.             It was a
  15    few days.
  16          Q.       At some point did the
  17    massages become different than the one
  18    you just described as the third
  19    massage?
  20          A.       It was either Jeffrey lying
  21    on the massage -- me massaging him and
  22    it turning sexual or vice versa.
  23    Pretty much from the third sexual
  24    massage I had with Jeffrey, all other
  25    massages were sexual.
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                                                                   Page 151
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Do you recall who was on the
   3    flight home from the first trip?
   4          A.       I don't recall who was on
   5    the flight home.            I think it was all
   6    the people that were on the first
   7    flight there.
   8          Q.       Did you receive any
   9    compensation from Jeffrey during that
  10    first trip?
  11          A.       I received like $300 or
  12    something.         Not a lot.
  13          Q.       When did you get that?
  14          A.       At the end of the trip.
  15          Q.       How was it given to you?
  16          A.       In cash.
  17          Q.       By whom?
  18          A.       That specific time it was
  19    Jeffrey.
  20          Q.       Where were you when he gave
  21    that you money?
  22          A.       I can't recall where I was
  23    when he gave me the cash.
  24          Q.       Did -- were you still with
  25    the other females that had been on the
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 153 of 469
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                                                                   Page 152
   1               HIGHLY CONFIDENTIAL AEO
   2    plane?
   3          A.       When he gave me the cash?
   4          Q.       Yes.
   5          A.       I can't recall.            I don't
   6    remember if someone was with me.                     But
   7    we all knew that we were going to get
   8    cash.
   9          Q.       Did you see him give cash to
  10    anyone else?
  11          A.       I saw him give cash to
  12
  13          Q.       How much did he give her, if
  14    you know?
  15          A.       I don't know.
  16          Q.       Did you see                     having
  17    any type of sexual relations with
  18    Jeffrey during the trip?
  19          A.       Yes, I did.
  20          Q.       When did you see that?
  21          A.       I didn't see it in the
  22    bedroom, but we were called on, like,
  23    a rotation visit for Jeffrey
  24    throughout the day and evening.
  25          Q.       When did you see
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 154 of 469
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                                                                   Page 153
   1                HIGHLY CONFIDENTIAL AEO
   2    having some type of sexual
   3    relationship with Jeffrey on the
   4    island during the first trip?
   5          A.         I didn't see her perform
   6    sexual acts on Jeffrey.
   7          Q.         Did anyone see you
   8    performing sexual acts on Jeffrey
   9    during the first trip to the island?
  10          A.         No.
  11          Q.         Did you tell any of these
  12    other women about what was going on
  13    during your massages with Jeffrey?
  14          A.         Yes.
  15          Q.         Who did you tell?
  16          A.         All the girls that were
  17    there.
  18          Q.         And, again, that is
  19               and
  20                     MR. GUIRGUIS:         Objection.
  21          Q.         Do you remember?
  22          A.         I can't say specifically if
  23          was there.         I can't remember
  24    being there, so I don't like to bring
  25          into the first trip.
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                                                                    Page 154
   1               HIGHLY CONFIDENTIAL AEO
   2                   I saw her multiple times on
   3    the island, but I can't specifically
   4    place her there on the first trip.                      I
   5    just remember the key people that were
   6    there because they were the most vivid
   7    in my memory.
   8          Q.       Do you know if you took any
   9    pictures during that first trip?
  10          A.       I don't think during that
  11    first trip, no.           We weren't actually
  12    allowed to bring any electronic
  13    devices with us.
  14          Q.       How did you learn that rule?
  15          A.                    told me and the
  16    other girls told me.
  17          Q.       Who are the other girls?
  18          A.
  19          Q.       Did you take a camera to the
  20    island?
  21          A.       Not the first time, no.
  22          Q.       Did you have a digital
  23    camera at the time?
  24          A.       Yes, I did.
  25          Q.       What kind?
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 156 of 469
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                                                                   Page 155
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       I can't remember.
   3          Q.       Did you have a phone with a
   4    camera on it?
   5          A.       I had a BlackBerry, yes,
   6    which you could take photos on.
   7          Q.       All right.         Do you recall
   8    there being any sexual acts performed
   9    on the plane on the ride home during
  10    the first trip?
  11          A.       No.
  12          Q.       Okay.      Do you recall going
  13    down a second time?
  14          A.       To the island?
  15          Q.       Yes.
  16          A.       Yes.
  17          Q.       When did that happen?
  18          A.       Shortly.        I can't remember
  19    specifically when it was, but it
  20    wasn't on -- I don't know the time
  21    length.       I saw Jeffrey and Ghislaine
  22    and the crowd quite a lot in New York
  23    as well, so it's not clear to me when
  24    the second trip was.
  25          Q.       When was the first time you
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 157 of 469
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                                                                   Page 156
   1                 HIGHLY CONFIDENTIAL AEO
   2    met Ghislaine?
   3           A.       I'd been to the island a
   4    couple times before, and then I met
   5    Ghislaine on the island.
   6           Q.       Tell me about your meeting
   7    with her?
   8           A.       I remember being told by
   9    everyone before she arrived who she
  10    was.        And I was pretty much told the
  11    type of person she was and that I had
  12    to do everything she told me to do.
  13           Q.       Who told that you?
  14           A.                                    ,
  15                           Every single girl that
  16    I came in communication with told me
  17    that.
  18           Q.       And what type of person did
  19    they tell you that she was?
  20           A.       She's incredibly
  21    intimidating.          She's not someone you
  22    want to be stuck in an alley at night,
  23    put it that way.            She's a very
  24    dangerous character and has
  25    connections.
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                                                                   Page 157
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       And that was communicated to
   3    you by this group of females:
   4                           and
   5          A.       Yes.
   6          Q.       Anyone else?
   7          A.       I mean, it was a general
   8    conversation amongst the girls about
   9    Ghislaine, so there were other girls
  10    all the time.          So during the duration
  11    of my stay -- so pretty much from
  12    my -- when I first arrived in New
  13    York, my entire time was spent with
  14    Jeffrey and Ghislaine and that crowd.
  15                   So, yeah, it was -- that's
  16    about everything.
  17          Q.       Okay.      So you met --
  18          A.       I met a lot of girls who we
  19    all had the same opinion of Ghislaine;
  20    we were all frightened of her.                    She
  21    had a very odd relationship with
  22    Jeffrey and -- yeah, she's not a
  23    nice -- I'm sorry, I know she's your
  24    client, but she's not -- she's not a
  25    friendly, warm person.
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                                                                   Page 158
   1               HIGHLY CONFIDENTIAL AEO
   2                   I liked her dog, though, her
   3    Yorkshire Terrier.             Her dog was nice.
   4          Q.       You recall meeting her for
   5    the first time on the island?
   6          A.       Yeah.      She flew in by
   7    helicopter.
   8          Q.       And that was after you were
   9    on the island a couple of times?
  10          A.       Yeah.
  11          Q.       Did she fly the helicopter?
  12          A.       I can't remember if she flew
  13    it or not.         I just remember her
  14    getting out -- like getting out of
  15    a -- and going Ghislaine, and I was
  16    like -- I was quite frightened when
  17    she arrived, so...
  18          Q.       Was she alone or with
  19    someone?
  20          A.       I can't remember if she was
  21    with someone.          I just remember the
  22    first time I saw her, I was like, is
  23    that it?       She didn't look that scary
  24    when I first met her.               Looks are
  25    deceiving.
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                                                                   Page 159
   1                HIGHLY CONFIDENTIAL AEO
   2           Q.      So the first time you saw
   3    her, she was getting off of a
   4    helicopter?
   5           A.      Yeah.
   6           Q.      And you don't recall if she
   7    flew the helicopter?
   8           A.      I don't recall if she flew
   9    it herself or if there was a pilot
  10    there.       I just remember she arrived on
  11    a helicopter.
  12           Q.      What's the next thing you
  13    remember about your interactions with
  14    her personally?
  15           A.      She stayed on the island a
  16    few days, and I didn't have a lot of
  17    interaction with            her.     I avoided her,
  18    to be honest.
  19           Q.      Did you take pictures of
  20    her?
  21           A.      No.     We weren't allowed any
  22    digital cameras on the island.
  23           Q.      Have you ever taken a
  24    picture of her?
  25           A.      No.     I didn't really feel
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 161 of 469
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                                                                   Page 160
   1               HIGHLY CONFIDENTIAL AEO
   2    the need to take pictures of Ghislaine
   3    for my photo album.
   4          Q.       Apart from staying away from
   5    her and not having a lot of
   6    interactions, do you recall anything
   7    else about your first interaction with
   8    her on the island?
   9          A.       Yeah.      She was incredibly
  10    unpleasant to me.            She wasn't friendly
  11    or warm.
  12          Q.       What did she say or do?
  13          A.       She was very dismissive.
  14    Just another girl, really.
  15          Q.       Did you ever give her a
  16    massage?
  17          A.       No.
  18          Q.       Did she ever give you a
  19    massage?
  20          A.       She massaged me once or
  21    twice, but it was to -- it was to
  22    refine my technique for Jeffrey.
  23          Q.       This was on the first time
  24    you met her?
  25          A.       Yeah, during that trip
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                                                                   Page 161
   1               HIGHLY CONFIDENTIAL AEO
   2    she -- because Jeffrey, again, he's
   3    quite specific on how he likes his
   4    massages and, yeah, I'm not -- that's
   5    not my forte, massages.
   6          Q.       How did it come about that
   7    she was helping you to refine your
   8    massage techniques?
   9          A.       We were just sitting in the
  10    main area by the big house.                  That's
  11    where we chilled out.               There's a table
  12    there as well.
  13                   And, yeah, we were just
  14    sitting on the sofas, and I think -- I
  15    can't remember if I was giving Jeffrey
  16    a massage, but we were all sitting
  17    together, and I think he was getting
  18    massaged by one girl and we were kind
  19    of taking it in turns.
  20          Q.       Was it sexual?
  21          A.       No, it wasn't sexual.               But
  22    Ghislaine was there, and I wasn't
  23    doing it properly and she showed me
  24    how to massage him and how he liked
  25    it.
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                                                                    Page 162
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       What part of his body did
   3    she show you how to massage?
   4          A.       His feet, his hands.
   5          Q.       Did she say anything to you?
   6          A.       I can't remember
   7    specifically what she said to me.                     She
   8    said a lot of things to me.
   9          Q.       Okay.      Well, tell me what
  10    you remember she said to you.
  11                   MR. GUIRGUIS:           Objection.
  12          When?      Where?      What?      What are we
  13          talking about?
  14          A.       I can't remember
  15    specifically what she said to me.                     All
  16    I know is that she wasn't -- she
  17    wasn't a particularly nice person, to
  18    me or anybody.           So very dictorial
  19    [sic].
  20          Q.       Unlimited by time or
  21    anything, do you recall anything
  22    Ghislaine said to you?
  23                   MR. GUIRGUIS:           Objection.
  24          You're asking her --
  25          A.       It was how to massage
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                                                                   Page 163
   1               HIGHLY CONFIDENTIAL AEO
   2    Jeffrey.
   3                   I remember speaking to her
   4    quite a lot about my FIT application.
   5                   I remember speaking to
   6    Ghislaine about my psychiatrist, about
   7    my weight.         My weight was a big issue.
   8    And, in fact, everything was an issue
   9    with Ghislaine.
  10          Q.       During this first time you
  11    met her, other than discussing
  12    massages, did those other topics come
  13    up?
  14          A.       I can't remember the first
  15    encounter with Ghislaine, but it was
  16    pretty soon after.             Everything
  17    snowballed quite quickly.
  18          Q.       Well, you saw her getting
  19    off the helicopter, correct?
  20          A.       Yeah.
  21          Q.       And you saw her on the
  22    island for a couple days that time,
  23    you said, correct?
  24          A.       Yeah.
  25          Q.       So during that time you saw
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 165 of 469
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                                                                   Page 164
   1               HIGHLY CONFIDENTIAL AEO
   2    her over a couple days, do you
   3    remember any other discussions you had
   4    with her apart from this massage?
   5          A.       We spoke about why I was
   6    there, New York.            I mean, we -- you
   7    know, she got to know me.                 She asked
   8    me a lot of questions about my family
   9    life, my -- I mean, she questioned me
  10    a lot on my personal life.
  11          Q.       Was anyone else present when
  12    you were having these discussions with
  13    Ghislaine?
  14          A.       Yes, everyone.           Everyone
  15    that was --                          , Jeffrey,
  16
  17          Q.       Was there anyone different
  18    on this trip?
  19          A.                 as well.                 was
  20    there.
  21          Q.       Anyone else on this trip?
  22          A.       I can't remember.
  23          Q.       Was                             there?
  24          A.       Not the first time I met
  25    Ghislaine.
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                                                                   Page 165
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Was anyone else there?
   3          A.       I can't remember.
   4          Q.       Anything that would refresh
   5    your memory?
   6          A.       If you could give me the
   7    plane logs or something, or names or
   8    photos.       Ten years, as I said, is an
   9    incredibly long time.               I don't
  10    remember who -- I mean, it was such a
  11    long time for me.
  12                   I came to New York, my
  13    intention was to meet many people,
  14    make new friends, make a new life for
  15    myself.       So I didn't really -- I don't
  16    remember names specifically.
  17          Q.       Do you remember any
  18    descriptions of other people who were
  19    on the island the first time you met
  20    Ghislaine?
  21          A.       They were all beautiful
  22    people.       I just remember being
  23    surrounded by beautiful young people.
  24    They were always girls.                There were
  25    always girls.          You know, girls didn't
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 167 of 469
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                                                                    Page 166
   1               HIGHLY CONFIDENTIAL AEO
   2    even have time to kind of remember
   3    girls' names because there was always
   4    people leaving the island, popping in,
   5    flying in.         So there was a constant
   6    flux of people coming in, popping in
   7    visiting Jeffrey and Ghislaine.
   8          Q.       So the first time you met
   9    Ghislaine, you saw her get off a
  10    helicopter.         She was on the island for
  11    a couple days.
  12                   Any other females you
  13    remember being there on that occasion?
  14                   MS. MCCAWLEY:           Objection,
  15          asked and answered.
  16          A.
  17                  and I can't remember any
  18    others.
  19          Q.       Can you remember any
  20    descriptions of other people who were
  21    there on that occasion?
  22                   MR. GUIRGUIS:           Objection,
  23          asked and answered.
  24          A.       They were just pretty.                They
  25    were just beautiful.
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                                                                   Page 167
   1                HIGHLY CONFIDENTIAL AEO
   2           Q.      Hair color?
   3                   MR. GUIRGUIS:           Objection.
   4           A.      Normal.
   5           Q.      Height?
   6           A.      I don't recall height.
   7           Q.      Any other physical
   8    characteristics at all?
   9                   MR. GUIRGUIS:           Objection.
  10           A.      Just that they were
  11    extremely beautiful.              I've never seen
  12    girls like this.
  13           Q.      Well, you had been a model
  14    in London, right?
  15           A.      Yeah, I have, but, you know,
  16    Jeffrey Epstein, he acquired the
  17    elite, didn't he, you know, him and
  18    Ghislaine.         So they were pretty much
  19    the crème de la crème of the crop, I
  20    would say, the girls that were around
  21    him.
  22           Q.      On this first occasion when
  23    you met Ghislaine and there were
  24    beautiful girls, who you don't recall
  25    what they look like; you recall they
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 169 of 469
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                                                                       Page 168
   1               HIGHLY CONFIDENTIAL AEO
   2    were beautiful?
   3          A.       Yeah, there were beautiful
   4    people constantly surrounded by
   5    Jeffrey Epstein and Ghislaine.                      They
   6    were only surrounded by beautiful
   7    people, beautiful girls.
   8          Q.       But apart from that, you
   9    don't have any other specifics?
  10          A.       I don't recall the
  11    appearance of the other girls.                      I
  12    don't -- as I will say again, there
  13    was a constant stream of people coming
  14    in, going off the island, popping in,
  15    popping out, girls flying in, girls
  16    flying out.         There were girls on the
  17    island that were there shorter time
  18    frames than me and flew out.
  19                   I didn't really -- I hung
  20    out with my crew:                                       They
  21    were -- they were my friends.                   I
  22    thought they were my friends.                   So I
  23    didn't really cozy up to any of the
  24    other girls.
  25                   It's like high school, you
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 170 of 469
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                                                                    Page 169
   1               HIGHLY CONFIDENTIAL AEO
   2    know, you're not friends with
   3    everybody.         You ask me who -- everyone
   4    I went to school with, I don't
   5    remember.        I don't have a clue.              I
   6    don't know who they are.
   7          Q.       Do you have a best friend
   8    from school?
   9                   MR. GUIRGUIS:           Objection.
  10          A.       Several.        Several.        I mean,
  11    who has any best friend at school?
  12    School's school.            We don't make best
  13    friends at school.
  14          Q.       Who is
  15          A.       She was an acquaintance that
  16    I met in New York.
  17          Q.       Where did you meet her?
  18          A.       I think I met her at a bar
  19    or something.
  20          Q.       Was she a friend of yours
  21    during this time period?
  22          A.       She was an acquaintance.                 I
  23    would say friend is -- yeah, I
  24    wouldn't say friend.              I'd say
  25    acquaintance.
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                                                                   Page 170
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       So on this occasion where
   3    you met Ghislaine on the island and
   4    you spoke to her about massage, did
   5    you ever have any other sexual-type
   6    interactions with her?
   7                   MS. MCCAWLEY:           I didn't hear
   8          the end of that.            Did you say
   9          "him"?
  10          Q.       Sexual-type interactions
  11    with her?
  12          A.       With her?
  13          Q.       Ghislaine?
  14          A.       No.
  15          Q.       And do you recall if she
  16    flew with you back on the plane?
  17          A.       I can't remember.
  18          Q.       What's the next time you
  19    went to the island?
  20          A.       Again, I don't remember
  21    specifically.          I went various several
  22    times during the duration.                 So I
  23    remember there was a -- it was several
  24    times.      I can't remember the next time
  25    I went to the island.               I mean, it's...
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                                                                   Page 171
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Was it before you went back
   3    to South Africa to visit?
   4          A.       Yes.
   5          Q.       All the visits to the island
   6    were before that?
   7                   MS. MCCAWLEY:           Objection.
   8          A.       Yeah.
   9          Q.       What's the next time you
  10    remember meeting Ghislaine?
  11          A.       I met her at the office in
  12    New York.
  13          Q.       What's the office?
  14          A.       Jeffrey's office, main
  15    office.
  16          Q.       Where is that?
  17          A.       I don't remember the
  18    location.        It's central.          It's got a
  19    courtyard.         Like when you walk in,
  20    there's like a courtyard.
  21          Q.       What were you doing at
  22    Jeffrey's office in New York?
  23          A.       We were preparing for my
  24    college application.              Jeffrey often
  25    wanted to see just how I was doing, so
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 173 of 469
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                                                                     Page 172
   1               HIGHLY CONFIDENTIAL AEO
   2    I had to regularly pop in to see him
   3    and Ghislaine.           And Ghislaine would
   4    often check how I was doing and blah,
   5    blah, blah, etcetera.
   6          Q.       What were you doing to
   7    prepare for your college application?
   8          A.       I had to write an essay.
   9          Q.       When did you --
  10          A.       Also, I had to do -- like,
  11    you know how you apply for college
  12    applications; you've got your
  13    application forms and such.                  So it was
  14    more admin.
  15          Q.       And you were going to
  16    Jeffrey's office to work on your
  17    forms?
  18          A.       Yes.      And to just say hi.             I
  19    was -- well, I never went on my own
  20    accord.       I was either invited or told
  21    to be there by either Ghislaine or
  22    Jeffrey.       I also went to the offices
  23    on a number of occasions for private
  24    legal matter.
  25          Q.       What's the private legal
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                                                                   Page 173
   1               HIGHLY CONFIDENTIAL AEO
   2    matter?
   3                   MR. GUIRGUIS:           Objection.
   4          I'm going to direct you not to
   5          answer if it's unrelated to this
   6          case.
   7          Q.       Was there an attorney
   8    present?
   9          A.       Yes.
  10          Q.       What was the name of the
  11    attorney who was present?
  12          A.       Alan Dershowitz.
  13          Q.       So I was asking about the
  14    second time you met Ghislaine.                    It was
  15    at Jeffrey's office in New York?
  16          A.       Yes.
  17          Q.       How did you come to be in
  18    Jeffrey's office in New York where you
  19    met Ghislaine the second time?
  20          A.       I was told to be there.
  21          Q.       Who told you to be there?
  22          A.       I think it was Ghislaine.
  23          Q.       How did Ghislaine tell you
  24    to be there?
  25          A.       I can't remember if it was
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 175 of 469
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                                                                   Page 174
   1               HIGHLY CONFIDENTIAL AEO
   2    via telephone call.              I can't remember
   3    the exact communication that she used.
   4    But I was told to regularly be there
   5    when they wanted me there, and just
   6    grabbed a taxi and arrived at the
   7    office.
   8          Q.       Well, I'm asking you about
   9    the second time.
  10                   So you met her on the
  11    island, and the next thing you know,
  12    you have a communication from her in
  13    New York?
  14          A.       Well, she was always with
  15    Jeffrey in his office, so it's like --
  16    okay, so let me explain it.
  17                   So you go to an office and
  18    you see Jeffrey's office there and
  19    Ghislaine -- Ghislaine was always at
  20    Jeffrey's office, so I think she had
  21    her own office there.
  22                   So when you walk in and
  23    you've met people before, you kind of
  24    say hi to everyone.              You know, you
  25    have a little chitchat.
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                                                                   Page 175
   1                 HIGHLY CONFIDENTIAL AEO
   2                    Do you understand?             You
   3    don't -- you don't -- you know, I
   4    chatted with Ghislaine, I chatted with
   5    Jeffrey.        It was a busy office.                I
   6    can't remember specifically what was
   7    said.        It was just a check-in, kind
   8    of.
   9           Q.       So you were going there to
  10    work on your college application, and
  11    you happened to see Ghislaine in the
  12    offices?
  13                    MS. MCCAWLEY:          Objection.
  14           A.       She -- you know, she
  15    participated in the -- you know, a
  16    lot.        She was interested in me.                I
  17    was -- you know, she interacted with
  18    me.
  19           Q.       I know.      I'm trying to
  20    understand when you did this.                   When
  21    was it?
  22           A.       It was the second time, the
  23    first time I went to the office.
  24           Q.       The first time you went to
  25    the office, the second time you met
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                                                                   Page 176
   1               HIGHLY CONFIDENTIAL AEO
   2    Ghislaine?
   3          A.       Yes.
   4          Q.       And when was it relative to
   5    the first time you met Ghislaine?
   6          A.       I can't remember if it was a
   7    couple of weeks later.               I don't
   8    remember the exact time frame of how
   9    many days or weeks there was between
  10    the first trip and the -- when I went
  11    in to the office.
  12          Q.       But you do recall going into
  13    the office to work on your college
  14    application?
  15                   MS. MCCAWLEY:           Objection.
  16          A.       Yes.      Well, I went in a
  17    number of times to the office.                    So,
  18    like, we regularly had to report to
  19    Jeffrey in the office.               It was a -- we
  20    were called all the time there.
  21          Q.       What do you mean, you had to
  22    report there?
  23          A.       Well, Jeffrey liked to check
  24    in with all of us.
  25          Q.       How was it communicated to
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 178 of 469
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                                                                   Page 177
   1               HIGHLY CONFIDENTIAL AEO
   2    you that you needed to report to the
   3    office?
   4          A.       Jeffrey.        I was just told to
   5    be there; I had to be there.
   6          Q.       Who told that you?
   7          A.       Jeffrey and Ghislaine.
   8          Q.       Anyone else?
   9          A.                            and
  10
  11          Q.       How did they communicate it
  12    to you?
  13          A.       By telephonic call.
  14          Q.       To your cell phone?
  15          A.       And BlackBerry, which they
  16    provided me.
  17          Q.       So you did not have a
  18    BlackBerry before you met Jeffrey?
  19          A.       No.
  20          Q.       Then you got a BlackBerry
  21    when you were --
  22          A.       That's correct.
  23          Q.       -- acquainted with him.
  24                   And what happened with the
  25    phone you had before?
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                                                                   Page 178
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       It's got lost through
   3    translation.          I have moved several
   4    times through the years, so...
   5          Q.       So you got messages or phone
   6    calls?
   7          A.       BBMs, phone calls, text
   8    messages.
   9                   All the emails that they
  10    sent me, I think you guys have.                    There
  11    wasn't a lot of email correspondence.
  12    The majority of it was done by phone
  13    call.
  14          Q.       Did you have any emails with
  15    Ghislaine?
  16          A.       No, no email correspondence
  17    with Ghislaine.
  18          Q.       Did you have her phone
  19    number?
  20          A.       I did at the time, yeah.
  21          Q.       Do you remember what it was?
  22          A.       No.
  23          Q.       Do you remember what your
  24    number was?
  25          A.       No.
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 180 of 469
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                                                                   Page 179
   1               HIGHLY CONFIDENTIAL AEO
   2                   MR. GUIRGUIS:           Objection,
   3          asked and answered.
   4          Q.       Tell me about any
   5    conversations you had with Ghislaine
   6    that involved FIT.
   7                   MR. GUIRGUIS:           Objection,
   8          form.
   9          A.       I can't remember the
  10    specific conversation.               There were
  11    many conversations.              I was just
  12    applying -- doing an application form.
  13    And they were trying to get me in.
  14    They -- yeah, I can't remember the
  15    exact -- I think Ghislaine also knew
  16    people there, so they were basically
  17    trying to get me into FIT.
  18          Q.       Well, tell me what you
  19    recall Ghislaine saying versus they?
  20          A.       I can't remember
  21    specifically the conversation, so I
  22    would not like to speculate.                   But I
  23    will give you the overall conversation
  24    was regarding my FIT application, but
  25    I cannot remember the specific content
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                                                                   Page 180
   1               HIGHLY CONFIDENTIAL AEO
   2    or the specific words used.
   3                   But it was surrounding my
   4    FIT application and an essay I had to
   5    write, and they both proofread my FIT
   6    application as well.
   7          Q.       And did they both read your
   8    essay?
   9          A.       Yes, they did.
  10          Q.       When did you write that
  11    essay?
  12          A.       I can't remember.
  13          Q.       Before you went to South
  14    Africa?
  15          A.       Yes.
  16          Q.       Do you know what the
  17    application deadline was?
  18          A.       I don't know.           I don't know.
  19    I can't remember.
  20          Q.       When did you meet Alan
  21    Dershowitz?
  22          A.       I don't remember the
  23    specific date.           It was a few months
  24    after I had been here in New York.
  25          Q.       Was it after you had gone to
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 182 of 469
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                                                                   Page 181
   1               HIGHLY CONFIDENTIAL AEO
   2    the island?
   3          A.       Yes.
   4          Q.       Do you know what time of
   5    year?
   6          A.       I mean, I think it was
   7    before winter.
   8          Q.       Well, you were here in the
   9    fall.
  10          A.       Yeah.
  11          Q.       And you left in the winter?
  12          A.       Yeah.      I left in May.
  13          Q.       So did you meet him before
  14    you went to South Africa?
  15          A.       Yes.
  16          Q.       Well, let's be clear.               You
  17    were here until you went to South
  18    Africa, and you left for a while and
  19    then you came back, right?
  20          A.       Mm-hmm.
  21          Q.       How long were you gone?
  22          A.       I think about three -- about
  23    three weeks.
  24          Q.       So you met him before you
  25    went to South Africa?
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                                                                   Page 182
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       Yes.
   3          Q.       And tell me about when you
   4    met Alan.
   5          A.       I first met Alan at the
   6    offices.
   7          Q.       And tell me what happened.
   8          A.       I can't really tell you what
   9    happened, because it's about a legal
  10    matter.
  11          Q.       Was he your lawyer?
  12          A.       He was going to be assigned
  13    to be my lawyer.
  14          Q.       Assigned to be your lawyer?
  15          A.       Through Jeffrey's
  16    instruction.
  17          Q.       Okay.      Was he your lawyer?
  18                   MS. MCCAWLEY:           Objection,
  19          asked and answered.
  20                   MS. MENNINGER:           I don't know
  21          if there's a privilege.
  22                   MR. GUIRGUIS:           There's a
  23          privilege whether he was retained
  24          or not, right?           I mean, if you're
  25          at a cocktail party and you speak
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                                                                   Page 183
   1               HIGHLY CONFIDENTIAL AEO
   2          to a lawyer, you know that
   3          conversation is privileged.
   4          So...
   5                   MS. MENNINGER:           Well, I
   6          don't, actually.
   7                   MR. GUIRGUIS:           You're free
   8          to research it.
   9                   MS. MENNINGER:           I will ask
  10          questions, then, to try to
  11          establish whether or not there's
  12          a good-faith basis.
  13          Q.       Did you approach Alan
  14    Dershowitz for the purpose of seeking
  15    legal advice?
  16          A.       I was introduced to Alan.
  17          Q.       By whom?
  18          A.       Jeffrey Epstein.
  19          Q.       On what day?
  20          A.       I don't recall what day.
  21          Q.       Was it related to some event
  22    that had occurred just before that?
  23          A.       Yes, that's correct.
  24          Q.       Were you in touch with any
  25    law enforcement authorities?
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                                                                     Page 184
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       No.
   3          Q.       Hmm?
   4          A.       No.
   5          Q.       Was Jeffrey Epstein in the
   6    room when you were speaking with Alan
   7    Dershowitz?
   8          A.       Yes.
   9          Q.       Did Jeffrey Epstein overhear
  10    your conversation with Alan
  11    Dershowitz?
  12          A.       Yes.
  13          Q.       What did you talk about with
  14    Alan Dershowitz?
  15                   MR. GUIRGUIS:           Objection.
  16          A.       It --
  17                   MR. GUIRGUIS:           Objection.        I
  18          direct the witness not to answer.
  19                   MS. MENNINGER:           A third
  20          party was in the room; you've
  21          heard that, Counsel.              And you
  22          know that means that's a waiver.
  23                   MS. MCCAWLEY:           No.     I mean,
  24          they would have been involved --
  25          we don't know what the situation
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 186 of 469
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                                                                   Page 185
   1                HIGHLY CONFIDENTIAL AEO
   2          is.     They could have been
   3          involved together.             There could
   4          be a number of reasons why
   5          Jeffrey had some sort of common
   6          interest with her with that.
   7          Q.       Did you sign a common
   8    interest agreement with Jeffrey?
   9                   MR. GUIRGUIS:           Objection.
  10          Do not answer.
  11                   MS. MENNINGER:           Whether she
  12          had a common interest agreement
  13          with Jeffrey, you're instructing
  14          her not to answer; is that right,
  15          Counsel?
  16                   MR. GUIRGUIS:           Do you have
  17          realtime in front of you,
  18          Counsel?
  19                   MS. MENNINGER:           I don't.
  20                   MR. GUIRGUIS:           You don't?
  21          You can borrow mine.
  22                   MS. MENNINGER:           I don't want
  23          it.     Thank you.
  24                   MR. GUIRGUIS:           Okay.
  25          Q.       Anyone else in the room when
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 187 of 469
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                                                                   Page 186
   1               HIGHLY CONFIDENTIAL AEO
   2    you spoke with Mr. Dershowitz?
   3          A.       No.
   4          Q.       Describe Mr. Dershowitz for
   5    me.
   6          A.       He -- old age; white, pasty
   7    skin; not very attractive.                 Wears
   8    glasses.       Bit of an ugly man, really.
   9          Q.       Did he have any facial hair?
  10          A.       I can't recall at that time,
  11    no.
  12          Q.       Mustache?
  13          A.       I can't remember.
  14          Q.       Beard?
  15          A.       I can't remember.
  16          Q.       You can't remember if he had
  17    a mustache or a beard?
  18                   MR. GUIRGUIS:           Objection,
  19          asked and answered.
  20                   MS. MCCAWLEY:           Objection.
  21          A.       I don't recall seeing a
  22    massage -- sorry, a mustache on Alan
  23    Dershowitz.          I don't recall a massive
  24    amount of facial hair.               I recall Alan
  25    Dershowitz.          Whether he had stubble or
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 188 of 469
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                                                                   Page 187
   1               HIGHLY CONFIDENTIAL AEO
   2    not, I'm -- yeah, it's -- he didn't
   3    have a beard, I don't think.
   4          Q.       All right.         Did you sign an
   5    affidavit that you submitted in this
   6    case?
   7          A.       Yes.
   8          Q.       Did you make the allegation
   9    in your declaration that you had a
  10    sexual relationship with Alan
  11    Dershowitz?
  12          A.       Yes, I absolutely did.
  13          Q.       When did you have sex with
  14    Alan Dershowitz?
  15          A.       I can't remember the exact
  16    time, but it was in Jeffrey's New York
  17    apartment.
  18          Q.       Where in the apartment?
  19          A.       It was in a bathroom.               I
  20    can't remember.
  21          Q.       Was it before or after you
  22    had this conversation that you won't
  23    describe?
  24          A.       It was after.
  25          Q.       So do you recall what month
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 189 of 469
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                                                                   Page 188
   1               HIGHLY CONFIDENTIAL AEO
   2    that was?        Before you went to South
   3    Africa or after you went to South
   4    Africa?
   5          A.       I can't remember.
   6          Q.       How long did you speak to
   7    Alan Dershowitz during your first
   8    meeting with him?
   9          A.       Until I was finished
  10    explaining what my legal matter was.
  11          Q.       Did he believe you to be --
  12    did he believe that he was your lawyer
  13    during that conversation?
  14                   MR. GUIRGUIS:           Objection.
  15                   MS. MCCAWLEY:           Objection.
  16                   MR. POTTINGER:           Please.
  17                   MR. PAGLIUCA:           All right,
  18          guys.      You know, let's just do
  19          the deposition here without the
  20          chorus over there.
  21                   MR. GUIRGUIS:           And without
  22          the speeches as well.
  23                   We agree, let's carry on
  24          without asking ridiculous
  25          questions about what other
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                                                                   Page 189
   1               HIGHLY CONFIDENTIAL AEO
   2          people's mental state was.                  I
   3          think that's a good idea.                 Let's
   4          carry on.
   5                   Counsel?
   6          Q.       Did you ever sign a fee
   7    agreement with Alan Dershowitz?
   8          A.       No.
   9          Q.       Did you ever appear in court
  10    with Alan Dershowitz?
  11          A.       No.
  12          Q.       Did you ever appear in court
  13    yourself?
  14          A.       No.
  15          Q.       Did you ever have any
  16    contact with any law enforcement
  17    officers while you were in New York?
  18          A.       No.
  19          Q.       Any police?
  20          A.       No.
  21          Q.       After you left that meeting
  22    with Alan Dershowitz, when did you see
  23    him next?
  24          A.       I can't remember.             I think
  25    it was at dinner.            There was a dinner,
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 191 of 469
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                                                                   Page 190
   1               HIGHLY CONFIDENTIAL AEO
   2    yeah.
   3          Q.       And do you know whether the
   4    dinner was before or after you went to
   5    South Africa?
   6          A.       I can't remember the
   7    specific time period, so I don't
   8    remember if it was before or after.
   9    But it was --
  10          Q.       Where was the dinner?
  11          A.       It was in a restaurant in
  12    New York.
  13          Q.       What restaurant?
  14          A.       I can't remember.
  15          Q.       Who else was there?
  16          A.       I remember Alan, Jeffrey,
  17    myself.       And I can't remember if
  18    others -- if there were other people
  19    there.
  20          Q.       What type of restaurant was
  21    it?
  22          A.       It was a nice restaurant.
  23          Q.       Do you remember the type of
  24    cuisine?
  25          A.       No.
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 192 of 469
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                                                                   Page 191
   1                HIGHLY CONFIDENTIAL AEO
   2          Q.       When was the next time --
   3    what do you remember discussing that
   4    dinner?
   5          A.       The legal matter I had.
   6          Q.       Did you consider him to be
   7    your lawyer at that dinner?
   8          A.       Yes, I did.
   9          Q.       What's the next time that
  10    you saw Alan Dershowitz?
  11          A.       At Jeffrey's New York
  12    mansion.
  13          Q.       When was that?
  14          A.       It was after the second time
  15    I had met Alan.
  16          Q.       Had you been to South
  17    Africa?
  18          A.       I can't remember.
  19          Q.       Tell me what happened during
  20    that encounter.
  21          A.       I walked in the room -- I
  22    walked in the house.              Jeffrey and
  23               and Alan were there.
  24          Q.       What happened after you
  25    walked in the house?
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 193 of 469
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                                                                   Page 192
   1                HIGHLY CONFIDENTIAL AEO
   2          A.       I -- it was really strange,
   3    because               didn't like me.           And so
   4    when I arrived, we had -- I think -- I
   5    can't remember if I had, like, water
   6    or whatever.
   7                             took me upstairs.            I
   8    remember there was a room.                 I didn't
   9    quite understand what was going on at
  10    the time.        I knew obviously something
  11    was going on, because I never met
  12               socially.
  13                   So            started undressing
  14    me in the room.           She started
  15    undressing me by the bed.                 We got on
  16    the bed.       I kind of knew what was
  17    going on from that.              The girls were
  18    often forced to have sex with each
  19    other for Jeffrey's pleasure, so it
  20    was just another occasion, I guess.
  21                   Jeffrey then walked in the
  22    room.       He started masturbating under
  23    his clothes.          He put his hand in his
  24    trousers.        A few minutes later Alan
  25    walked in the room.              He started
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 194 of 469
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                                                                   Page 193
   1                HIGHLY CONFIDENTIAL AEO
   2    undressing, he got on the bed with
   3               and myself, and we basically had
   4    a three-way sexual interaction.
   5          Q.       Was Alan fully unclothed?
   6          A.       During -- when?            At what
   7    specific -- he walked in with clothes.
   8          Q.       And he got fully undressed?
   9          A.       Yes.
  10          Q.       So you saw his entire naked
  11    body?
  12          A.       Yes.
  13          Q.       Did you notice anything
  14    specific about his body?
  15          A.       Not that I recall.              I mean
  16    -- yeah, not that I -- I can't really
  17    remember.        It was quite a -- it was
  18    a -- it wasn't a pleasant experience.
  19          Q.       What did you do with Alan?
  20          A.       I gave him oral sex,
  21    masturbated him.
  22          Q.       Anything else?
  23          A.       He did the same with
  24    He performed the same on me.
  25          Q.       Did he ejaculate?
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                                                                   Page 194
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       He did, yeah.
   3          Q.       In your mouth?
   4          A.       No.
   5          Q.       Did you have intercourse
   6    with him?
   7          A.       No, not penetration, no.
   8          Q.       Did you see him ejaculate
   9    more than once?
  10          A.       No, I didn't see him
  11    ejaculate more than once.
  12          Q.       You didn't notice any scars?
  13                   MS. MCCAWLEY:           Objection.
  14          A.       I don't recall specific
  15    markings on every man I've been with
  16    body.      So it's not something -- I
  17    wasn't ravishing Alan's body.                   I was
  18    trying to close my eyes and just get
  19    it done so I could go home and watch
  20    TV, really.          So I wasn't really aware.
  21                   I didn't really like kind of
  22    go, woo, his body.             I don't -- I don't
  23    recall his body at all.                Like, I don't
  24    make a mental note of every man's body
  25    I've slept with.
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                                                                   Page 195
   1                HIGHLY CONFIDENTIAL AEO
   2          Q.       Other than Jeffrey, is that
   3    the first time you had sex with
   4    another man in his home or on his
   5    property?
   6          A.       Sorry, can you just repeat
   7    the question.
   8                   MR. GUIRGUIS:           Or rephrase
   9          it.
  10                   THE WITNESS:          I'll just read
  11          it.
  12                   MR. GUIRGUIS:           If you
  13          understand it.
  14          A.       Yeah, he was the only
  15    person, Alan Dershowitz.
  16          Q.       Did you have sex with him
  17    more than once?
  18          A.       No.
  19          Q.       At the occasion you just
  20    described, did he have an erection?
  21          A.       It was -- it was -- it
  22    wasn't particularly hard.                 It was
  23    pretty disappointing.
  24          Q.       And where did he ejaculate?
  25          A.       I had given him oral sex
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 197 of 469
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                                                                   Page 196
   1               HIGHLY CONFIDENTIAL AEO
   2    and, well, he ejaculated -- he
   3    ejaculated.         I mean, there's only so
   4    many places a man can ejaculate.                     He
   5    didn't ejaculate on me.
   6                   He didn't ejaculate in my
   7    mouth.      I gave him oral and I
   8    masturbated him and finished him off.
   9    He ejaculated over himself, me.
  10    Just -- there wasn't a lot of
  11    ejaculation.          I don't remember a lot
  12    of sperm.        I didn't see massive
  13    amounts of semen.            But I just remember
  14    him ejaculating, but it wasn't in my
  15    mouth.
  16          Q.       And in terms of time frame,
  17    the best you can say is this is after
  18    you had been to the island a few
  19    times?
  20          A.       That's correct.
  21          Q.       And you don't remember if it
  22    was before or after you went to South
  23    Africa?
  24          A.       I can't remember
  25    specifically, no.
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                                                                   Page 197
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Did you see Alan Dershowitz
   3    again after that one occasion?
   4          A.       No.
   5          Q.       So you saw him at the
   6    office, you say saw him at dinner, and
   7    you saw him that one time in the
   8    bedroom at Jeffrey's house?
   9          A.       That's correct.
  10                   MS. MENNINGER:           It's 1:00.
  11          I think we should take a small
  12          lunch break.
  13                   (Time noted:          1:01 p.m.)
  14                   (Luncheon recess.)
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
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                                                                   Page 198
   1               HIGHLY CONFIDENTIAL AEO
   2            A F T E R N O O N            S E S S I O N
   3                   (Time noted:          1:54 p.m.)
   4                   MR. GUIRGUIS:           Counsel,
   5          before you commence with your
   6          questioning, I think there's one
   7          issue from this morning that the
   8          witness wants to correct herself
   9          on, so just let her do that now.
  10                   THE WITNESS:          I said earlier
  11          that I would just like to correct
  12          that my lawyers are paying for --
  13          they are covering my hotel
  14          expense.
  15                   MS. MENNINGER:           Thank you
  16          for that clarification.
  17                   THE WITNESS:          And --
  18                   MR. GUIRGUIS:           Go ahead.
  19                   THE WITNESS:          And my flight.
  20                   MS. MENNINGER:           Thank you.
  21                   SARAH RANSOME, RESUMED,
  22          having been previously and duly
  23          sworn, was examined and testified
  24          further, as follows:
  25                   CONTINUED EXAMINATION
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 200 of 469
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                                                                   Page 199
   1               HIGHLY CONFIDENTIAL AEO
   2                   BY MS. MENNINGER:
   3          Q.       Going back to your first
   4    conversation with Alan Dershowitz, at
   5    any point in that conversation, had
   6    Mr. Dershowitz agreed to act as your
   7    lawyer?
   8          A.       Yes.
   9          Q.       Did he do anything in terms
  10    of contacting anyone on your behalf?
  11                   MR. GUIRGUIS:           Objection.
  12                   Do not answer.
  13          Q.       What was the specific legal
  14    matter that you were seeking
  15    representation for?
  16                   MS. MCCAWLEY:           Objection.
  17                   MR. GUIRGUIS:           Objection.
  18                   Do not answer.
  19          Q.       What did you understand the
  20    purpose of Jeffrey Epstein being in
  21    the room for during that conversation?
  22          A.       Jeffrey was there to support
  23    me and Jeffrey was looking after me.
  24          Q.       When you engaged in sexual
  25    conduct with Alan Dershowitz, did you
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 201 of 469
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                                                                   Page 200
   1               HIGHLY CONFIDENTIAL AEO
   2    see any evidence on his body of his
   3    surgical procedure?
   4          A.       I don't recall seeing
   5    anything.        I can't remember.
   6          Q.       Did you see any bandages?
   7          A.       I can't remember.
   8          Q.       Did you see him bleed
   9    through his penis?
  10          A.       Not that I recall.
  11          Q.       Do you recall seeing
  12    Mr. Dershowitz bleed through his
  13    penis?
  14                   MS. MCCAWLEY:           Objection,
  15          asked and answered.
  16          A.       Not that I recall.
  17          Q.       When you were on the island,
  18    sometime less than ten times, you
  19    think, did you ever use any drugs?
  20          A.       No.
  21          Q.       Did you use cocaine?
  22          A.       No.
  23          Q.       Did you ever get thrown off
  24    the island for using cocaine?
  25          A.       No.
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 202 of 469
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                                                                   Page 201
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Did you drink alcohol?
   3          A.       No.
   4          Q.       None?
   5          A.       During on the island,
   6    whenever I was around Jeffrey,
   7    absolutely not.
   8          Q.       Other than going to the
   9    island, did you travel with Jeffrey
  10    anywhere else?
  11          A.       No.
  12          Q.       Did you ever travel anywhere
  13    with Ghislaine Maxwell?
  14          A.       No.
  15          Q.       Did you ever fly on an
  16    airplane with Ghislaine Maxwell?
  17          A.       I don't -- I don't remember.
  18          Q.       You don't remember any time
  19    you flew on a plane with Ghislaine
  20    Maxwell?
  21          A.       No, I don't remember.               There
  22    were always many people on the plane.
  23          Q.       When you refer to the plane,
  24    you're referring to a private plane?
  25          A.       Jeffrey's plane, yes.
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                                                                   Page 202
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Did you travel on more than
   3    one plane of Jeffrey's?
   4          A.       Not that I -- no, I don't
   5    remember.        I don't remember.
   6          Q.       Can you visualize in your
   7    head any other layout of a different
   8    type of plane than the one you drew in
   9    Defendant's Exhibit 1?
  10          A.       No.
  11          Q.       Why did you go to South
  12    Africa in early 2007?
  13          A.       To visit my family.
  14          Q.       And which family members did
  15    you visit?
  16          A.       My father and my stepmother.
  17          Q.       Anyone else?
  18          A.       No.
  19          Q.       Any siblings?
  20          A.       My younger brother and
  21    sister lived with my parents; my dad
  22    and my stepmom and their two younger
  23    children.
  24          Q.       Did you see any school
  25    friends there?
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                                                                   Page 203
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       No.
   3          Q.       Who paid for your plane
   4    ticket to go to South Africa?
   5          A.       Jeffrey did.
   6          Q.       How did that come about?
   7          A.       I wanted to see my family,
   8    and he funded the plane ticket because
   9    he was funding everything else at that
  10    time.
  11          Q.       What else was he funding at
  12    that time?
  13          A.       Accommodation, travel,
  14    taxis, food, my prescription that I
  15    had to pay for, for the prescription
  16    that -- prescription drugs.
  17          Q.       Had you taken any
  18    prescriptions for mental health
  19    disorders before October 2006?
  20          A.       No.
  21          Q.       Have you taken any since May
  22    of 2007?
  23          A.       Yes, I have.
  24          Q.       Which ones?
  25          A.       Paroxetine.
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                                                                   Page 204
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Anything else?
   3                   MS. MCCAWLEY:           I'm going to
   4          object.       There's no time frame on
   5          this.      You're talking about one
   6          year?      All the years from 2007 to
   7          2015?      Which I would say is
   8          inappropriate for a nonparty
   9          witness to talk about her -- if
  10          you're talking generally about
  11          prescriptions.
  12
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                                                                   Page 205
   1               HIGHLY CONFIDENTIAL AEO
   2




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                                                                   Page 206
   1               HIGHLY CONFIDENTIAL AEO
   2




  19
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                                                                   Page 207
   1                 HIGHLY CONFIDENTIAL AEO
   2    I had been prescribed were incorrect.
   3           Q.       Those are the ones you
   4    mentioned earlier in your testimony?
   5           A.       Yeah.     I had to stop and
   6    change medication, because I was first
   7    started on lithium.              The lithium made
   8    me put on weight at quite a rapid
   9    rate, so I was put on so many
  10    different types of medication because
  11    I didn't -- not every one agrees with
  12    you.        Weight was a massive issue for
  13    Ghislaine and Jeffrey, so the lithium
  14    just didn't work for me.                I mean, I
  15    put on weight quite quickly.
  16           Q.       What did Ghislaine Maxwell
  17    say to you about weight?
  18           A.       Well, what did she not say?
  19    She bullied me massively about my
  20    weight.
  21           Q.       What did see say?
  22           A.       I was told that I would lose
  23    Jeffrey's financing if I didn't lose
  24    weight, and I would not -- they would
  25    not help me get into FIT.
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                                                                   Page 208
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Who were you told that by?
   3          A.       Ghislaine and Jeffrey.
   4          Q.       In the same conversation?
   5          A.       Various conversations.
   6          Q.       Tell me your conversations
   7    with Ghislaine.           When did she say that
   8    to you?
   9          A.       On the island.
  10          Q.       Before you went to South
  11    Africa?
  12          A.       Yes.
  13          Q.       And was that in person?
  14          A.       Yes.
  15          Q.       Who else was present?
  16          A.                                     , a girl
  17    named               and a girl named
  18    Sorry, I just remembered a name.                     A
  19    girl named                  and a girl named
  20
  21          Q.       So they were all present
  22    when you had a discussion with
  23    Ghislaine about your weight on the
  24    island?
  25          A.       Yes.
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                                                                   Page 209
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       And what did Ghislaine say
   3    to you about your weight when you were
   4    on the island in front of all these
   5    people?
   6          A.       I can't remember the
   7    specific conversation, how it went.
   8    We got into an argument about my
   9    weight, quite a heated argument.
  10          Q.       What do you recall about the
  11    argument?
  12          A.       I recall it got so heated
  13    that I ran off and tried to swim off
  14    the island.         I wanted to get as far
  15    away from Jeffrey and Ghislaine as
  16    possible.
  17          Q.       Okay.      And then what
  18    happened?
  19          A.       I left the main house.                I
  20    took -- there's like a buggy thing.
  21    It was evening.           I drove to a
  22    particular spot on the island.                    It was
  23    -- so Jeffrey's island is quite rocky
  24    around the edges, so -- and it's not
  25    really -- you can't just go into the
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 211 of 469
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                                                                   Page 210
   1               HIGHLY CONFIDENTIAL AEO
   2    water.      It was quite steep.              And,
   3    well, I didn't really know how to swim
   4    away.      I didn't know how to escape.
   5    But I wanted to, at that precise
   6    moment, get as far as away from him as
   7    possible.
   8          Q.       So you had a heated argument
   9    about your weight with Ghislaine?
  10          A.       Ghislaine and Jeffrey.
  11          Q.       They were both there?
  12          A.       Yes.
  13          Q.       And do you remember anything
  14    that was said during that argument?
  15          A.       It was basically an
  16    ultimatum that I either lose weight
  17    or -- or that's it.
  18                   THE WITNESS:          Sorry, can I
  19          -- sorry.        I need to get a
  20          headache tablet, if you don't
  21          mind.
  22                   MS. MENNINGER:           Go off the
  23          record for a second.
  24                   (An off-the-record
  25          discussion was held.)
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                                                                   Page 211
   1               HIGHLY CONFIDENTIAL AEO
   2                   MS. MENNINGER:           Go back on.
   3          Q.       You were given an ultimatum
   4    to lose weight or what?
   5          A.       They wouldn't help me to get
   6    into FIT, and that my time with
   7    Jeffrey would be -- would end.
   8          Q.       Who said what?
   9          A.       Well, they both -- they both
  10    said it in so many words.                 I can't
  11    remember the exact conversation.                      I
  12    remember it being heated.                 I remember
  13    them giving me the ultimatum.                   I think
  14    a few curse words were shared.                    I
  15    can't -- it was a very heated
  16    conversation.          I can't remember the
  17    exact words.
  18          Q.       Was                there?
  19          A.       No, I don't recall her being
  20    there.
  21          Q.       Were you taking the
  22    medications that you talked about
  23    earlier during this time period?
  24          A.       Yes.
  25          Q.       Had you put on weight since
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                                                                   Page 212
   1               HIGHLY CONFIDENTIAL AEO
   2    taking those medications?
   3          A.       Yes, I had.          And I had also
   4    put on weight because I wasn't allowed
   5    to smoke any cigarettes at all, with
   6    Jeffrey on the island or anywhere near
   7    Jeffrey.       Jeffrey wasn't allowed to
   8    know that we smoked.
   9                   So I put on also a lot of
  10    weight as well, in conjunction with
  11    the lithium.          So yeah.
  12          Q.       How did the topic of your
  13    weight come up?
  14          A.       Well, I wasn't as skinny as
  15    the other girls, and Jeffrey liked his
  16    girls very thin.
  17          Q.       Were you interested in
  18    modeling at that point in time?
  19          A.       I was doing freelance
  20    modeling at the time, but I mean, I
  21    wasn't exactly going to be a Kate
  22    Moss.      And the modeling agency thought
  23    I wasn't petite enough for them
  24    either.
  25                   I would like to clarify I
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 214 of 469
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                                                                   Page 213
   1               HIGHLY CONFIDENTIAL AEO
   2    wasn't actually fat; I was normal
   3    weight, by the way, just to make that
   4    clear.      I am 64, 65 kilograms at that
   5    time.
   6          Q.       Why did you understand that
   7    Jeffrey and Ghislaine wanted you to
   8    lose weight?
   9          A.       I was one of the girls that
  10    Jeffrey had sexual encounters with
  11    regularly.         He liked his girls thin.
  12          Q.       Did you ask Jeffrey to help
  13    you become a model?
  14          A.       No.     I wanted to get a
  15    degree and an education.
  16          Q.       So you were not attempting
  17    to become a model at that point in
  18    time?
  19          A.       No.     I wanted to get an
  20    education as opposed to being a model.
  21          Q.       Did you talk to
  22               about becoming a model?
  23          A.       I -- as I was freelancing
  24    during that time, or trying to get
  25    freelancing work, Jeffrey kept us on a
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                                                                   Page 214
   1               HIGHLY CONFIDENTIAL AEO
   2    little string with his massage
   3    payments, so I wanted to earn a
   4    separate income while I was doing my
   5    education to fund my living expenses.
   6    So, you know, I wanted to potentially
   7    increase my jobs.
   8                   But no, my job was not to be
   9    a high-fashion model.               I wanted to get
  10    my degree, get my education and work
  11    in the fashion industry.
  12          Q.       You had worked as a model
  13    during college earlier, correct?
  14          A.       Yes.
  15          Q.       And you saved up money from
  16    that job, correct?
  17          A.       Yes.
  18          Q.       And you had used that money
  19    to fly to New York at some point,
  20    correct?
  21          A.       Yes.
  22          Q.       And what you're saying now
  23    is you would also potentially do
  24    modeling while you were studying in
  25    the future?
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 216 of 469
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                                                                    Page 215
   1               HIGHLY CONFIDENTIAL AEO
   2                   MR. GUIRGUIS:           Objection.
   3          That's not at all what she's
   4          saying.
   5          A.       As in future, as in would I
   6    do modeling now?
   7          Q.       No.     I'll rephrase the
   8    question.
   9          A.       Please.
  10                   MS. MENNINGER:           Let's take a
  11          break, go off the record.                 And
  12          when you finish the salad, we'll
  13          proceed.
  14                   (Time noted:          2:14 p.m.)
  15                   (Recess.)
  16                   (Time noted:          2:15 p.m.)
  17                   MS. MENNINGER:           Go back on
  18          the record.
  19          Q.       At the time you were having
  20    a discussion with Jeffrey and
  21    Ghislaine about your weight when you
  22    were on the island, did you have any
  23    intention of being a model at that
  24    time?
  25          A.       I was a freelance model.                 I
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 217 of 469
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                                                                   Page 216
   1                HIGHLY CONFIDENTIAL AEO
   2    wanted to increase my workload to help
   3    fund my living expenses.                So it was
   4    not my intention to be a full-time
   5    model, because I quite clearly applied
   6    to a college to get an education that
   7    I was promised by Jeffrey Epstein.
   8           Q.      Between January of 2007 and
   9    today, have you worked as a model?
  10           A.      No.
  11           Q.      When you left for South
  12    Africa, did you have a ticket to
  13    return to the U.S.?
  14           A.      At that time, a return
  15    ticket hadn't been booked by Jeffrey
  16    yet.
  17           Q.      You traveled to South Africa
  18    to visit your family without a return
  19    ticket?
  20           A.      Yes.
  21           Q.      Did anyone travel with you
  22    to South Africa?
  23           A.      No.
  24           Q.      Your mother was not in South
  25    Africa when you went to South Africa
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 218 of 469
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                                                                     Page 217
   1               HIGHLY CONFIDENTIAL AEO
   2    on that occasion in 2007, correct?
   3          A.       Correct.
   4          Q.       What did you do while you
   5    were in South Africa in February of
   6    2007?
   7          A.       Spend time with my family.
   8          Q.       Anything else?
   9          A.       I spent time with my family,
  10    that's -- that's it.
  11          Q.       Did you visit any modeling
  12    agencies?
  13          A.       Yes, I did visit some
  14    modeling agencies.
  15          Q.       Which modeling agencies did
  16    you visit?
  17          A.       I can't remember the exact
  18    names.      The modeling agencies were on
  19    Long Street in Cape Town.                 I visited
  20    several modeling agencies on Long
  21    Street, and Bree Street as well.                      Bree
  22    Street and Long Street and a few
  23    others in central Cape Town.                   So I
  24    visited a few, actually.
  25          Q.       Had you worked with any of
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                                                                   Page 218
   1               HIGHLY CONFIDENTIAL AEO
   2    those modeling agencies in the past?
   3          A.       No.
   4          Q.       Did you have any connections
   5    with any of those modeling agencies?
   6          A.       No.
   7          Q.       Did you have an agent at
   8    that time?
   9          A.       No.
  10          Q.       What did you do when you
  11    visited the modeling agencies in Cape
  12    Town in February of 2007?
  13          A.       I was requested to look for
  14    a PA for Mr. Epstein.
  15          Q.       What does that mean?
  16          A.       It means that he told me he
  17    would pay me a certain amount of money
  18    to find him a PA in South Africa.
  19          Q.       What do you understand the
  20    initials PA to stand for?
  21          A.       Personal assistant.
  22          Q.       What are the job
  23    responsibilities of a personal
  24    assistant?
  25          A.       To book flights, type, do
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 220 of 469
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                                                                   Page 219
   1               HIGHLY CONFIDENTIAL AEO
   2    faxes.      Basically a PA is your -- a
   3    CEO's right-hand man of, you know,
   4    company's -- anything business-wise.
   5    They do everything, really, for that
   6    person.
   7          Q.       When did Jeffrey ask you to
   8    find him a PA while in South Africa?
   9          A.       Before I went.
  10          Q.       Did you agree to do that?
  11          A.       Yes.
  12          Q.       And you did go to the
  13    modeling agencies?
  14          A.       I told Jeffrey I did, but I
  15    actually -- I went to a couple and
  16    then I just -- it wasn't right.                    My
  17    gut instinct was -- yeah.
  18          Q.       What happened when you went
  19    inside the modeling agencies in Cape
  20    Town?
  21          A.       I was humiliated.             I was
  22    completely embarrassed.                I couldn't
  23    even ask them what Jeffrey was
  24    wanting.       I mean, it was so absolutely
  25    ridiculous, his request of me finding
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 221 of 469
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                                                                   Page 220
   1               HIGHLY CONFIDENTIAL AEO
   2    him a PA.
   3          Q.       So what happened?
   4          A.       So I -- I asked if they had
   5    any girls that would want to travel;
   6    they would be put up in accommodation
   7    and they would be a PA.
   8                   And when I actually spoke to
   9    the modeling agencies, they actually
  10    laughed at me, because it was quite
  11    ridiculous that a young 22-year-old
  12    was asking a modeling agencies for a
  13    18-year-old PA for a multi-billionaire
  14    who had several already.
  15          Q.       So you recall a conversation
  16    where the person you were speaking to
  17    started laughing?
  18          A.       Yes.
  19          Q.       What type of person were you
  20    describing that you were looking for?
  21          A.       The same specifications that
  22    Jeffrey told me:            She had to be 18,
  23    thin, very young looking, pretty.
  24          Q.       Anything else?
  25          A.       Well, bright and able to
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 222 of 469
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                                                                   Page 221
   1               HIGHLY CONFIDENTIAL AEO
   2    type.
   3          Q.       Did you go on a diet while
   4    you were in South Africa?
   5          A.       I was forced to go on a
   6    diet.
   7          Q.       Tell me what you mean by
   8    forced to go on a diet.
   9          A.       After that incident on the
  10    island in -- it was December, when
  11    Ghislaine brought me back to the main
  12    house after she -- she sent a search
  13    party.      She led a search party to find
  14    me on the island and bring me back.
  15          Q.       Ghislaine led a search
  16    party?
  17          A.       Yeah, yeah, yeah.             She got
  18    everyone together and they all went
  19    looking for me when I disappeared.
  20          Q.       Who went looking for you?
  21          A.                    , Jeffrey, the
  22    girls, Ghislaine.
  23          Q.       Which girls?
  24          A.                    and                the girl
  25    named
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 223 of 469
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                                                                   Page 222
   1                HIGHLY CONFIDENTIAL AEO
   2           Q.      Did Jeffrey go searching for
   3    you?
   4           A.      Yes.
   5           Q.      How do you know that?
   6           A.      I was told.
   7           Q.      About whom?
   8           A.      By                and the other
   9    girl.
  10           Q.      Where were you located?
  11           A.      On the island.
  12           Q.      Where on the island?
  13           A.      A corner of the island.
  14           Q.      On the water?
  15           A.      No.     It was quite a long
  16    drop off the -- it was like a
  17    cliff-type -- I wasn't able to jump or
  18    get in the water.
  19           Q.      Your intent was to swim off
  20    the island, but you didn't make it
  21    into the water?
  22           A.      No, because I would have
  23    killed myself, so it wasn't safe.
  24           Q.      So who located you on this
  25    corner of the island?
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                                                                   Page 223
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       I can't remember who got to
   3    me first.        I remember the -- I can't
   4    remember who found me first.
   5          Q.       Do you remember anyone who
   6    found you?
   7          A.       Yes, I was definitely found
   8    because I didn't have enough time to
   9    find a different location on the
  10    island so I could get off and swim
  11    away from Jeffrey and Ghislaine.
  12          Q.       Once they found you, what
  13    happened?
  14          A.       I was brought back to the
  15    main house.
  16          Q.       How were you brought back?
  17          A.       The same way that I got
  18    there, on the, like, beach buggy,
  19    black 4-by-4, not -- what are they.
  20    Quad things.
  21                   MS. MCCAWLEY:           Quad bikes?
  22          A.       Quad bikes, yeah.
  23          Q.       Did you bike back?
  24          A.       Yes.
  25          Q.       Accompanied by some people?
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                                                                   Page 224
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       I was accompanied back, yes.
   3          Q.       By whom?
   4          A.       I can't remember
   5    specifically who it was.
   6          Q.       Okay.      And once you got
   7    back, what happened?
   8          A.       They tried to calm me down.
   9          Q.       And then what happened?
  10          A.       From that evening onwards, I
  11    was -- Jeffrey put me on the Atkins
  12    Diet.
  13          Q.       Did you calm down?
  14          A.       Yes, I did.
  15          Q.       Did you take some more
  16    medications?
  17          A.       No.     When you're on
  18    prescription drugs, you only take them
  19    at a specific required time.
  20    Generally you don't take more than
  21    your prescription when you're on
  22    prescription drugs, so you don't kind
  23    of just throw tablets in your mouth.
  24    You kind of just take them in the
  25    morning or --
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 226 of 469
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                                                                   Page 225
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       I asked a bad question.
   3          A.       Yeah.
   4          Q.       You said earlier that the
   5    prescriptions were causing you to gain
   6    weight, I thought you said.
   7          A.       Yes.
   8          Q.       And then you just said you
   9    were put on a diet after this event,
  10    correct?
  11          A.       Yes.
  12          Q.       And what do you mean by you
  13    were put on a diet?
  14          A.       Jeffrey said, you either go
  15    on the Atkins Diet, or I can go.
  16          Q.       Go meaning off the island?
  17          A.       As in, don't call me back,
  18    Sarah.
  19          Q.       Here's the question:               Did
  20    you discontinue the medications at the
  21    same time you went on the Atkins Diet?
  22          A.       No.
  23          Q.       And how long were you on the
  24    Atkins Diet?
  25          A.       Long enough for my kidneys
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 227 of 469
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                                                                   Page 226
   1               HIGHLY CONFIDENTIAL AEO
   2    to be incredibly painful and for me to
   3    no longer continue on the diet because
   4    it was unsafe to do so.
   5          Q.       Did you seek medical help
   6    for that pain?
   7          A.       I just took painkillers.
   8          Q.       What painkillers did you
   9    take?
  10          A.       I can't remember what
  11    painkillers.
  12          Q.       Prescription or
  13    over-the-counter?
  14          A.       Over-the-counter.
  15          Q.       Were you on the diet for
  16    more than a week?
  17          A.       Yes, I was.
  18          Q.       More than a month?
  19          A.       Yes.
  20          Q.       More than two months?
  21          A.       I can't remember.
  22          Q.       Were you on the diet the
  23    whole time you were in South Africa?
  24          A.       Yes.
  25          Q.       Did you continue on the diet
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 228 of 469
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                                                                   Page 227
   1               HIGHLY CONFIDENTIAL AEO
   2    after you returned?
   3          A.       Yes.
   4          Q.       What was the lowest weight
   5    that you reached during that period of
   6    time on the diet?
   7          A.       56 kilograms.
   8          Q.       Had you ever weighed
   9    56 kilograms in your adult life --
  10          A.       No.
  11          Q.       -- previously?
  12          A.       No.
  13          Q.       Have you since?
  14          A.       No.
  15          Q.       Did you speak to Jeffrey
  16    again about that diet?
  17          A.       Multiple times.
  18          Q.       What did you say?
  19          A.       I complained frequently
  20    about the diet that he had put me on,
  21    because it was seriously affecting my
  22    physical health as well as my mental
  23    health.       Yeah, it's a pretty hectic
  24    diet.
  25          Q.       The time you were on this
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                                                                   Page 228
   1               HIGHLY CONFIDENTIAL AEO
   2    diet, did you have a boyfriend?
   3          A.       Oh, yeah.         Yes.
   4          Q.       Who was your boyfriend at
   5    the time?
   6          A.
   7          Q.
   8          A.       That's                          This is
   9
  10          Q.       What's                last name?
  11          A.       I think it's
  12          Q.       Where did he live?
  13          A.       In the Upper East Side.
  14          Q.       Did you talk to                  about
  15    your diet?
  16          A.       Yes.
  17          Q.       Were you living with
  18          A.       Not at -- not when I was in
  19    South Africa.
  20          Q.       When you returned from South
  21    Africa, did you move in with
  22          A.       Yes, I did, to get away from
  23    Jeffrey.
  24          Q.       And where on the Upper East
  25    Side did              live?
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 230 of 469
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                                                                   Page 229
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       I can't remember.
   3          Q.       Walkup or elevator building?
   4          A.       Elevator.
   5          Q.       How big was that apartment?
   6          A.       It's relatively small.
   7          Q.       More than one bedroom?
   8          A.       No, it was just one bedroom.
   9    It was a small, tiny apartment.
  10          Q.       And what did                do for a
  11    living?
  12          A.       He was a
  13          Q.       Where did he work?
  14          A.       He worked at -- I can't
  15    remember where he worked.
  16          Q.       How did you meet
  17          A.       At a delicatessen, when I
  18    was buying food.
  19          Q.       Had you started dating him
  20    before you went to South Africa?
  21          A.       I think we had gone on a
  22    couple dates or something.
  23          Q.       Where had you gone on your
  24    dates?
  25          A.       I can't remember.
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                                                                   Page 230
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       When you were in South
   3    Africa, did you have contact with
   4
   5          A.       Once or twice, like three
   6    times.      Well, we were sort of seeing
   7    each other, so I don't know how many
   8    phone times I spoke to him in a month.
   9    Yeah, a few times I spoke to
  10          Q.       When you spoke to him, did
  11    he ask you to move in with him when
  12    you returned?
  13          A.       I wouldn't really say that.
  14    I wouldn't really say he asked me to
  15    move in.
  16          Q.       Okay.      What would you say?
  17          A.       I asked him for me to move
  18    in with him.
  19          Q.       Okay.      While you were in
  20    South Africa, did you receive any
  21    phone calls from Jeffrey?
  22          A.       Yes.
  23          Q.       Did you want Jeffrey to call
  24    you there?
  25          A.       Yes.      He was helping me get
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 232 of 469
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                                                                   Page 231
   1               HIGHLY CONFIDENTIAL AEO
   2    into FIT.
   3          Q.       Any other reason for you to
   4    have communications while you were in
   5    South Africa?
   6          A.       I was living in his
   7    apartment.
   8          Q.       In South Africa?
   9          A.       In New York.
  10          Q.       So you wanted to have
  11    communications with Jeffrey while you
  12    were in South Africa because you were
  13    living in his apartment in New York?
  14                   MS. MCCAWLEY:           Objection.
  15          A.       And he was going to -- he
  16    promised that he would pay for my
  17    education.         And I was staying in his
  18    apartment and he was funding my life,
  19    so of course I would want him to
  20    contact me.
  21                   And, also, he was still --
  22    he told me he would pay for my return
  23    ticket.       So, yeah, of course I wanted
  24    him to contact me.
  25                   (An off-the-record
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 233 of 469
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                                                                   Page 232
   1               HIGHLY CONFIDENTIAL AEO
   2          discussion was held.)
   3          Q.       Did you have an intention
   4    while you were in South Africa to go
   5    to Miami upon your return?
   6          A.       I think there was a vague
   7    conversation about it, but I had no
   8    real intention of going to Miami.                     I
   9    had a conversation with                            about
  10    it.
  11          Q.       What, if anything, were you
  12    going to do in Miami?
  13          A.       I can't remember.
  14          Q.       Did you have a job lined up
  15    in Miami?
  16          A.       I can't remember.
  17          Q.       An internship?
  18          A.       It was something to do with
  19    Jeffrey, that Jeffrey,                            and --
  20    it would have -- it would have -- it
  21    was through Jeffrey, something with
  22    Miami.      I can't remember what it was
  23    for or -- I don't remember.                  It
  24    didn't -- it was just a conversation
  25    about Miami.
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                                                                   Page 233
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       So not a real firm plan to
   3    go to Miami?
   4          A.       No, no.
   5          Q.       Were you disappointed when
   6    you didn't go to Miami?
   7          A.       No, no, not at all.
   8          Q.       And you weren't planning to
   9    be a model in Miami, for example?
  10          A.       No.
  11          Q.       You said that Jeffrey had
  12    agreed to pay for your education?
  13          A.       Yes.
  14          Q.       Did you apply to any other
  15    school besides FIT?
  16          A.       No.
  17          Q.       Do you know whether you met
  18    the qualifications to get into FIT?
  19                   MR. GUIRGUIS:           Objection,
  20          form.
  21          A.       Yes.
  22                   MR. GUIRGUIS:
  23          Comprehensibility.
  24                   MS. MENNINGER:           She seemed
  25          to understand it just fine.
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                                                                   Page 234
   1                HIGHLY CONFIDENTIAL AEO
   2                   MR. GUIRGUIS:           I don't know
   3           if she did, but fine.
   4           Q.      Do you know how much FIT was
   5    supposed to cost per year?
   6           A.      No.
   7           Q.      Did you believe it to be
   8    expensive?
   9           A.      All schools are expensive.
  10           Q.      You had previously attended
  11    Queen Margaret College; is that right?
  12           A.      Queen Margaret University.
  13           Q.      My apologies.
  14                   How much did Queen Margaret
  15    University cost?
  16           A.      I can't remember.
  17           Q.      Did you apply for any
  18    financial aid for FIT?
  19           A.      No.     Jeffrey was covering
  20    FIT.
  21           Q.      That's what Jeffrey told
  22    you?
  23           A.      Multiple, multiple times.
  24           Q.      Did Ghislaine Maxwell say
  25    anything to you with regards to FIT?
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                                                                   Page 235
   1                HIGHLY CONFIDENTIAL AEO
   2           A.      It was various
   3    conversations.           It was known among
   4    everyone that I was going to FIT, and
   5    Jeffrey -- everyone knew he was
   6    helping me to get into FIT.                  It was
   7    common knowledge.
   8           Q.      You described earlier that
   9    Ghislaine was helping review your
  10    application and your essay.
  11                   Was there something else
  12    that she was doing to help you?
  13           A.      Well, she said she would,
  14    but whether she did, I have no idea.
  15    She said she would.              Whether she made
  16    calls, I doubt, because I didn't end
  17    up at FIT.         So...
  18           Q.      Did you get accepted there?
  19           A.      I never heard from anyone at
  20    FIT.
  21           Q.      You never got a response?
  22           A.      No.
  23           Q.      Did you have an email
  24    address at that time?
  25           A.      Yes, I did.
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                                                                   Page 236
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Do you have a copy of your
   3    FIT application?
   4          A.       I think it's somewhere.                I
   5    think it's in the email.
   6          Q.       There's an essay and then
   7    there's an application, correct?
   8          A.       Yes, that's correct.               I can
   9    find the essay if you want.
  10                   MR. GUIRGUIS:           I think we've
  11          already produced that essay.
  12          Q.       While you were in South
  13    Africa, did you have any phone
  14    conversation with Ghislaine?
  15          A.       Yes.
  16          Q.       When was that?
  17          A.       Through various times
  18    throughout my stay in South Africa.
  19          Q.       What phone were you using
  20    while you were in South Africa?
  21          A.       I had the BlackBerry that
  22    they had given me, and they also
  23    phoned my parents' landline as well.
  24          Q.       Who is they?
  25          A.       Jeffrey, Ghislaine and
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                                                                   Page 237
   1               HIGHLY CONFIDENTIAL AEO
   2
   3          Q.       Did Ghislaine speak to your
   4    parents?
   5          A.       Yes.
   6          Q.       Who did she speak to?
   7          A.       I can't remember if she
   8    spoke -- I can't remember, actually.
   9    I can't remember who she spoke to.
  10          Q.       How do you know that she
  11    spoke to your parents?
  12          A.       Because I remember it being
  13    a huge thing, and my family -- because
  14    they couldn't quite understand what
  15    Jeffrey and Ghislaine were doing
  16    paying for their daughter's education,
  17    and they obviously thought --
  18    suspected something was going on.
  19          Q.       So how do you know that
  20    someone spoke to your parents?
  21          A.       Because my parents and I
  22    fought about it.
  23          Q.       Did your parents tell you
  24    that they spoke to Ghislaine?
  25          A.       I -- I can't remember.                I
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 239 of 469
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                                                                   Page 238
   1               HIGHLY CONFIDENTIAL AEO
   2    remember having a huge row with my
   3    family because they had spoken to --
   4    so there were multiple phone calls
   5    during the duration of that month,
   6    okay.      There's not a specific call.
   7    There were multiple calls.
   8                   There were multiple emails.
   9    I produced emails during that time
  10    frame, back-and-forth emails between
  11                        and myself.         So they
  12    were -- they contacted me regularly.
  13    Ghislaine,                           and Jeffrey
  14    Epstein phoned me a few times.
  15          Q.       Did your parents tell you
  16    that they spoke to Ghislaine?
  17          A.       I knew with my own -- that
  18    they had spoken to Ghislaine.
  19          Q.       How did you know that?
  20          A.       Because I know that they had
  21    spoken.       They told me that they had
  22    spoken.       I know she made communication
  23    with my family.
  24          Q.       Your family told you that
  25    they had spoken to Ghislaine?
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                                                                   Page 239
   1               HIGHLY CONFIDENTIAL AEO
   2                   MR. GUIRGUIS:           Objection,
   3          asked and answered.
   4          A.       Yes.
   5          Q.       Who in your family told that
   6    you they had spoken to Ghislaine?
   7          A.       I can't remember whether it
   8    was my stepmother or my father.                    I
   9    cannot remember which one it was.
  10          Q.       What did your stepmother or
  11    father tell you they had discussed
  12    with Ghislaine?
  13          A.       That she had reassured them
  14    that my education would be paid for
  15    and -- basically that.               You know, they
  16    spent a lot of time and effort
  17    reassuring my family they weren't
  18    abusing me, which they were, and that
  19    they weren't going to traffic me,
  20    which they were.
  21                   So there you go.            I had to
  22    lie to my family.
  23          Q.       What is your stepmother's
  24    name?
  25          A.
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                                                                   Page 240
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       And do you have an email
   3    address or phone number for her?
   4          A.       No, I don't.
   5                   MR. GUIRGUIS:           Objection.
   6          No current information.                  Same
   7          objection as at the outset of
   8          deposition.
   9                   MS. MENNINGER:           Are you
  10          instructing her not to answer?
  11                   MR. GUIRGUIS:           I am
  12          instructing her not to answer.
  13          Q.       Where does                 --
  14                   MR. GUIRGUIS:           And I'm again
  15          offering you to the opportunity
  16          to proffer a reason for these
  17          questions.         And I --
  18                   MS. MENNINGER:           I'll tell
  19          you.     Your client has signed an
  20          affidavit and a complaint
  21          discussing this conversation, and
  22          I'm asking for contact
  23          information for a witness to the
  24          conversation, the person who
  25          actually supposedly had a phone
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                                                                   Page 241
   1                HIGHLY CONFIDENTIAL AEO
   2           conversation with my client.                  And
   3           you're telling me I can't follow
   4           up with those witnesses.
   5           Q.       So please tell me how to
   6    reach your stepmother,
   7           A.       I'm not going to offer you
   8    my family's address details.
   9                    MR. GUIRGUIS:          You don't
  10           have to answer.
  11                    Go on.
  12                    MS. MENNINGER:          You may come
  13           back and answer it another day,
  14           but...
  15           Q.       Where does
  16    live?
  17           A.       She lives in Cape Town.
  18           Q.       Where in Cape Town?
  19           A.       I don't know.
  20           Q.       Have you been in touch with
  21    her?
  22           A.       Not recently, no.
  23           Q.       When is the last time you
  24    communicated with her?
  25           A.       A while back.
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                                                                   Page 242
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       More than a year?
   3          A.       Less than a year.
   4          Q.       Is she still married to your
   5    father?
   6          A.       I presume so.
   7          Q.       Have you talked to him in
   8    the same period of time?
   9          A.       No.
  10          Q.       Why haven't you talked to
  11    your family in more than a year?
  12                   MS. MCCAWLEY:           Objection.
  13          This is getting into her current
  14          relationships, which is not
  15          relevant to the case and also can
  16          be used for harassment.
  17          Q.       Why haven't you talked to
  18    your family in a year?
  19          A.       Because I came forward.
  20          Q.       When did you come forward?
  21          A.       October, around October.
  22          Q.       Have you spoken to your
  23    family since October?
  24          A.       No.
  25          Q.       When was the last time you
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 244 of 469
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                                                                   Page 243
   1               HIGHLY CONFIDENTIAL AEO
   2    spoke to your father or stepmother
   3    before October?
   4          A.       September.
   5          Q.       And did you tell them not to
   6    contact you or did they tell you not
   7    to contact them?
   8          A.       Well, I didn't -- I
   9    basically said to them, either accept
  10    me for who I am or we need to stop
  11    this relationship.
  12          Q.       What did you mean by accept
  13    you as you are?
  14          A.       I've made a lot of poor
  15    choices, particularly Jeffrey, being
  16    involved with Jeffrey Epstein.                    And
  17    they feel I've come a long way from
  18    that time, and they thought that they
  19    didn't want me going back to a time
  20    that was very traumatic for me.
  21          Q.       Did they tell you they would
  22    not be in touch with you going
  23    forward?
  24          A.       I didn't give them that
  25    option for them to tell me that.
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 245 of 469
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                                                                   Page 244
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       So your not having a
   3    conversation with your father and
   4    stepmother in a year is because of
   5    your choice to come forward?
   6          A.       That's correct.
   7          Q.       What about your mother?
   8                   MR. GUIRGUIS:           Objection to
   9          form.
  10          A.       What about my mother?
  11          Q.       Have you had contact with
  12    her in a year?
  13          A.       Yes.
  14          Q.       When was the last time you
  15    had contact with your mother?
  16          A.       Last week.
  17          Q.       When you returned to New
  18    York and moved in with                       did you
  19    talk to             about Jeffrey Epstein?
  20          A.       Yes.
  21          Q.       What did you tell
  22          A.       I told him that I was
  23    frightened.
  24                   He was incredibly concerned
  25    about my weight loss and about the
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 246 of 469
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                                                                   Page 245
   1                HIGHLY CONFIDENTIAL AEO
   2    weight goal that Jeffrey and Ghislaine
   3    set for me, which was 52 kilograms.
   4    He was scared for me, actually.
   5           Q.      To your knowledge, did he
   6    contact anyone about it?
   7           A.      Not to my knowledge.
   8           Q.      What did he do about his
   9    concern, to your knowledge?
  10           A.      I begged him if I could live
  11    with him, and he agreed.
  12           Q.      How long did you live with
  13    him?
  14           A.      It wasn't really long,
  15    because I moved in with him after
  16    South Africa.          So about a month or
  17    something.
  18           Q.      From the time you returned
  19    from South Africa to when you returned
  20    to South Africa?
  21           A.      Oh.     Yeah, no, we only kind
  22    of went -- we only dated for briefly.
  23    It wasn't a serious relationship.
  24    Yeah.       So when I moved to New York --
  25    sorry, back to London, kind of our
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                                                                   Page 246
   1               HIGHLY CONFIDENTIAL AEO
   2    relationship couldn't really go
   3    anywhere, I guess.
   4          Q.       The long distance?
   5          A.       Yeah, long distance doesn't
   6    really work, so...
   7          Q.       So about the time you moved
   8    back to London is when you and he
   9    broke up?
  10          A.       That's correct.
  11          Q.       Have you had contact with
  12    him since then?
  13          A.       I had contact with him again
  14    in 2008.
  15          Q.       Did you come back to the
  16    U.S. then?
  17          A.       No.
  18          Q.       You did not come back to the
  19    U.S. in 2008?
  20          A.       Oh, I did, sorry, for a
  21    business trip.           I went -- I did a
  22    tour, yeah, from -- I think it was
  23    Atlantic to Atlanta to San Francisco.
  24          Q.       With which business?
  25          A.       Belfairs International.
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                                                                    Page 247
   1               HIGHLY CONFIDENTIAL AEO
   2    It's a private company at that time
   3    that did private planes, the interiors
   4    of private planes.
   5                   (An off-the-record
   6          discussion was held.)
   7          Q.       One more time.           Can you
   8    spell that?
   9          A.       Sorry.       B-A-R- -- sorry, B-
  10    -- sorry.        It's getting so bad.              I'm,
  11    like, really bad at spelling.                   It's
  12    B-E-L-F-A-I-R-S, Belfairs
  13    International.
  14          Q.       You were working with them
  15    in 2008?
  16          A.       Briefly.
  17          Q.       And you came for a business
  18    trip?
  19          A.       Yes.
  20          Q.       And how long were you in the
  21    U.S. on that occasion?
  22          A.       Gosh, I can't remember.                 It
  23    was like a week.
  24          Q.       And who did you come with?
  25          A.       My manager of business.
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                                                                   Page 248
   1                HIGHLY CONFIDENTIAL AEO
   2           Q.      What was that person's name?
   3           A.
   4           Q.      What's the last name?
   5           A.      I can't remember the last
   6    name.
   7           Q.      So you came back to the U.S.
   8    in 2008, but you did not have contact
   9    with           on that trip?
  10           A.      No.
  11           Q.      When did you have contact
  12    with           in 2008?
  13           A.      He moved to London in 2008.
  14           Q.      Did you see him in London?
  15           A.      Yes, I did.
  16           Q.      Where did you see him?
  17           A.      He came to stay with me in
  18    London.
  19           Q.      Did you resume your
  20    relationship?
  21           A.      Briefly.
  22           Q.      Is that the last time you've
  23    had contact with him?
  24           A.      Yes.
  25           Q.      Was that about the time you
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 250 of 469
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                                                                   Page 249
   1               HIGHLY CONFIDENTIAL AEO
   2    became engaged to --
   3          A.
   4          Q.       --
   5          A.               and I got together at
   6    the end of 2008.            We didn't meet and
   7    then get engaged immediately.                   It was
   8    like we dated and then got engaged.
   9          Q.       Understood.
  10                   In addition to discussing
  11    Jeffrey with                 is there someone
  12    else you discussed Jeffrey with in
  13    your life in 2006 or 2007?
  14          A.       Well, I discussed it with
  15    everyone I knew.            It's quite an amaz-
  16    -- he's an amazing man.                Yeah,
  17    everyone I knew knew that I was
  18    involved with Jeffrey Epstein.
  19    Everyone that I met in New York knew
  20    that I was affiliated with Jeffrey
  21    Epstein and Ghislaine Maxwell.
  22          Q.       More specifically, who did
  23    you tell that you had concerns about
  24    your relationship with Jeffrey?
  25          A.       My friend                And there
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 251 of 469
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                                                                     Page 250
   1               HIGHLY CONFIDENTIAL AEO
   2    were a few other friends I had at the
   3    time, but I don't remember their
   4    names.
   5          Q.       Did you discuss it with
   6
   7          A.       Yes.
   8          Q.       What did you tell
   9          A.       Everything that Jeffrey did
  10    to me.      I told her every single detail
  11    on how he abused me.
  12          Q.       How did Jeffrey abuse you?
  13          A.       There were times that I was
  14    -- I mean, look, I was intimidated.                      I
  15    was frightened of Jeffrey, okay.                     I
  16    wanted to go to FIT, get an education.
  17    But if I didn't comply with Jeffrey's
  18    requests, I was scared.                Okay?
  19                   So how did he abuse me?
  20    When he had me on, like, the massage
  21    table, I had no option.                So how did he
  22    abuse me?        By putting a vibrator and
  23    pushing it down on my clitoris for ten
  24    minutes, that's abuse.               That was not
  25    pleasurable; that was exceptionally
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 252 of 469
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                                                                     Page 251
   1               HIGHLY CONFIDENTIAL AEO
   2    painful.        He hurt me physically and he
   3    abused me mentally, both.
   4          Q.        How did he abuse you
   5    mentally?
   6          A.        Jeez.     Well, I think the
   7    fact that -- A, physical abuse always
   8    leads to mental abuse.               It's a fact.
   9    So you can't physically abuse someone
  10    and they can't be mentally, because
  11    they will -- without a doubt, I'm sure
  12    myself and all the other girls will
  13    have suffered some form of
  14    posttraumatic stress.
  15                    So in terms of how did he
  16    mentally abuse me?             He bullied me.           He
  17    went on about my weight.                He
  18    intimidated me.           He promised me things
  19    he didn't deliver.             I mean, I could go
  20    on.     So...
  21          Q.        What things did he promise
  22    you that he didn't deliver?
  23          A.        An education.
  24          Q.        And what do you know about
  25    what he did or didn't do to get you an
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 253 of 469
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                                                                   Page 252
   1                HIGHLY CONFIDENTIAL AEO
   2    education?
   3           A.      Well, I didn't go to FIT, so
   4    I presume not very much.
   5           Q.      Do you know why you didn't
   6    get into FIT?
   7           A.      No, no.       It just didn't ever
   8    materialize.
   9           Q.      Did you ever contact FIT to
  10    find out?
  11           A.      During that time, Jeffrey
  12    had it in hand.           I didn't think I
  13    needed to contact anybody at FIT.                     I
  14    mean, Jeffrey -- it was Jeffrey's
  15    contact in the first place that he was
  16    contacting.         So I didn't contact
  17    anyone at FIT.
  18           Q.      You didn't contact them at
  19    all?
  20           A.      Well, no, because Jeffrey
  21    said that he was going to do that for
  22    me to get me into FIT.
  23           Q.      And how did you ever confirm
  24    or deny that you weren't admitted to
  25    FIT?
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                                                                   Page 253
   1                HIGHLY CONFIDENTIAL AEO
   2          A.       I was never told.             I was
   3    never given a letter.               I didn't have
   4    anyone phone me.             I didn't have the
   5    contact that Jeffrey had been speaking
   6    to about getting me in.                She didn't
   7    contact me.         So I'm presuming as an
   8    educated woman it was all hearsay,
   9    because nothing ever materialized from
  10    that.
  11          Q.       Did FIT have your address at
  12          's?
  13          A.       Not that I recall.
  14          Q.       Did you give Jeffrey your
  15    address at             's?
  16          A.       Yes, Jeffrey knew where I
  17    lived.
  18          Q.       I understood you were going
  19    to live with                 in order to get away
  20    from Jeffrey.
  21          A.       So when -- so basically when
  22    you live in someone's apartment, it's
  23    a form of control.             So when you don't
  24    comply with their instructions all the
  25    time, hundred percent, it's like
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 255 of 469
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                                                                   Page 254
   1                 HIGHLY CONFIDENTIAL AEO
   2    leverage for them to control you.
   3                    I don't like being
   4    controlled by people, especially by
   5    someone like Jeffrey Epstein and
   6    Ghislaine Maxwell.
   7                    So Jeffrey Epstein, he knew
   8    where I was all the time, so...
   9           Q.       Did Jeffrey come to                  's
  10    apartment?
  11           A.       He came around the Upper
  12    East Side near the apartment, yes, he
  13    did.        There was an occasion that
  14    Jeffrey Epstein picked me up when I
  15    didn't go to the mansion.
  16           Q.       Picked you up where?
  17           A.       I can't remember the
  18    location.
  19           Q.       Jeffrey lived on the Upper
  20    East Side?
  21           A.       I can't remember where
  22    Jeffrey -- his exact location is.                     I
  23    mean, it's a nice -- I think it's near
  24    5th.        It's near 5th Avenue.
  25           Q.       Was it on the Upper East
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 256 of 469
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                                                                      Page 255
   1               HIGHLY CONFIDENTIAL AEO
   2    Side?
   3          A.       I think.        I don't think it
   4    was on the West Side.               So hang on.          So
   5    5th Avenue is there.              Is the West Side
   6    that side?
   7                   I don't know -- sorry.                I'm
   8    really -- I'm a tourister, so I don't
   9    know.      I don't know where Jeffrey -- I
  10    know that he's got -- it was near 5th
  11    Avenue.       That's where I know his
  12    apartment was.
  13                   I'm not a New Yorker, so...
  14          Q.       Do you recall an occasion
  15    while you were living with                        that
  16    Jeffrey came and picked you up?
  17          A.       Yes.
  18          Q.       Somewhere on the Upper East
  19    Side?
  20          A.       Yes.
  21          Q.       You don't know where?
  22          A.       No, I don't know the
  23    specific street, name or pavement that
  24    I was standing on, no, I don't.
  25          Q.       Where did you go with
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                                                                   Page 256
   1               HIGHLY CONFIDENTIAL AEO
   2    Jeffrey when he picked you up on the
   3    Upper East Side?
   4          A.       I got in his car and went
   5    back to his mansion.
   6          Q.       What kind of car was it?
   7          A.       It was a -- I can't remember
   8    what car it was.
   9          Q.       Who was driving the car?
  10          A.       He wasn't driving.              I can't
  11    remember who was driving.
  12          Q.       Was anyone else in the car?
  13          A.       Someone was driving the car.
  14          Q.       Anyone else?
  15          A.       I can't remember anyone
  16    else.
  17          Q.       What was the purpose of your
  18    going back to the mansion on that
  19    occasion?
  20          A.       I don't know.           You're going
  21    to have to ask Jeffrey.
  22          Q.       Why did you get in the car?
  23          A.       Because I was frightened.
  24          Q.       What were you frightened of?
  25          A.       The fact that he had found
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 258 of 469
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                                                                     Page 257
   1                 HIGHLY CONFIDENTIAL AEO
   2    me and wasn't supposed to know where I
   3    was.        So I was incredibly intimidated
   4    that he drove up beside me and knew
   5    where I was.
   6           Q.       You were somewhere out on
   7    the street visible and he found you?
   8           A.       No.    I was supposed to meet
   9    Jeffrey.        I was instructed to meet
  10    Jeffrey.        I failed to turn up to meet
  11    Jeffrey and Jeffrey found me.
  12           Q.       Who instructed you to meet
  13    Jeffrey?
  14           A.       It was one of the girls.                It
  15    was either                           or
  16
  17           Q.       How did they instruct you to
  18    meet Jeffrey?
  19           A.       Via the BlackBerry they gave
  20    me.
  21           Q.       You kept the BlackBerry
  22    after you returned from South Africa?
  23           A.       Yes, I did.
  24           Q.       While you were living with
  25
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                                                                   Page 258
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       Yes.
   3          Q.       Why did you keep the
   4    BlackBerry after you were living with
   5
   6          A.       Because Jeffrey and I were
   7    still in contact.
   8          Q.       What were you in contact
   9    about?      The FIT application?
  10          A.       He was trying to get me a
  11    visa, and he -- he devised a way of me
  12    getting -- I don't know what you call
  13    it, sorry -- an apprenticeship, an
  14    internship with a cosmetic company.
  15    Yeah, a cosmetic agency, doctor's
  16    medical facility.
  17          Q.       When you came back from
  18    South Africa in February of 2007, did
  19    you have a tourist visa?
  20          A.       Yeah, yes.
  21          Q.       So Jeffrey was trying to
  22    help you get a job so you could get a
  23    different kind of visa?
  24          A.       Yeah.      Well, you can't live
  25    in New York on a tourist visa.                    It's
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 260 of 469
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                                                                     Page 259
   1                 HIGHLY CONFIDENTIAL AEO
   2    three months, so -- so I don't know
   3    what it's like anymore, the laws.                     But
   4    back then, if you wanted to tour
   5    America, you would go and fill -- I
   6    think it was 90 days, but then you
   7    would have to leave.              You couldn't
   8    stay.
   9                    And Jeffrey was trying to
  10    get me a -- it's difficult, not
  11    being -- it's difficult actually going
  12    to university here if you don't have a
  13    British -- I don't know the system.                      I
  14    just didn't have a visa I could go to
  15    FIT.
  16                    And this friend of his that
  17    owned a cosmetic surgery, he had
  18    organized that I would go in and do an
  19    internship, and that way would be a
  20    legitimate way to -- for me to get a
  21    visa, for me to stay and continue in
  22    FIT.        If that makes sense.
  23           Q.       What was the name of that
  24    friend?
  25                    MR. GUIRGUIS:          Do you need a
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                                                                   Page 260
   1                HIGHLY CONFIDENTIAL AEO
   2           break?
   3                    THE WITNESS:         I do, sorry.
   4           Do you mind?
   5                    MS. MENNINGER:          There was a
   6           question pending.
   7                    MR. GUIRGUIS:          She has a
   8           question pending.            You can answer
   9           that, then.        Go ahead.
  10                    What was the name of that
  11           friend?
  12                    THE WITNESS:         I don't know.
  13           It was a man.
  14           Q.       Did you end up working in
  15    that internship?
  16           A.       No.
  17           Q.       Did you ever meet with that
  18    man?
  19           A.       Yes.
  20           Q.       Why didn't you end up
  21    working in that internship with that
  22    man?
  23           A.       I wanted to return home.
  24                    MR. GUIRGUIS:          Can we take
  25           that break?
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                                                                   Page 261
   1               HIGHLY CONFIDENTIAL AEO
   2                   MS. MENNINGER:           Yes.
   3                   (Time noted:          3:04 p.m.)
   4                   (Recess.)
   5                   (Time noted:          3:20 p.m.)
   6                   MS. MENNINGER:           Going back
   7          on the record.
   8                   MR. GUIRGUIS:           Before you
   9          proceed with your questions,
  10          Counsel, I raised an objection to
  11          providing                           's email
  12          address before.            Then you
  13          proffered a reason for it.
  14                   I accept your proffer and I
  15          will provide you that email
  16          address now, or have the witness
  17          do it.
  18                   MS. MENNINGER:           Okay.
  19                   THE WITNESS:          It's
  20
  21                   (An off-the-record
  22          discussion was held.)
  23                   MR. GUIRGUIS:           And let the
  24          record reflect she's taking it
  25          down from a Google search on the
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 263 of 469
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                                                                   Page 262
   1               HIGHLY CONFIDENTIAL AEO
   2          web.     She believes that's right.
   3          Q.       What is your father's email
   4    address?
   5          A.       I don't remember it offhand.
   6                   MS. MENNINGER:           Can you mark
   7          this.
   8                   (Defendant's Exhibit 3,
   9          affidavit, was marked for
  10          identification.)
  11          Q.       Do you recognize the
  12    document we marked as Defendant's
  13    Exhibit 3?
  14          A.       Yes.
  15          Q.       What is it?
  16          A.       My affidavit.
  17          Q.       Who wrote this affidavit?
  18          A.       Well, I -- I -- I didn't
  19    type it up, but I gave the affidavit.
  20          Q.       So you spoke words to
  21    someone else and they typed it?
  22          A.       Yes.
  23          Q.       Who was that person?
  24          A.       I don't know.
  25          Q.       Who was the person you gave
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 264 of 469
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                                                                   Page 263
   1               HIGHLY CONFIDENTIAL AEO
   2    words to?
   3                   MR. GUIRGUIS:           Was it an
   4          attorney?
   5                   THE WITNESS:          Yes.
   6                   MR. GUIRGUIS:           Okay.
   7          Q.       Which attorney?
   8                   MR. GUIRGUIS:           I think I'm
   9          going to object to that.                 I don't
  10          know that it matters which
  11          attorney or which attorney
  12          provided the work or did specific
  13          tasks.       I think that's
  14          privileged.
  15          Q.       Did you communicate these
  16    words to a attorney with the intent
  17    that they would put it into an
  18    affidavit that you would share
  19    publicly?
  20          A.       I don't know that the
  21    affidavit is public, but to share
  22    with -- with you guys.
  23          Q.       With a third party?
  24          A.       Yeah, with a third party.
  25          Q.       And you knew that at the
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 265 of 469
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                                                                   Page 264
   1               HIGHLY CONFIDENTIAL AEO
   2    time you were giving the words to the
   3    person to type up?
   4          A.       Yeah, to give to you guys.
   5          Q.       So who was the person that
   6    you were speaking to that took down
   7    the words for your affidavit?
   8          A.       Sorry.       It was Stan and
   9    Brad.
  10          Q.       And when did you have that
  11    conversation with them?
  12          A.       I think it was either -- I
  13    think it was in January.
  14          Q.       Last month?
  15          A.       Oh, God.        Last month.         Yeah,
  16    last month.
  17          Q.       In person?
  18          A.       In person.
  19          Q.       Did they give you multiple
  20    drafts of this document?
  21          A.       I wouldn't say multiple, but
  22    I made sure that it was accurate.
  23          Q.       Did you make any changes to
  24    the document you were originally
  25    presented with?
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 266 of 469
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                                                                   Page 265
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       No.
   3          Q.       The first document that you
   4    were presented with, is that the one
   5    that you signed?
   6          A.       Yes.
   7          Q.       And nothing was changed
   8    after you reviewed it?
   9          A.       No.
  10          Q.       Is that your signature on
  11    the second page?
  12          A.       Yes, that is my signature.
  13          Q.       And the last page, is that
  14    the official in Spain who witnessed
  15    your signature?
  16          A.       Yes.
  17          Q.       Did you sign page 2 in front
  18    of the person indicated on page 3?
  19          A.       Yes.
  20          Q.       Did you present that person
  21    with some form of identification?
  22          A.       Yes.
  23          Q.       What form of identification
  24    did you present?
  25          A.       My passport.
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 267 of 469
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                                                                   Page 266
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Which passport?
   3          A.       My British passport.
   4          Q.       Is that a current British
   5    passport?
   6          A.       Yes.
   7          Q.       Did you have a British
   8    passport that expired in 2014?
   9          A.       Yeah, I can't remember when
  10    it expired, but I think you guys have
  11    a copy as well of my passport.                    I
  12    don't remember the exact date that it
  13    expired.
  14          Q.       Not the South African
  15    passport that was stolen?
  16          A.       The South African passport
  17    is completely irrelevant.                 You can't
  18    travel on a South African passport.
  19    It's -- you can't go into any other
  20    country bar South Africa, other than
  21    South Africa, on a passport.                   So I've
  22    hardly used my South African passport
  23    at all.
  24          Q.       I'm just asking which
  25    passport you showed to the person on
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 268 of 469
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                                                                   Page 267
   1               HIGHLY CONFIDENTIAL AEO
   2    page 3.
   3          A.          Sorry.    My British passport.
   4          Q.          And it's a British passport
   5    that's current?
   6          A.          Yes.
   7                      MR. GUIRGUIS:        Asked and
   8          answered.
   9                      MS. MENNINGER:        Just a bit
  10          of a detour.
  11          Q.          Can I have you take a look
  12    at paragraph 1?
  13          A.          Yep.
  14          Q.          Is paragraph 1 true?
  15          A.          "I am currently over the age
  16    of 18," paragraph 1, yes.
  17          Q.          And you presently reside in
  18    Spain?
  19          A.          Yes.
  20          Q.          Paragraph 2, you state, "In
  21    the summer of 2006, when I was
  22    22 years old and living in New York, I
  23    was introduced to Jeffrey Epstein by a
  24    girl I had met named
  25                  "
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 269 of 469
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                                                                   Page 268
   1               HIGHLY CONFIDENTIAL AEO
   2                   Is that true?
   3          A.       Yes.
   4          Q.       Was it the summer of 2006
   5    when you met
   6          A.       Okay, well, it was summer.
   7    End of summer going into fall.
   8          Q.       So when was it, do you
   9    think?
  10          A.       It was fall of 2006.               It was
  11    just after the summer.
  12          Q.       So it was the fall of 2006
  13    when you met
  14          A.       Well, it was the end of the
  15    summer, so I don't know -- fall or in
  16    the summer or -- it was end of summer,
  17    fall.
  18          Q.       Sometime after you came into
  19    the U.S.?
  20          A.       Yes, yeah.
  21          Q.       And do you know when in the
  22    fall of 2006 you met
  23          A.       What, you mean the end of
  24    summer/fall slash -- if you really
  25    want to go -- can you define, like,
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 270 of 469
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                                                                   Page 269
   1                HIGHLY CONFIDENTIAL AEO
   2    geography lessons?             Should we do
   3    geography lessons?
   4                   MS. MCCAWLEY:           All right.
   5          Hang on a second.
   6          A.       Maybe summer?           Fall?
   7    Winter?       What are your dates here in
   8    New York?
   9                   MR. POTTINGER:           Can we get
  10          this clear?
  11                   MR. PAGLIUCA:           Would you
  12          just stop it?
  13                   MR. POTTINGER:           Do you mind?
  14          Do you mind?
  15                   MR. PAGLIUCA:           I mind you
  16          talking.
  17                   MR. POTTINGER:           Do you mind?
  18                   MS. MENNINGER:           If you want
  19          to enter an objection, please do
  20          so.
  21                   MR. POTTINGER:           I object.
  22                   MS. MENNINGER:           What is the
  23          basis of your objection, Mr.
  24          Pottinger?
  25                   MR. POTTINGER:           Define
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 271 of 469
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                                                                   Page 270
   1               HIGHLY CONFIDENTIAL AEO
   2          summer or fall.
   3                   MS. MENNINGER:           I will do
   4          whatever I want during my
   5          deposition.
   6                   MR. POTTINGER:           Define --
   7          define summer or fall.
   8                   MS. MENNINGER:           I don't have
   9          to define anything.
  10                   MR. POTTINGER:           Define
  11          summer or fall for the client --
  12                   MS. MENNINGER:           All right.
  13                   MR. POTTINGER:           -- and then
  14          we will answer the -- she will be
  15          able to answer the question.
  16                   MS. MENNINGER:           I'm going
  17          off the record until you calm
  18          down.
  19                   Let's go off the record.
  20                   (Time noted:          3:28 p.m. )
  21                   (Recess.)
  22                   (Time noted:          3:30 p.m.)
  23                   MS. MENNINGER:           Go back on
  24          the record.
  25          Q.       Approximately what month and
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                                                                   Page 271
   1               HIGHLY CONFIDENTIAL AEO
   2    day did you meet
   3          A.       As I said earlier, I can't
   4    remember what day, but it was end of
   5    summer/fall in the United States.                     I
   6    can't remember what specific date or
   7    time that was.
   8          Q.       What month?          Any idea?
   9          A.       It was September.
  10          Q.       When did you meet Jeffrey
  11    Epstein?
  12          A.       Shortly after I met
  13          Q.       Was that also in September?
  14          A.       I guess so.          I don't know
  15    the exact date I arrived, so if
  16    someone can provide me with my
  17    passport so I can see my entry date,
  18    maybe that would help.
  19                   So I met                   -- if you
  20    look at the date that I arrived in New
  21    York on my passport, I think it's very
  22    clear when I arrived.               You've got the
  23    evidence, I'm sure.
  24                   So two weeks after the date
  25    that is on my passport that I arrived
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                                                                   Page 272
   1               HIGHLY CONFIDENTIAL AEO
   2    in, I met                      Very soon after I
   3    met                 I was introduced to
   4    Jeffrey Epstein.            It was in and around
   5    September.         I can't specifically
   6    remember the date, time, season,
   7    whatever.
   8          Q.       Did you show your passport
   9    to Mr. Pottinger and Mr. Edwards when
  10    you were standing there at the
  11    consulate having the affidavit
  12    notarized?
  13          A.       I showed my current passport
  14    when I had this signed.
  15          Q.       Not the passport that
  16    contained dates from 2006?
  17          A.       My current valid passport.
  18    You can only show a valid passport.
  19          Q.       Fair enough.
  20                   So you believe that your
  21    lawyers have produced your current
  22    valid passport to me?
  23          A.       No --
  24                   MS. MCCAWLEY:           Objection.
  25          A.       -- they have not produced my
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 274 of 469
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                                                                   Page 273
   1                HIGHLY CONFIDENTIAL AEO
   2    current passport.            They produced have
   3    my passport during that time frame,
   4    which clearly shows that -- when I
   5    entered the United States.
   6          Q.       So when your lawyers wrote,
   7    "A copy of nonparty Sarah Ransome's
   8    current passport is attached hereto as
   9    RANSOME 157 to 168, which should be
  10    treated as confidential pursuant to
  11    the party's protective order," do you
  12    believe that to be an accurate
  13    statement?
  14                   MS. MCCAWLEY:           Objection.
  15          You're asking her legal
  16          information that she's not privy
  17          to.
  18                   MS. MENNINGER:           There was
  19          nothing legal about that comment.
  20          A.       Sorry.       That makes no sense
  21    to me, please.           Can you repeat the
  22    question.
  23          Q.       I'll do it this way.
  24                   MS. MENNINGER:           Defendant's
  25          Exhibit 4.
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                                                                   Page 274
   1               HIGHLY CONFIDENTIAL AEO
   2                   (Defendant's Exhibit 4,
   3          RANSOME_000168, was marked for
   4          identification.)
   5          Q.       Take a look at Defendant's
   6    Exhibit 4.
   7          A.       Okay.
   8          Q.       Just take a look at it.                Do
   9    you recognize it?
  10          A.       Yeah, this is my passport.
  11          Q.       Do you know which passport
  12    this is?
  13          A.       This is my old passport.
  14          Q.       So it's not your current
  15    passport, correct?
  16          A.       No, it's not my current
  17    passport, because it expired on --
  18    let's have a look here --
  19          Q.       Can you turn to the
  20    second-to-last page.              Sorry.
  21          A.       Yes, here we go.
  22          Q.       Does that have a Bates
  23    number?       In other words, your name,
  24    RANSOME, with an underscore and then
  25    page numbers after that, that were
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                                                                   Page 275
   1               HIGHLY CONFIDENTIAL AEO
   2    placed there by your attorneys.
   3          A.       Hmm, sorry.          I don't
   4    understand.
   5          Q.       Do you see at the bottom of
   6    that page, your name, RANSOME_000158?
   7          A.       Yes.
   8          Q.       All right.         And that's on a
   9    document that is an expired passport?
  10          A.       Yes.
  11          Q.       This is not your current
  12    passport?
  13                   MR. GUIRGUIS:           Objection,
  14          asked and answered.
  15          A.       No.
  16          Q.       You have another passport
  17    that's not this passport that's
  18    currently in effect?
  19                   MR. GUIRGUIS:           Objection,
  20          asked and answered.
  21          Q.       Correct?
  22          A.       Yes.
  23          Q.       If I could also have you
  24    take a look at -- and I'll have to
  25    show, if you can see, there are the
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 277 of 469
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                                                                   Page 276
   1               HIGHLY CONFIDENTIAL AEO
   2    passport page numbers --
   3          A.       Mm-hmm.
   4          Q.       -- that show up on a
   5    passport.
   6          A.       Yeah.
   7          Q.       And these have been put in
   8    some order.
   9          A.       Mm-hmm, the order of my
  10    passport, yes.
  11          Q.       Right.       That's not how they
  12    were produced, but that's the order
  13    they're in now.
  14          A.       Okay.
  15          Q.       If we could have you turn to
  16    RANSOME 162, which is page 16 of your
  17    passport.
  18                   MR. GUIRGUIS:           Is that the
  19          front -- sorry, 162.
  20                   MS. MENNINGER:           They're not
  21          in Bates order.            They're put in
  22          the order of the passport.
  23                   THE WITNESS:          Oh, yeah.
  24          Mm-hmm.
  25                   MS. MENNINGER:           It's page
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                                                                   Page 277
   1                HIGHLY CONFIDENTIAL AEO
   2          16.
   3          Q.       Do you see on that page a
   4    stamp from the Department of Homeland
   5    Security of the U.S., dated
   6    October 19, 2006?
   7          A.       Mm-hmm.
   8          Q.       Does that indicate to you
   9    that you were admitted to visit the
  10    U.S. on October 19th of 2006?
  11          A.       Yes, it does.
  12          Q.       Do you believe October 19th
  13    is during the summer in the U.S.?
  14          A.       No.     I don't see the
  15    relevance.
  16          Q.       What season do you think
  17    October 19th is in the U.S.?
  18          A.       Okay.      Well, considering I
  19    arrived in September, October's in
  20    winter.       But I arrived in September.
  21          Q.       Okay.      Well, do you believe
  22    that you did not enter the U.S. on
  23    October 19th, 2006?
  24          A.       Well, it's stamped.
  25          Q.       Does it say "admitted"?
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                                                                   Page 278
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       "Admitted," yes.
   3          Q.       Does it say "October 19,
   4    2006"?
   5          A.       Yes.
   6          Q.       Does it say "Department of
   7    Homeland Security, U.S. Customs and
   8    Border Patrol"?
   9          A.       Yes.
  10          Q.       So you do or do not believe
  11    you were admitted to the United States
  12    on October 19, 2006?
  13          A.       I flew in and had my
  14    passport stamped after I went on my
  15    trip to London in the UK.
  16                   Every time you go into a --
  17    as you all know, using your passport,
  18    every time you go into a new country,
  19    if you don't have their passport, you
  20    get a stamp.          So if you go in several
  21    times, every time you go into that new
  22    country, it gets stamped.
  23          Q.       So you think you went on a
  24    trip in October and came back to the
  25    U.S. on October 19th?
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                                                                   Page 279
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       I obviously went -- I
   3    arrived in New York a day on the 19th
   4    of October.
   5          Q.       Where were you coming from
   6    on October 19th?
   7          A.       I can't remember.
   8          Q.       You have no idea?
   9          A.       I think it was London.                I
  10    made a trip to London.
  11          Q.       And how long were you in
  12    London in October?
  13          A.       I can't remember.
  14          Q.       A week?
  15          A.       I can't remember.
  16          Q.       Who paid for that ticket?
  17          A.       Myself.
  18          Q.       Did you go with anyone?
  19          A.       No.
  20          Q.       Did you have a new 90 days
  21    that began on October 19th?
  22          A.       Yes.      It automatically
  23    starts every time you enter.
  24          Q.       So in order to be compliant
  25    with that visa, you needed to leave
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 281 of 469
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                                                                   Page 280
   1               HIGHLY CONFIDENTIAL AEO
   2    within 90 days of October 19th?
   3          A.       That's correct.
   4          Q.       Do you know which airline
   5    you flew to London in 2006?
   6          A.       I can't remember.
   7          Q.       Do you know which class of
   8    service you flew?
   9          A.       I can't remember.
  10          Q.       Where is your current
  11    passport right now?
  12          A.       It is in my hotel room.
  13    Here, in -- it's in my hotel room.
  14          Q.       Got it.
  15                   Did                fly with you to
  16    London?
  17          A.       No.
  18          Q.       Did Jeffrey pay for you to
  19    go to London?
  20          A.       I can't remember.
  21          Q.       Do you know whether you had
  22    met Jeffrey before you went to London
  23    in October of 2006?
  24          A.       I had met Jeffrey by then.
  25          Q.       Do you have any emails or
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 282 of 469
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                                                                   Page 281
   1               HIGHLY CONFIDENTIAL AEO
   2    anything reflecting your travel plans
   3    on that trip?
   4          A.       Oh, I think there was a
   5    plane, I think there was a plane
   6    booking or something.
   7          Q.       For that trip to London in
   8    October of 2006?
   9          A.       I think so.          I would have to
  10    double check.
  11          Q.       Where would you check?
  12          A.       Well, I'm trying to go and
  13    find it in my email, my old email
  14    account, where all of my other emails
  15    exchanged between                               and
  16                         are.
  17          Q.       Do you have any frequent
  18    flyer accounts?
  19          A.       No.
  20          Q.       Did your first trip to the
  21    private island in the U.S. Virgin
  22    Islands before or after you went to
  23    London and returned?
  24          A.       What was the date in October
  25    again?      19th.      I can't remember.              I
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 283 of 469
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                                                                   Page 282
   1               HIGHLY CONFIDENTIAL AEO
   2    mean, I said earlier I can't remember
   3    the first time.
   4          Q.       In the next sentence you
   5    say, "After that first trip, I
   6    traveled to the island several more
   7    times, usually on one of Jeffrey's
   8    private airplanes, and always at his
   9    direction."
  10                   What do you mean by "always
  11    at his direction"?
  12          A.       Well, I wasn't going to go
  13    there on my own, so I would have to be
  14    invited first.           I didn't want to just
  15    go chill on my own.              It was Jeffrey's
  16    house, so he had to phone me and
  17    invite me before I decided I wanted to
  18    go to his island.
  19          Q.       So he phoned you, he invited
  20    you, and you decided you wanted to go
  21    to his island.
  22          A.       No, I had to go to his
  23    island.
  24          Q.       Why did you have to go to
  25    his island?
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                                                                   Page 283
   1                HIGHLY CONFIDENTIAL AEO
   2           A.      Because I was frightened of
   3    him.
   4           Q.      Did Jeffrey ever hit you?
   5           A.      No, he didn't.
   6           Q.      Did you ever see Jeffrey
   7    with a weapon?
   8           A.      No.
   9           Q.      Have you reviewed any flight
  10    logs?
  11           A.      No, not that I recall.
  12           Q.      You've never seen a flight
  13    log?
  14           A.      I've seen one which showed
  15    my name.
  16           Q.      When did you first become
  17    frightened of Jeffrey Epstein?
  18           A.      During my time with him in
  19    New York.
  20           Q.      What period of time?
  21           A.      Pretty much soon after I met
  22    him, actually, and he forced the
  23    vibrator on my vagina for an extended
  24    period of time, which considerably
  25    hurt my lady region, actually.
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                                                                   Page 284
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       That's when you became
   3    frightened of him?
   4          A.       Yes, absolutely.
   5          Q.       You've seen a flight log
   6    with your name on one flight?
   7          A.       Yes, I have.
   8          Q.       When did you see that?
   9          A.       I saw it in January, and it
  10    was to confirm that --
  11                   MR. GUIRGUIS:           I'm going to
  12          object.       Hold on.
  13                   Is this -- if this is a
  14          communication with counsel, you
  15          should understand, any time she
  16          asks you a question, if the
  17          answer is it was with counsel,
  18          then you don't answer.
  19                   Was this with counsel?
  20                   THE WITNESS:          Yes.
  21                   MR. GUIRGUIS:           Don't answer.
  22                   MS. MENNINGER:           Seeing a
  23          document when you're with counsel
  24          is privileged?
  25                   MR. GUIRGUIS:           I don't know
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 286 of 469
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                                                                   Page 285
   1               HIGHLY CONFIDENTIAL AEO
   2          what your next question is going
   3          to be, so...
   4                   MS. MENNINGER:           I asked her
   5          when she saw the flight logs.
   6          And she said in January, correct?
   7                   MR. GUIRGUIS:           Right.      And
   8          then she was about to continue
   9          the answer.         I'm fine with the I
  10          saw it in January.             That's why I
  11          didn't object when you asked the
  12          question.
  13                   I'm objecting to her
  14          continuing and caution the
  15          witness not to waive her
  16          attorney/client privilege.
  17          Q.       Don't tell me anything that
  18    your lawyer said to you.
  19                   You reviewed the flight log
  20    in January?
  21          A.       I reviewed one flight log,
  22    which confirmed that I was there.
  23          Q.       What other documents did you
  24    review?
  25          A.       No other documents.
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 287 of 469
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                                                                   Page 286
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       In addition to Jeffrey and
   3               what other girls did you have
   4    sexual relations with on the island?
   5          A.       I can't remember their
   6    names.
   7          Q.       Can you remember any of
   8    their names?
   9          A.       There were a few.
  10          Q.       Can you remember any of
  11    their names?
  12          A.                            -- sorry, I
  13    misunderstood your question.                   I didn't
  14    have sexual relations with
  15    Sorry, I misunderstood you.
  16                   It was                          and
  17                And there were a couple
  18    others, I don't remember their names.
  19          Q.       What are other guests did
  20    you have sexual relations with on the
  21    island?
  22          A.       It was only those ones.
  23          Q.       Do you know the ages of any
  24    of the individuals you had sexual
  25    relations with on the island?
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                                                                   Page 287
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       They were 18, I assumed.
   3                was around my age, was my age.
   4          Q.       In the next paragraph, you
   5    refer to meeting Ghislaine Maxwell on
   6    one of your visits to the island,
   7    correct?
   8          A.       Correct.
   9          Q.       You said, "Watching her
  10    interact with the other girls on the
  11    island, it became clear to me that she
  12    recruited all or many of them to the
  13    island."
  14                   What do you mean that?
  15          A.       That she recruited a lot of
  16    the girls.
  17          Q.       What did you see?
  18          A.       I saw how she interacted
  19    with all the girls.              You know, if you
  20    walk into any -- I mean, common
  21    sensewise, if you walk into a firm,
  22    you kind of know who the boss is.
  23                   You know, all the girls kind
  24    of reported to Ghislaine.                 Ghislaine
  25    was like the mama bear, if you know
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                                                                   Page 288
   1               HIGHLY CONFIDENTIAL AEO
   2    what I mean.          She called the shots; we
   3    had to listen to Ghislaine.
   4                   And Ghislaine was Jeffrey's
   5    right-hand woman, so, you know,
   6    whatever Jeffrey wanted went through
   7    Ghislaine and then filtered through.
   8          Q.       What did any girl report to
   9    Ghislaine in your presence?
  10                   MR. GUIRGUIS:           Objection.
  11          I'm not sure that's -- just
  12          objection to form.
  13          Q.       You said that the girls
  14    reported to Ghislaine.               What did you
  15    see or hear that caused you to say
  16    that?
  17          A.       Well, it's pretty obvious.
  18    I mean, Ghislaine called the shots.
  19                   So, for example, when -- I
  20    can't remember specifics, but
  21    I think, had an issue.               And she had to
  22    speak to Ghislaine if there was ever
  23    an issue.
  24          Q.       What issue?
  25          A.       I can't remember
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 290 of 469
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                                                                   Page 289
   1               HIGHLY CONFIDENTIAL AEO
   2    specifically.          We always have issues.
   3    Girls have issues.             We have period
   4    pains, we've got headaches.
   5                   You know, we had to look a
   6    certain way for Jeffrey.                So if we put
   7    on a little bit of weight or, for
   8    example, if my hairstyle was wrong --
   9    Jeffrey liked girls to look a certain
  10    way.
  11                   So, for example, there was
  12    one occasion where Jeffrey didn't like
  13    my hair and Ghislaine told me to
  14    change it.
  15                   So there was -- everyone was
  16    afraid of Ghislaine.              All the girls
  17    were afraid of her, so everyone --
  18                        reported to her.
  19             reported to her.            I don't know
  20    how to tell you.
  21                   So when I say reporting, I
  22    witnessed with my own two eyes
  23               reporting to Ghislaine in front
  24    of me, but I can't remember specifics.
  25    They were talking about girls.                    I
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 291 of 469
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                                                                   Page 290
   1               HIGHLY CONFIDENTIAL AEO
   2    can't remember the specific
   3    conversation.          But every single person
   4    100 percent, 200 percent reported to
   5    Ghislaine.         100 percent.
   6          Q.       Okay.      Great.       I appreciate
   7    your certainty.
   8          A.       Absolutely.
   9          Q.       So we have
  10    having a discussion with Ghislaine
  11    about girls.          What other discussions
  12    did you overhear?
  13          A.       There were various
  14    discussions.          We were always talking
  15    about girls.          There was a constant
  16    influx of girls.            There were so many
  17    girls.      There were girls in Miami.
  18    There were guests coming.                 There
  19    were --
  20                   It's like, I'm sure if you
  21    go into a hooker's brothel and see how
  22    they run their business, I mean, it's
  23    just general conversation about who's
  24    going to have sex with who and, you
  25    know -- what do you talk about when
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 292 of 469
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                                                                     Page 291
   1                HIGHLY CONFIDENTIAL AEO
   2    all do you is have sex every day on
   3    rotation?        I mean, what is there to
   4    talk about?
   5          Q.       You were in Miami?              When did
   6    you go to Miami?
   7                   MR. GUIRGUIS:           Objection.
   8                   MS. MCCAWLEY:           Objection.
   9          A.       No, I didn't go to Miami.                 I
  10    didn't say that.
  11          Q.       Apart from general
  12    conversation, do you recall any
  13    specifics of any female reporting to
  14    Ghislaine?
  15          A.       Yes, I saw.          And with my own
  16    eyes, I saw how Ghislaine and
  17               and the other girls reported to
  18    them.
  19                   If you would like me to
  20    report specific conversations, I
  21    can't.       But in my being an adult and
  22    having common sense and a sensible
  23    head on my shoulders, you can quite
  24    quickly work out who is the management
  25    there.
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 293 of 469
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                                                                   Page 292
   1               HIGHLY CONFIDENTIAL AEO
   2                   And we were told by Jeffrey
   3    Epstein to listen to Ghislaine.                    So
   4    Ghislaine was the main right-hand
   5    woman of Jeffrey Epstein.                 We were
   6    told by Jeffrey Epstein to listen to
   7    Ghislaine.
   8          Q.       When did Jeffrey Epstein
   9    tell you that?
  10          A.       I can't remember the exact
  11    time, date or where I was standing, on
  12    which pavement or crack.                But it was
  13    around the time that I met Ghislaine.
  14          Q.       Which was on the island?
  15          A.       I can't remember what date,
  16    time, pavement, where I was standing.
  17    But I was told during around the time
  18    I met Ghislaine that I had to listen
  19    to Ghislaine.
  20          Q.       By Jeffrey?
  21          A.       By Jeffrey.          And every
  22    single other girl that I've ever met
  23    with Jeffrey.
  24          Q.       And we know three names, but
  25    that's it?
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                                                                     Page 293
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       Those are three names that I
   3    remember, but I met -- I met lots of
   4    girls.      Lots.
   5          Q.       Okay.
   6          A.       Yeah.
   7          Q.       What activities was
   8    Ghislaine Maxwell in charge of?
   9          A.       In terms of -- can you
  10    explain activities, please?
  11          Q.       I'm actually just looking at
  12    your affidavit on paragraph 3, so why
  13    don't you take a look at that.
  14          A.       Activities.          Activities.         So
  15    when we had to go to the island, when
  16    we had to go see Jeffrey in New York,
  17    when we had to go to his mansion.
  18                   You know, we saw Jeffrey
  19    pretty regularly.            I was on rotation
  20    pretty much every day, so -- amongst
  21    other girls.
  22                   So Ghislaine also called
  23    me -- she also called the other
  24    girls -- when Jeffrey wanted his
  25    massage.       So there was an occasion
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 295 of 469
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                                                                   Page 294
   1               HIGHLY CONFIDENTIAL AEO
   2    that I didn't want to go, and she got
   3    angry with me because I didn't want to
   4    give Jeffrey a massage.
   5          Q.       When was that?
   6          A.       It was on one of my -- one
   7    of my stays on the island.                 I can't
   8    remember what specific date or what
   9    specific time.
  10          Q.       How many times were you on
  11    the island with Ghislaine?
  12          A.       I can't remember
  13    specifically.
  14          Q.       More than once?
  15          A.       Yeah.
  16          Q.       More than twice?
  17          A.       I can't remember.             I also
  18    saw her in New York quite a lot, so --
  19    I mean, this isn't just based on the
  20    island.       I spent just as much time
  21    with Jeffrey and Ghislaine in New
  22    York, so we can't just concentrate on
  23    the island, please.
  24          Q.       Did you believe Ghislaine
  25    was living in New York in January of
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                                                                   Page 295
   1               HIGHLY CONFIDENTIAL AEO
   2    2007?
   3          A.       I don't know where the hell
   4    Ghislaine lived, to be honest.
   5          Q.       But you saw her regularly in
   6    January of 2007?
   7                   MR. GUIRGUIS:           Objection.
   8                   MS. MCCAWLEY:           Objection.
   9          A.       Regularly, what's regularly?
  10    I saw her a few times.               I don't know
  11    where she was living.               I tried to
  12    actually not spend -- well, I tried to
  13    spend as little time with her as
  14    possible because every time I saw her
  15    on the island, she would call me to
  16    give Jeffrey a massage, so...
  17          Q.       You saw her more than once
  18    on the island and you saw her a few
  19    times in New York.             Did you see her
  20    anywhere else?
  21                   MR. GUIRGUIS:           Objection.
  22                   MS. MCCAWLEY:           Objection,
  23          mischaracterizes testimony.
  24          A.       No.
  25          Q.       In New York, you saw her at
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                                                                   Page 296
   1                HIGHLY CONFIDENTIAL AEO
   2    Jeffrey's office.            Did you see her
   3    anywhere else in New York?
   4           A.      I can't remember.             I saw
   5    them, I spent a lot of time with them,
   6    so...
   7           Q.      How much time did you spend
   8    with Ghislaine?
   9           A.      Enough.
  10                   MR. GUIRGUIS:           Objection.
  11           That's vague.
  12           A.      Enough time.          I mean, how
  13    long is a piece of string?                 I was here
  14    for a certain amount of time, and in
  15    that time, the majority of the time I
  16    spent with Jeffrey Epstein being
  17    involved with his pedophiling -- I
  18    mean, how much time have you spent
  19    with him?        I don't know.          It wasn't a
  20    lot of time, because I couldn't stand
  21    the woman and she was a bully and no
  22    one liked her, so no one really went
  23    out of their way to spend time with
  24    her.
  25                   So I didn't spend a lot of
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 298 of 469
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                                                                   Page 297
   1                HIGHLY CONFIDENTIAL AEO
   2    time with her because she's a
   3    particularly unpleasant person.                    And
   4    when I did spend time with her, it was
   5    either directing me to massage Jeffrey
   6    or her showing me how to massage
   7    Jeffrey, or I spent a lot of time with
   8    her on the island.
   9                   Yeah, so how much time did I
  10    spend with Ghislaine in total of
  11    hours?       I can't recall because it was
  12    ten years ago.           I mean, how many hours
  13    did I spend with Jeffrey?                 I mean,
  14    what a silly question.
  15           Q.      How many days did you see
  16    Ghislaine?
  17           A.      Don't know.
  18           Q.      Less than ten or more than
  19    ten?
  20           A.      I can't remember.
  21           Q.      Less than five or more than
  22    five?
  23           A.      Can't remember.
  24           Q.      You indicate that many girls
  25    you saw appeared to be young
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 299 of 469
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                                                                   Page 298
   1               HIGHLY CONFIDENTIAL AEO
   2    teenagers.         Where did you see young
   3    teenagers?
   4          A.       It says they appeared to be
   5    teenagers.         All the girls I saw looked
   6    young.
   7          Q.       Okay.      Where did you see
   8    girls who appeared to be young
   9    teenagers?
  10          A.       On the island and in New
  11    York.
  12          Q.       Describe for me a young
  13    teenager that you saw.
  14                   MR. GUIRGUIS:           Objection,
  15          mischaracterizes testimony.
  16          A.       So I never said I saw a
  17    teenager.        They appeared to look like
  18    teenagers, okay?                        was -- I try
  19    to look at                       I don't know how
  20    old                is, but she looked young.
  21    And I'm sure you can agree, as a mom,
  22    in the photos, that she looks pretty
  23    young for an old man to be bonking.
  24    So she looks really young.                 She looks
  25    younger than me.
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                                                                    Page 299
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Did you see her bonk
   3    someone?
   4          A.       No, but she told me.               She
   5    told me and                 that they abused her
   6    on the island.
   7          Q.                 said they abused who
   8    on the island?
   9                   MR. GUIRGUIS:           Objection,
  10          mischaracterizes testimony.
  11          That's not what she said.
  12          A.                    said that Jeffrey
  13    and            had abused her.
  14          Q.       Okay.      And do you have any
  15    way to reach
  16          A.       I haven't spoken to her.                 I
  17    don't -- I just know her first name.
  18          Q.       You said you recall seeing
  19    "a particularly young, thin girl who
  20    looked well under 18," and you recall
  21    asking her her age.
  22                   When did you see this
  23    particularly young, thin girl who
  24    looked well under 18              and you recall
  25    asking her age?
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                                                                   Page 300
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       It was on the trips.               I
   3    think you've got the photos.
   4    is in the photos.            So it was that trip
   5    in December.
   6          Q.       Did you take a photo of the
   7    young, thin girl who looked well under
   8    18?
   9          A.       I think I did take a photo
  10    of her.       I don't have any more photos
  11    of her of my own.
  12                   Well, I have photos of her.
  13    You've got the photos.
  14          Q.       So the person --
  15          A.       I've given you all the
  16    photos that I have.
  17          Q.       The person that you wrote
  18    here was "a particularly young, thin
  19    girl who looked well under 18" is
  20    reflected in photographs you've
  21    produced in this case?
  22          A.       That's correct.
  23          Q.       And do you know her name?
  24          A.       Sorry, can you just repeat
  25    that?      Didn't I just answer this
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 302 of 469
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                                                                   Page 301
   1               HIGHLY CONFIDENTIAL AEO
   2    question?
   3                   Yeah, that's                     who I
   4    was particularly concerned about,
   5    about her age, in the photos that I
   6    have supplied with -- you with, with
   7    me in them with
   8          Q.       So in your affidavit in
   9    paragraph 3 where you talk about "a
  10    particularly young, thin girl who
  11    looked well under 18," you are
  12    referring to
  13          A.       Yes.
  14          Q.       And you said you later
  15    learned she was a
  16          A.       That's correct.
  17          Q.       How did you learn she was a
  18
  19          A.       Because she told me.               And
  20    she told me Jeffrey Epstein was
  21    funding her
  22          Q.       And where was her
  23
  24          A.       I don't know.
  25          Q.       When did she tell you this?
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                                                                   Page 302
   1                HIGHLY CONFIDENTIAL AEO
   2           A.      During that December trip.
   3           Q.      Was that the only trip you
   4    took with her?
   5           A.      I can't -- I can't remember.
   6    I think there was another trip, but I
   7    can't remember.
   8           Q.      Did you ever see her name on
   9    a flight log?
  10           A.      No.
  11           Q.      Was she on the plane with
  12    you?
  13           A.      I can't -- I can't remember.
  14    I can't remember.            Yeah, I just
  15    remember                  on the island.
  16           Q.      Other than her telling you
  17    she was a                        did she tell you
  18    anything else about herself?
  19           A.      Yeah, you know, I think she
  20    came from quite a tough background.
  21           Q.      What did she say?
  22           A.      Well, I can't remember the
  23    specifics, but I remember that -- I
  24    don't know if she had issues with her
  25    parents -- I don't know.                She was a
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 304 of 469
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                                                                   Page 303
   1                 HIGHLY CONFIDENTIAL AEO
   2    bit of a -- you know, she was a -- I
   3    was worried about her.
   4           Q.       What did she say to cause
   5    you to be worried about her?
   6           A.       Well, I first met her -- she
   7    was new to Jeffrey Epstein's list of
   8    girls in December.             And when I first
   9    met her, she was a really bubbly girl
  10    and -- I mean, she was young.                   She was
  11    inexperienced.           She -- she was frail.
  12    And she changed quite quickly after
  13    that first trip.
  14           Q.       How many trips did you take
  15    with her?
  16           A.       I think it was more than
  17    one.        I can't remember.          I saw her a
  18    lot.
  19           Q.       Where did you see her?
  20           A.       Oh, it was either New York
  21    or the island.           I mean, I can't
  22    remember.
  23           Q.       In New York, where did you
  24    see her?
  25           A.       I think we met -- like we
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 305 of 469
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                                                                   Page 304
   1               HIGHLY CONFIDENTIAL AEO
   2    all met a couple times in New York.
   3    We all kind of knew each other.
   4          Q.       Did you ever see her
   5          A.       No.
   6          Q.       Did she live in an apartment
   7    that you went to?
   8          A.       I can't remember about her
   9    living arrangements.
  10          Q.       Do you know where her
  11               was?
  12          A.       No.
  13          Q.       When did you ask to see her
  14    passport?
  15          A.       When we shortly arrived to
  16    the Virgin Islands, she looked
  17    particularly young.              And you know what
  18    girls are like with passport -- with
  19    passport pictures.             They don't -- they
  20    get embarrassed about their passport
  21    pictures.
  22                   And she was quite cagey
  23    about her passport, so she didn't show
  24    me.     I don't know whether that -- I
  25    don't know.          She just didn't show me.
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                                                                   Page 305
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Did she say why she wasn't
   3    showing it to you?
   4          A.       She said it was because she
   5    was embarrassed about the picture.
   6          Q.       Were you living in the same
   7    room with her on the island?
   8          A.       Yeah, we stayed in the same
   9    room.
  10          Q.       Did you ever attempt to look
  11    at her passport when she wasn't there?
  12          A.       No.
  13          Q.       Did you ever call any
  14    authorities about having seen this
  15    young, thin girl who looked well under
  16    18?
  17          A.       No.
  18          Q.       In the fourth paragraph, you
  19    described being lent out to Jeffrey's
  20    friends in New York.
  21                   Which friends of Jeffrey's
  22    were you lent out to to have sex?
  23          A.       Alan Dershowitz.
  24          Q.       Who else?
  25          A.                    All the girls that
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 307 of 469
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                                                                   Page 306
   1               HIGHLY CONFIDENTIAL AEO
   2    were involved, really.               I had to have
   3    sex with them, so...
   4          Q.       Well, what do you mean by
   5    lent out?
   6          A.       Lent out as in -- so I was
   7    one of the girls that regularly --
   8    that Jeffrey regularly asked to see
   9    sexually.
  10                   And what my description was
  11    of being lent out is when -- it's
  12    almost like Jeffrey's quite possessive
  13    of his girls.          He's -- you know, he
  14    lends them out.
  15                   He samples the girls, he has
  16    friends come over to New York or the
  17    island and they -- they get to see who
  18    all the girls are around Jeffrey, and
  19    they get to pick one which they want
  20    to be with.
  21          Q.       So you were with Jeffrey and
  22    a number of other females in New York
  23    when a person, a friend would come in,
  24    Alan Dershowitz would come in and look
  25    at all of the girls and choose one?
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                                                                   Page 307
   1               HIGHLY CONFIDENTIAL AEO
   2                   MS. MCCAWLEY:           Objection.
   3                   MR. GUIRGUIS:           Objection,
   4          mischaracterizes testimony.
   5                   MS. MENNINGER:           I'm asking a
   6          question.
   7                   MR. GUIRGUIS:           I'm objecting
   8          to your question.
   9          A.       So let me give you a
  10    specific example of that.                 So, for
  11    example, there was an occasion where I
  12    and some of the other girls were on
  13    the island.         So a specific occasion
  14    was when                 -- I don't know his
  15    surname, but he owns                       or
  16    whatever, and he came with his
  17    fiancée.
  18                   So, you know, you got a
  19    table with Jeffrey Epstein of lots of
  20    women -- girls, women, whatever --
  21    beautiful girls, and you've got
  22    friends joining him.              And friends
  23    popped over all the time.
  24                   So I had other -- there were
  25    other males that visited Jeffrey on
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 309 of 469
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                                                                   Page 308
   1                 HIGHLY CONFIDENTIAL AEO
   2    the island.         I don't know who they
   3    are.        I can't remember their names.
   4                    But, yeah.        I mean, he
   5    didn't -- he didn't line them up and
   6    go, hey, boys, pick which vagina you
   7    want.        He didn't do it that blatantly.
   8                    But they had spent time with
   9    the girls during a lunch on the
  10    island -- yeah, I mean, they -- his
  11    friends would spend time with us.
  12           Q.       Okay.     In paragraph 4, where
  13    you say, "At his townhouse, I was also
  14    lent out by him to his friends and
  15    associates to have sex."
  16                    What do you mean by that
  17    sentence?
  18           A.       Well, I mean, it's quite
  19    obvious with the incidents -- well,
  20    the incident that happened with Alan.
  21    So I would classify that as being lent
  22    out.        I didn't willingly go, hey,
  23    Alan, let's have some fun, because no
  24    one on the planet would say that to
  25    Alan.
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 310 of 469
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                                                                   Page 309
   1                HIGHLY CONFIDENTIAL AEO
   2           Q.      So you say "lent out by him
   3    to his friends and associates."
   4                   Who are the friends and
   5    associates that you were lent out to?
   6                   MR. GUIRGUIS:           Objection,
   7           asked and answered.
   8           A.      Alan Dershowitz and
   9    The girls that I mentioned.                  There
  10    were other girls that I had sexual
  11    intercourse with, but I can't remember
  12    their names.
  13           Q.      Were there any other men?
  14           A.      No, there weren't any other
  15    men.
  16           Q.
  17           A.      No.
  18           Q.
  19           A.      No, no, I don't know that.
  20           Q.                                  Yes?      No?
  21           A.      No.     That I would be lent
  22    out to have sex with?
  23           Q.      Yes.
  24           A.      No, no.
  25           Q.      Tom Pritzker?
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 311 of 469
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                                                                   Page 310
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       No.
   3          Q.
   4          A.       No.
   5          Q.       Were you paid money after
   6    you had sex with Alan Dershowitz?
   7          A.       No.
   8          Q.       Were you paid money after
   9    you had sex with
  10          A.       No.
  11          Q.       Were you paid money after
  12    you had sex with
  13          A.       No.
  14          Q.       Were you paid money after
  15    you had sex with any of the other
  16    girls --
  17          A.       No.
  18          Q.       -- of names you can't
  19    remember?
  20          A.       I was only ever paid to --
  21    when I had sex with Jeffrey himself.
  22          Q.       In the course of massage?
  23          A.       Yes.
  24          Q.       Did you ever have sex with
  25    Jeffrey not in a massage context?
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 312 of 469
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                                                                     Page 311
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       Yeah, we -- yeah.             He was
   3    really intimate all the time.                   We
   4    had -- multiple times.               I can't tell
   5    you how many times I've slept with
   6    Jeffrey.       I mean, we were on rotation.
   7    Every single day, it was -- sometimes
   8    twice a day I was called.
   9                   You know, Ghislaine,
  10               -- you know, it was -- yeah.                  I
  11    mean, how -- we were on rotation
  12    pretty much the whole time I was here.
  13          Q.       And when you say you were on
  14    rotation, you mean you were having sex
  15    with Jeffrey multiple times per day?
  16          A.       No.     As in when I was
  17    finished, another girl was called by
  18    Ghislaine.         And when they had
  19    finished, another girl was called.
  20          Q.       How do you know that another
  21    girl was called by Ghislaine?
  22          A.       Because I was there, and I
  23    saw it and heard it with all my
  24    senses.       I saw Ghislaine call another
  25    girl, and she called me herself, to go
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 313 of 469
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                                                                     Page 312
   1               HIGHLY CONFIDENTIAL AEO
   2    give Jeffrey Epstein a sexual massage.
   3          Q.       What do you mean by call?                 I
   4    guess I'm thinking like telephone.
   5    That may be my --
   6          A.       No.     As in going up to the
   7    person and going, Jeffrey wants to see
   8    you in his bedroom, which meant it's
   9    your turn to be abused.                That kind of
  10    thing.
  11          Q.       And this is on the island?
  12          A.       This is on the island.
  13          Q.       You heard -- as soon as you
  14    were done with Jeffrey, you heard
  15    Ghislaine go up to another girl and
  16    say, it's your turn with Jeffrey?
  17          A.       So every single day, I
  18    mean -- so I don't know how quickly
  19    Jeffrey's sperm bank fills up.                    I
  20    mean, I know guys can normally cum
  21    once or twice a day, but Jeffrey's not
  22    a normal person.
  23                   So, I mean, our rotation
  24    changed every day that specific trip
  25    we had in December.
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                                                                   Page 313
   1               HIGHLY CONFIDENTIAL AEO
   2                   So, for example, I would be
   3    called.       Maybe a couple hours when
   4    Jeffrey had a little, you know, break,
   5    another girl was called,
   6    Then another girl was called.                     Every
   7    single day.
   8                   We tried to hide on
   9    different -- like, so we wouldn't have
  10    to get called.           We'd generally have to
  11    sit in the main area.               There was like
  12    a big pool, the main seating area.
  13    There was a big table.               We'd sit there
  14    and do kind of art on the table, and
  15    we always had to be around.                  We
  16    weren't allowed to go very far on the
  17    island.
  18                   We always had to report to
  19    Ghislaine and Jeffrey and tell them if
  20    we were going down to the beach to
  21    swim because they had an inflatable
  22    trampoline.         So they -- I mean, we
  23    always had to tell Ghislaine and
  24    Jeffrey where we were at all times.
  25          Q.       On the island?
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                                                                   Page 314
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       On the island, yeah.
   3          Q.       In New York -- strike that.
   4                   How many times a day, to
   5    your knowledge, did Jeffrey Epstein
   6    have sex?
   7          A.       To my knowledge, from what I
   8    saw and what I've witnessed -- I don't
   9    know what he did when I wasn't
  10    there -- up to about three, four times
  11    a day.
  12          Q.       So you had sex with him
  13    three or four times a day?
  14                   MS. MCCAWLEY:           Objection.
  15          A.       No.
  16          Q.       I'm sorry.         You said to your
  17    knowledge, what you witnessed.                    I'm
  18    trying to understand what you mean.
  19          A.       So as soon as I slept with
  20    Jeffrey, a certain time would go by.
  21    He maybe had a coffee.               And then there
  22    was a specific occasion where then
  23                was called to go and do that
  24    for Jeffrey.
  25          Q.       And you were not in the room
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 316 of 469
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                                                                   Page 315
   1                HIGHLY CONFIDENTIAL AEO
   2    when                was with Jeffrey?
   3           A.      No, but I was certainly
   4    there afterwards, because she was
   5    forced to have sex with                        and
   6    Jeffrey Epstein.
   7           Q.      That happened?
   8           A.      Yes.      And she had never had
   9    a female experience before and she was
  10    very upset, very upset.
  11           Q.      So you didn't personally see
  12    it, but you talked to                          and saw
  13    her afterwards?
  14           A.      Well, I don't think the
  15    girls, when they were called, were
  16    making cups of tea with Jeffrey in his
  17    room.       So -- and when a girl comes out
  18    crying and I know that I've been
  19    sexually abused, it's quite safe to
  20    assume.
  21                   And when that girl tells you
  22    she's being forced to have sex with
  23    Jeffrey Epstein and                       you know,
  24    it's there, isn't it.
  25           Q.      So she told you?
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                                                                     Page 316
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       Yes, she told me.             And with
   3    my own intelligence, in my -- you
   4    know, I can see with my own senses.                      I
   5    can hear things, see things.                   It's
   6    quite obvious what was going on.
   7                   MS. MENNINGER:           I need a
   8          small break.
   9                   (Time noted:          4:17 p.m.)
  10                   (Recess.)
  11                   (Time noted:          4:28 p.m.)
  12          Q.       On Defendant's Exhibit 3 in
  13    the last paragraph, you describe
  14    having had sex with Alan Dershowitz,
  15    correct?
  16          A.       Correct.
  17          Q.       You say in the last sentence
  18    that you recall "specific key details
  19    of his person."
  20                   What specific key details of
  21    his person do you recall?
  22          A.       You know, I recall his
  23    appearance.         You know, I'd met him,
  24    you know, twice beforehand.                  So in
  25    terms of specific key details, I can
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 318 of 469
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                                                                   Page 317
   1               HIGHLY CONFIDENTIAL AEO
   2    describe how he looked.
   3          Q.       How did he look?
   4          A.       He was, as I've explained --
   5    described earlier, quite -- quite an
   6    elderly man, wore glasses, quite
   7    pasty, pasty-skinned.               Not well, I
   8    assumed, not at all well.                 He wasn't
   9    well, W-E-L-L.           Like, he wasn't a --
  10    he wasn't -- he wasn't a healthy
  11    person.
  12          Q.       And do you recall whether he
  13    had a mustache?
  14          A.       I can't -- I can't recall if
  15    he had a mustache, no.
  16          Q.       Which of those that you just
  17    described are the key details you are
  18    referring to in paragraph 4?
  19                   MS. MCCAWLEY:           Objection,
  20          asked and answered.
  21          A.       As I've described.              I
  22    mean...
  23          Q.       Pasty skin?
  24          A.       Pasty skin, wrinkly.                I
  25    didn't -- I tried to pay as little
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 319 of 469
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                                                                   Page 318
   1               HIGHLY CONFIDENTIAL AEO
   2    attention to him as possible.                   During
   3    that session, I was completely
   4    overwhelmed.          I -- it completely took
   5    me by surprise, that incident, and I
   6    was exceptionally upset by what was
   7    going on because I felt that I had
   8    been coerced beforehand, that it had
   9    been prior arranged to me arriving
  10    there.
  11          Q.       Can you describe any other
  12    specific key detail of his person that
  13    you haven't already mentioned?
  14          A.       I can't remember specific
  15    ones.      It was -- I just tried to just
  16    get it done as soon as possible to get
  17    out of there.          I couldn't wait to get
  18    out of there quick enough, to be
  19    honest.
  20          Q.       Did you tell your attorneys,
  21    I recall specific key details of this
  22    person?
  23          A.       I think I've just described
  24    that key details of this person.
  25          Q.       Did you say those words to
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                                                                   Page 319
   1                HIGHLY CONFIDENTIAL AEO
   2    your attorneys when you drafted this?
   3                   MR. GUIRGUIS:           Objection,
   4          asked and answered.
   5                   MS. MCCAWLEY:           Objection.
   6          A.       I do recall specific
   7    details, which I've given.
   8          Q.       And they're the ones you've
   9    already given?
  10          A.       I don't -- as I specified,
  11    this was a coerced event that took
  12    place.       I was extremely upset.               I did
  13    not want to have sexual intercourse
  14    with Alan.
  15                   I did not -- I don't -- I
  16    don't remember specific -- I don't
  17    remember specific things.                 I remember
  18               -- me paying particular
  19    attention to                 because I didn't
  20    want Alan touching me, so it was -- as
  21    I said, it was a traumatic experience.
  22                   I don't remember the finer
  23    details of Alan Dershowitz's private
  24    parts or any other thing.                 I tried to
  25    spend as little time as possible
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                                                                   Page 320
   1               HIGHLY CONFIDENTIAL AEO
   2    touching Alan, as I'm sure you can
   3    imagine.
   4          Q.       How was it coerced?
   5          A.       It was coerced in the sense
   6    that when I arrived there, Alan
   7    Dershowitz was there and                        was
   8    there.      It was quite clear to me what
   9    their intention was after me arriving
  10    there.
  11          Q.       There being where?
  12          A.       Jeffrey's New York
  13    apartment.
  14          Q.       When you arrived at
  15    Jeffrey's New York apartment, Alan was
  16    already there?
  17          A.       Yes.
  18          Q.       And             was already there?
  19          A.       Yes.
  20          Q.       What were the specific key
  21    details of the sex acts that you can
  22    remember that you have not already
  23    described?
  24          A.       There was cunnilingus
  25    involved, masturbation.
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                                                                   Page 321
   1                HIGHLY CONFIDENTIAL AEO
   2           Q.      Who performed cunnilingus on
   3    who?
   4           A.      We all performed cunnilingus
   5    on each other.
   6           Q.      So did anyone perform
   7    cunnilingus on Mr. Dershowitz?
   8           A.      Is that the same as girls
   9    and boys?        Yeah, same definition.
  10           Q.      Did you perform cunnilingus
  11    on
  12           A.      Yes.
  13           Q.      Did she perform it on you?
  14           A.      Yes.
  15           Q.      Did Mr. Dershowitz perform
  16    it on you?
  17           A.      Yes.
  18           Q.      Did he perform it on
  19           A.      Yes.
  20           Q.      And any other specific key
  21    details of the sex acts you can
  22    describe?
  23           A.      There was a lot of touching,
  24    fondling, yeah.
  25           Q.      When you say Professor
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                                                                   Page 322
   1               HIGHLY CONFIDENTIAL AEO
   2    Dershowitz's name, you say Dershovitz
   3    with a V, phonetically, correct?
   4          A.       I'm slightly dyslexic and
   5    I'm terrible with names.                So it's
   6    known that I've always struggled with
   7    pronunciations, especially because of
   8    my accent as well.
   9          Q.       Do you believe you were
  10    introduced to him as Dershovitz with a
  11    V?
  12          A.       I was introduced to him as
  13    Alan.
  14          Q.       Did you ever hear anyone say
  15    his last name?
  16          A.       Yes.
  17          Q.       Did you hear those people
  18    say it with a V?
  19          A.       I can't recall the exact
  20    pronunciation of the tongue, but the
  21    way my ears hear words -- perhaps you
  22    can contact my university.                 I don't --
  23    I have difficulty with names and I'm
  24    slightly dyslexic, so...
  25                   MS. MENNINGER:           Okay.      Can
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                                                                   Page 323
   1               HIGHLY CONFIDENTIAL AEO
   2          you mark this as Defendant's
   3          Exhibit 5.
   4                   (Defendant's Exhibit 5, jury
   5          trial demand, was marked for
   6          identification.)
   7                   MS. MCCAWLEY:           Because I
   8          forget earlier, just for the
   9          record, the plaintiff in the case
  10          is going to mark the deposition
  11          as confidential.
  12                   MS. MENNINGER:           Yes.      I
  13          discussed it with the court
  14          reporter, and I think he already
  15          has, but if not, he will do it.
  16                   MS. MCCAWLEY:           Okay.
  17          Q.       Can you take a look at
  18    Defendant's Exhibit 5.
  19          A.       Yes.
  20          Q.       Have you seen this document
  21    before?
  22          A.       Yes.
  23          Q.       Did you review it before it
  24    was filed?
  25          A.       Yes.
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                                                                   Page 324
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       What do you understand this
   3    document to be?
   4          A.       This is a complaint against
   5    Jeffrey Epstein.
   6          Q.       Anyone else?
   7          A.       Ghislaine Maxwell,
   8
   9
  10          Q.       And this is a complaint that
  11    you authorized be filed on your
  12    behalf?
  13          A.       That's correct.
  14          Q.       And at the end of this
  15    complaint, you ask for money to be
  16    awarded to you, correct?
  17          A.       Can you refer me to the
  18    specific page, please?
  19          Q.       Well, do you understand that
  20    you are asking for money to be awarded
  21    to you?
  22          A.       Can you tell me which page
  23    that's on, please.
  24          Q.       I'm just asking your
  25    understanding.
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                                                                   Page 325
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       Nothing's been promised to
   3    me about money.
   4          Q.       Were you seeking money when
   5    you authorized this complaint to be
   6    filed on your behalf?
   7          A.       No.     I just wanted a
   8    pedophile behind bars, really, and for
   9    him to stop abusing young girls.
  10                   Seeing as I'm going to be a
  11    parent myself, I can't really live
  12    with myself, knowing that there's a
  13    pedophile with my kids on the planet.
  14    So as a responsible human being, I
  15    thought that I would come forward.
  16          Q.       So your hope in filing this
  17    lawsuit was not to recover any money?
  18          A.       No.     I want Jeffery and
  19    Ghislaine and all of these people
  20    behind bars so I can then visit them
  21    in jail.
  22          Q.       In paragraph 36 of this,
  23    which is on page 11, can I have you
  24    review that paragraph.
  25          A.       Yep.
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                                                                   Page 326
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Do you know what that
   3    paragraph refers to?
   4          A.       Yes, I do.
   5          Q.       What is the basis for your
   6    statement that "Defendant
   7    reported to Defendants
   8    and Maxwell, and was paid for her
   9    recruitment of young females,
  10    including the recruitment of
  11    plaintiff"?
  12          A.       She told me face to face, in
  13    person, that she was paid by Jeffrey.
  14                   And Jeffrey also offered to
  15    pay me $5,000 to find him a new
  16    18-year-old model PA to help him with
  17    his multi-billionaire corporation,
  18    because she's that qualified.
  19          Q.       So when you say recruitment
  20    of young females, you're referring to
  21    people who are 18?
  22          A.       Yes.
  23          Q.       And at the time you were in
  24    touch with Ms.                         you were 22,
  25    correct?
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                                                                   Page 327
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       That's correct.
   3          Q.       Apart from what Ms.
   4    told you, do you have any other basis
   5    for knowing that                        reported to
   6                          and Maxwell and was paid
   7    for her recruitment of young females,
   8    including you?
   9          A.       What she told me.
  10          Q.       Apart from what she told
  11    you, do you have any other basis for
  12    that?
  13          A.       Well, I saw it with my own
  14    eyes.      I was a witness.
  15          Q.       What did you witness?
  16          A.       I witnessed the same thing
  17    all the other girls did, the same
  18    thing I had to do, was go and report
  19    to                                             and
  20    Ghislaine.
  21                   Ghislaine was the main lady.
  22                        and                        did all
  23    the admin, like booking flights, like
  24    what a normal PA does.
  25                   Do you understand?
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                                                                   Page 328
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Well, did you get paid for
   3    recruitment of young females?
   4          A.       Jeffrey Epstein told me that
   5    he would give me money to find him a
   6    PA for him in South Africa.
   7          Q.       You did not find a PA,
   8    correct?
   9          A.       Absolutely not.
  10          Q.       And you did not get paid for
  11    recruitment of young females, correct?
  12          A.       Absolutely not.
  13          Q.       You say in paragraph 37 that
  14    you were introduced to Epstein by
  15                   correct?
  16          A.       Correct.
  17          Q.       And Epstein confirmed to you
  18    that he would use his wealth and
  19    influence to have you admitted into
  20    FIT, correct?
  21          A.       That's correct.
  22          Q.       What did Epstein say to you
  23    to confirm that?            He said, I will use
  24    my wealth and influence to have you
  25    admitted, or some other words?
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                                                                   Page 329
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       I can't remember the exact
   3    conversation, but from the very
   4    beginning Jeffrey and Ghislaine knew
   5    what my intentions were and why I
   6    wanted to stay in New York, which was
   7    to get a degree.
   8          Q.       Did Epstein say something to
   9    you about a similar institute of
  10    higher learning offering a curriculum
  11    of fashion industry training?
  12          A.       No.     I was pretty adamant
  13    that I wanted to go to FIT.                  It's one
  14    of the best fashion schools, so...
  15          Q.       In paragraph 38, you say
  16    Maxwell told you that you would "need
  17    to provide Epstein with body massages
  18    in order to reap the benefits of his
  19    and her connections."
  20                   What did Ms. Maxwell say to
  21    you in regards to giving body massages
  22    in order to reap benefits of her
  23    connections?
  24          A.       Well, the fact that she told
  25    me I had to weigh 52 kilograms in
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 331 of 469
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                                                                   Page 330
   1               HIGHLY CONFIDENTIAL AEO
   2    order for them to pay for my
   3    education, that was pretty -- that was
   4    one of the conversations that she had
   5    with me.
   6          Q.       Does that have something to
   7    do with body massages?
   8          A.       Can you repeat -- let me
   9    read the question again.
  10                   So I would just like to
  11    clarify, body massages meant sex,
  12    okay?      That's like a key word for sex.
  13    So as soon as you stop having sex with
  14    Jeffrey and his friends and his girls,
  15    you're out, because otherwise there's
  16    no reason for you to be associated
  17    with Jeffrey, because you're just
  18    there to have sex with him, so...
  19          Q.       Can I direct your attention
  20    to the first sentence in paragraph 38,
  21    and can you just explain to me when
  22    that conversation took place.
  23                   MR. GUIRGUIS:           Objection,
  24          form.
  25          A.       First time I met Ghislaine,
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 332 of 469
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                                                                   Page 331
   1                HIGHLY CONFIDENTIAL AEO
   2    from the very first beginning.
   3           Q.      What did Ghislaine say to
   4    you?
   5           A.      I can't remember the
   6    specific conversation.               But the fact
   7    that she helped me refine my massage
   8    skills to satisfy Jeffrey, I think
   9    it's pretty self-explanatory.
  10           Q.      The one you described
  11    earlier?
  12           A.      The one I described earlier.
  13           Q.      Okay.      In the second
  14    sentence, where it says, "Maxwell and
  15    Epstein also threatened plaintiff that
  16    while they had the ability to advance
  17    her education and career, they also
  18    had the ability to make sure that she
  19    would obtain no formal education or
  20    modeling agency contracts if she
  21    failed to provide the sexual favors
  22    desired by defendant Epstein or abide
  23    by the instructions given her by
  24    defendants Epstein and Maxwell."
  25           A.      Mm-hmm.
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                                                                   Page 332
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       What did Ms. Maxwell say to
   3    you that gave rise to this particular
   4    statement?
   5          A.       Well, the fact that she used
   6    to personally call me herself to give
   7    Jeffrey sexual massages.                Not body
   8    massages; sexual massages.                 It should
   9    be rephrased.
  10                   I mean, it was pretty
  11    obvious.       I mean, the whole weight
  12    thing.      I tried to swim off the
  13    island.       I tried to escape from an
  14    island during the evening to try and
  15    escape from her because if I didn't
  16    lose weight, they would cut me out of
  17    their -- financially off.                 I would
  18    lose the place that I was staying at.
  19    I would lose my education.                 You name
  20    it.
  21                   They bullied me with
  22    everything, just like they did with
  23    the other girls.
  24          Q.       In paragraph 38, you say,
  25    "Maxwell and Epstein also threatened
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 334 of 469
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                                                                    Page 333
   1               HIGHLY CONFIDENTIAL AEO
   2    plaintiff."
   3                   What was the threat that was
   4    made to you by Maxwell?
   5                   MS. MCCAWLEY:           Objection,
   6          asked and answered.
   7          A.       The fact that I would lose
   8    everything that they promised me.
   9    They -- they were really naughty.                     You
  10    know, they took girls from very
  11    underprivileged families.                 They gave
  12    them accommodation, they gave them
  13    food, gave them money for
  14    transportation, you know, private
  15    planes, etcetera, etcetera.
  16                   So if I didn't have sex with
  17    Jeffrey, I would be homeless and
  18    starving in New York, so -- and my
  19    dream of getting a full-time education
  20    at one of the top fashion institutes
  21    in the world would be diminished.
  22                   And that's what he held over
  23    my head, exactly like he did with
  24                and the other girls.               He was
  25    paying for all of their educations.
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                                                                   Page 334
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       How do you know that?
   3          A.       Because they were telling
   4    me.     It was common knowledge amongst
   5    all the girls.           No other girl would be
   6    there willingly just to have sex with
   7    Jeffrey.
   8          Q.       In paragraph 40, you say,
   9    "Maxwell instructed plaintiff how to
  10    massage Epstein using the techniques
  11    that he preferred."
  12          A.       Correct.
  13          Q.       Is that the accident you
  14    described earlier on the island?
  15          A.       There were many times that
  16    she gave me massage techniques to help
  17    refine my techniques.               Jeffrey Epstein
  18    was all about massages and the
  19    techniques.         He liked as many girls
  20    touching him as possible all the time.
  21                   So there was more than one
  22    occasion that Ghislaine showed me how
  23    to massage him.           It could have been on
  24    that specific trip or the other one.
  25                   I'm not quite sure day,
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 336 of 469
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                                                                   Page 335
   1               HIGHLY CONFIDENTIAL AEO
   2    time, what seat I was sitting in, what
   3    color the seat it is, but she on more
   4    than one occasion showed me how to
   5    massage Jeffrey and how to get out the
   6    extreme knots in his body.                 Because
   7    everyone knows about his knots and how
   8    he likes them to pop and, yeah, the
   9    specific techniques that he likes.
  10          Q.       The next sentence reads,
  11    "During plaintiff's first massage,
  12    defendant Epstein converted it into a
  13    sexual act..." and it goes on.
  14                   Your first massage that
  15    defendant Epstein converted into a
  16    sexual act was prior to you meeting
  17    Ms. Maxwell, correct?
  18          A.       Yes.
  19                   MS. MENNINGER:           I'm going to
  20          show you Defendant's Exhibit 6,
  21          which are some photographs.
  22                   (Defendant's Exhibit 6,
  23          Bates stamped Ransome_000017, was
  24          marked for identification.)
  25          Q.       Do you recognize the
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 337 of 469
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                                                                   Page 336
   1               HIGHLY CONFIDENTIAL AEO
   2    photographs contained in Defendant's
   3    Exhibit 6?
   4          A.       Yes, I do.
   5          Q.       What are they?
   6          A.       They are photos of Jeffrey's
   7    island and the trip in December.
   8          Q.       Who took those photos?
   9          A.                     took these specific
  10    photos.
  11          Q.       And when you were asked to
  12    provide these to us, where did you
  13    locate them?
  14          A.       I had a disk that
  15    had given me as a present and memento
  16    of that holiday.
  17          Q.       Where is that disk now?
  18          A.       In Spain.
  19          Q.       Do you see in the corner
  20    there are some little numbers with
  21    your last name and then some --
  22          A.       Oh, yeah, okay.
  23          Q.       I'm only showing you that so
  24    we can together go through to some.
  25          A.       Okay.
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                                                                   Page 337
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       So if I could ask you to
   3    turn to -- well, the first ones
   4    show --
   5          A.
   6                is kitesurfing.
   7          Q.       Got it.
   8          A.       Yeah, that's
   9          Q.       How do you know that that's
  10
  11          A.       Because he came for lunch
  12    that day and                   --               hi, I'm
  13
  14                   Hi,
  15          Q.       Did you have any sexual
  16    relations with
  17          A.       No.
  18          Q.       If you could turn to the one
  19    that says RANSOME 22 in the corner.
  20    It's about five or six pages back.
  21          A.       Yes.
  22          Q.       Who is that in the
  23    photograph?
  24          A.
  25          Q.       And who is the other person?
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                                                                   Page 338
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       That's me.
   3          Q.       And when was this photograph
   4    taken?
   5          A.       This was taken during the
   6    December trip.
   7          Q.       Was there only one trip in
   8    December?
   9          A.       From what I recall, yeah.
  10          Q.       Was that the first trip that
  11    you had taken?
  12          A.       No.
  13          Q.       When was the first trip you
  14    had taken?
  15          A.       I answered that previously,
  16    which was not so long after I met
  17    Jeffrey Epstein for the first time.
  18    So I had been there various times
  19    before these were taken.
  20          Q.       Do you know how many?
  21          A.       Like I said earlier,
  22    several.       I mean, I...
  23          Q.       And can you turn to RANSOME
  24    24?
  25          A.       Mm-hmm.
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 340 of 469
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                                                                   Page 339
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Who is that?
   3          A.       That's the wonderful
   4
   5          Q.       Did you take these
   6    photographs?
   7          A.                     took these ones.
   8          Q.       All of them?
   9          A.       There were -- I had other
  10    photos as well.
  11          Q.       That came later, a separate
  12    batch?
  13          A.       Yeah, those are the hard
  14    copies.
  15                   MS. MENNINGER:           I will mark
  16          it now, the second batch,
  17          Defendant's Exhibit 7.
  18                   (Defendant's Exhibit 7,
  19          Bates stamped Ransome_000204, was
  20          marked for identification.)
  21                   MS. MENNINGER:           I apologize,
  22          Counsel.        We just got these last
  23          night, so I only have one copy
  24          for the witness.
  25                   MR. GUIRGUIS:           That's fine.
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                                                                   Page 340
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       So is Defendant's Exhibit 7
   3    the second batch that you were
   4    referring to?
   5          A.       Yes.
   6          Q.       Okay.      So I'm just trying to
   7    help be clear.
   8                   Defendant's Exhibit 6, you
   9    believe were all given to you by
  10          on a disk?
  11          A.       Well, there's a lot of
  12    photos here.          So I took some, I had
  13    some hard copies, and they're all
  14    actually all together, so...
  15          Q.       Okay, that's fine.
  16          A.       Yeah.      I don't want to be
  17    unclear on which exhibit is which.
  18    There's hundreds here.
  19          Q.       So the photographs of
  20                you're saying were taken by
  21                   that we were looking at in
  22    RANSOME 24?
  23          A.       Well, I can recheck the disk
  24    and then I can actually tell you
  25    exactly which ones he took, but I
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 342 of 469
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                                                                   Page 341
   1               HIGHLY CONFIDENTIAL AEO
   2    can't recall every single photo on
   3                's disk.        But there were
   4    multiple photos that were produced
   5    from myself as well.
   6          Q.       Okay.      I will just ask you
   7    about a few.
   8          A.       Okay.
   9          Q.       RANSOME 24 is one that you
  10    said was -- of                               was one
  11    you said you thought                           had
  12    taken?
  13          A.       Yes.
  14          Q.       If you could turn to RANSOME
  15    40.     And these are in order, so
  16    hopefully that will be easy.
  17          A.       Okay.      Mm-hmm.
  18          Q.       Who is represented in this
  19    photograph?
  20          A.       That's
  21          Q.       And where is                    in this
  22    photograph, if you know?
  23          A.       This is by the beach.
  24    There's like -- there's like a small
  25    beach, like there's a beach house on
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 343 of 469
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                                                                   Page 342
   1                 HIGHLY CONFIDENTIAL AEO
   2    the beachfront.
   3           Q.       Do you know who took this
   4    photograph?
   5           A.       I can't remember.
   6           Q.       Okay.     Turning a couple more
   7    pages to RANSOME 42, who is that?
   8           A.       That's me.
   9           Q.       Are you smoking?
  10           A.       I am.     And that was after
  11    the argument that I had with Jeffrey
  12    about me being on lithium and me not
  13    being able to smoke.              And that was the
  14    reason I was really upset, that I
  15    couldn't smoke and that I was being
  16    put on a stupid diet.
  17                    So Jeffrey -- yeah, Jeffrey
  18    said it was okay for me to smoke.                     I
  19    wasn't allowed to smoke in front of
  20    him.        That was the rule.
  21           Q.       Do you know who took this
  22    photograph?
  23           A.       I don't remember who took
  24    that photograph.
  25           Q.       Is it on the same trip in
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 344 of 469
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                                                                   Page 343
   1               HIGHLY CONFIDENTIAL AEO
   2    December?
   3          A.       Yes.
   4          Q.       Turning the next page, is
   5    that also you and
   6          A.       That's correct.
   7          Q.       Do you know who took this
   8    photograph?
   9          A.       I can't remember.
  10          Q.       Was it also in the same time
  11    frame when you were upset?
  12          A.       It was that same December
  13    trip, yes.
  14                   MS. MENNINGER:           We can go
  15          off the record for just a minute.
  16          I think we're swapping out
  17          counsel.
  18                   (Ms. McCawley left the
  19          hearing and Ms. Syed entered.)
  20                   (Time noted:          4:56 p.m.)
  21                   (Recess.)
  22                   (Time noted:          4:56 p.m.)
  23          Q.       Looking at RANSOME 44,
  24    you're saying it's in the same time
  25    period?
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                                                                   Page 344
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       Yeah.
   3          Q.       And also true of 45?
   4          A.       Yes.
   5          Q.       And 47?
   6          A.       Yes.      It was the same
   7    holiday, the same trip.
   8          Q.       And do you know who took
   9    these photographs?
  10          A.       I don't remember.
  11          Q.       Is that also true for 48,
  12    49, 50, 51, 52?
  13          A.       I don't remember who took
  14    those photos.
  15          Q.       Okay.      Can you tell from 52
  16    where you were situated on the island?
  17          A.       It was on the beach.
  18          Q.       53, can you tell me who that
  19    is?
  20          A.       That's
  21          Q.       54 and 55, also
  22          A.       That's correct.
  23          Q.       69, who is that?
  24          A.       That's Jeffrey Epstein.
  25          Q.       Do you know who took this
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                                                                   Page 345
   1               HIGHLY CONFIDENTIAL AEO
   2    photograph?
   3          A.       I can't remember who took
   4    this photograph.
   5          Q.       71, is that you?
   6          A.       That's correct.
   7          Q.       Were you posing for the
   8    photograph?
   9          A.       Most people pose for
  10    photographs, every photograph.                    So I
  11    presume I was posing.
  12          Q.       Do you know what                       's
  13    line of work is?
  14          A.       I think he's with modeling
  15    or something, like a modeling agent.
  16          Q.       Do you know where he's
  17    based?
  18          A.       I have no idea where he's
  19    based.
  20          Q.       Did you meet him more than
  21    once?
  22          A.       I can't remember if I met
  23    him more than once.
  24          Q.       Did you have sexual contact
  25    with him?
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                                                                   Page 346
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       No.
   3          Q.       Did you give him a massage?
   4          A.       No.
   5          Q.       Sorry.       Going back a little
   6    bit further to RANSOME 121.
   7          A.       Mm-hmm.
   8          Q.       Who is in that photograph?
   9          A.       That's               and
  10          Q.       Okay.      So           's on the
  11    left?
  12          A.       That's correct.
  13          Q.       And             's on the right?
  14          A.       That's correct.
  15          Q.       Do you know what they're
  16    doing?
  17          A.       I would love to know what
  18    they're doing myself, personally.
  19          Q.       Did you take this
  20    photograph?
  21          A.       I can't remember.
  22          Q.       Turning to 123, do you know
  23    what is happening in that photograph?
  24          A.       I think we were just playing
  25    around.       I don't think it was serious,
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                                                                   Page 347
   1               HIGHLY CONFIDENTIAL AEO
   2    you know.
   3          Q.       Okay.
   4          A.       Just to make that clear.
   5          Q.       Can I have you look at 126.
   6          A.       Yeah.
   7          Q.       Who is in that photograph?
   8          A.       That's                  and
   9          Q.       And                is in the
  10    background?
  11          A.       That's correct.
  12          Q.       On 127 --
  13          A.       Mm-hmm.
  14          Q.       -- who is in that
  15    photograph?
  16          A.       To the right -- sorry, to
  17    the left it's myself,
  18    and then
  19          Q.       Is this on the same December
  20    trip?
  21          A.       That's correct.
  22          Q.       When did                      give you
  23    the disk?
  24          A.       I can't remember when he
  25    gave me the disk.
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                                                                   Page 348
   1                HIGHLY CONFIDENTIAL AEO
   2          Q.       Do you know if these
   3    photographs are ones that he took?
   4          A.       They were photos that were
   5    taken during our holiday together, and
   6    they were given to me as a memento, as
   7    a present from
   8          Q.       In person?
   9          A.       I can't remember.
  10          Q.       Do you recall the tortoise?
  11          A.       I can't remember the
  12    tortoise.
  13          Q.       Apart from
  14               and yourself and                     , do
  15    you remember anyone else being on this
  16    particular trip?
  17          A.       There were -- there were
  18    quite a few people that visited the
  19    island.       I don't remember their names.
  20          Q.       Can I have you look at 138.
  21          A.       Mm-hmm, yeah.
  22          Q.       Do you know who took that
  23    photograph?
  24          A.       I don't know who took that
  25    photograph.
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                                                                   Page 349
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Do you know when it was
   3    taken?
   4          A.       It was taken that December
   5    trip that I took with Ghislaine and
   6    Jeffrey.
   7          Q.       How do you know that?
   8          A.       Because I remember what she
   9    was wearing.          And I was there.            I was
  10    there in person.            Like, I was there.
  11          Q.       So you saw her on the island
  12    wearing those clothes?
  13          A.       I saw her on the island
  14    wearing those clothes.
  15          Q.       Did you see her sitting in
  16    this position while on the island?
  17          A.       I saw her with my own eyes
  18    sitting in this position.                 I was
  19    probably sitting next to her.
  20          Q.       But you don't know if you
  21    took the photograph or someone else?
  22          A.       You know what?           Photos are
  23    photos.       I don't remember if I took
  24    the photo or if someone else took the
  25    photo.
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                                                                    Page 350
   1               HIGHLY CONFIDENTIAL AEO
   2                   All I remember is I was with
   3    Ghislaine on this trip.                I was
   4    probably sitting next to her in this
   5    photo.      I don't know who -- which
   6    specific girl took the photo.
   7          Q.       Do you know if it was a girl
   8    who took the photo?
   9          A.       I have no idea who took the
  10    photo.      I just remember sitting there
  11    and remember being next to Ghislaine
  12    while she was wearing that outfit.                      I
  13    was there during that time frame.
  14          Q.       RANSOME 139, who is that, if
  15    you know?
  16          A.       That is                          after
  17    she had a shower, and she's in
  18    Victoria's Secret pajamas that were
  19    supplied to us.
  20          Q.       They were supplied to you?
  21          A.       Yes.      All of the outfits --
  22    there were clothes that were provided
  23    on the island by Jeffrey Epstein,
  24    which were all Victoria's Secret
  25    clothing:        bikinis, nightwear.
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                                                                     Page 351
   1                 HIGHLY CONFIDENTIAL AEO
   2           Q.       You're talking about the
   3    flannel pajamas?
   4           A.       Yes.
   5           Q.       Page 140, do you know who
   6    took this photograph?
   7           A.       I don't remember taking this
   8    photo, but I remember that very well
   9    because we are doing mosaic on that
  10    table.        We were busy doing a fish.                So
  11    that's what all these are apparatus
  12    are.        We were doing mosaics.
  13                    So I don't remember if I
  14    took that photo, but I remember I was
  15    there, because we were all doing
  16    mosaics.
  17           Q.       142?
  18           A.       Mm-hmm.
  19           Q.       Do you remember who took
  20    that photograph?
  21           A.       I can't remember -- oh, the
  22    BlackBerry.         I can't remember who took
  23    all the photos when I was there.                     You
  24    can see the mosaics that we were doing
  25    together.
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                                                                   Page 352
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Do you still have that
   3    mosaic?
   4          A.       No.     It was on the big table
   5    that she's sitting at, the large
   6    table.      So we actually stuck the
   7    mosaic on the table.
   8          Q.       143, do you know who took
   9    that?
  10          A.       No.     We were all there
  11    together.
  12          Q.       Going through the rest, do
  13    you see any that you know who took the
  14    photo?
  15          A.       No.
  16                   MR. GUIRGUIS:           Take your
  17          time and look at each onem.
  18          Don't just -- take your time.
  19                   Can we take a break for just
  20          a minute.
  21                   (Time noted:          5:06 p.m.)
  22                   (Recess.)
  23                   (Time noted:          5:15 p.m.)
  24          Q.       Did you have a chance to
  25    look through the rest of the
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 354 of 469
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                                                                   Page 353
   1               HIGHLY CONFIDENTIAL AEO
   2    photographs in Defendant's Exhibit 6?
   3          A.       No, because I took a break,
   4    so I will continue now.
   5          Q.       Sure.
   6          A.       I can't remember who took
   7    these photos.          It was during all the
   8    same trip.
   9          Q.       It was what?
  10          A.       It was during that same
  11    trip.
  12          Q.       Can I have you take a look
  13    at RANSOME 154.           It's one of the last
  14    few of that exhibit.
  15          A.       Yes.
  16          Q.       Do you know where that
  17    photograph was taken?
  18          A.       I can't remember.
  19          Q.       Do you know if you were
  20    there?
  21          A.       I can't remember.
  22          Q.       Does it appear to be inside
  23    of a shop?
  24          A.       It appears that way.
  25          Q.       Do you recall going to any
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 355 of 469
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                                                                   Page 354
   1               HIGHLY CONFIDENTIAL AEO
   2    shops on that trip?
   3          A.       I went everywhere with
   4    Jeffrey, so...
   5          Q.       Did that include shops?
   6          A.       Yes.
   7          Q.       Do you recall this shop?
   8          A.       There were many shops that I
   9    visited.       I can't recall this specific
  10    shop.
  11          Q.       Do you know who the
  12    gentleman is?
  13          A.       I can't remember his name.
  14          Q.       And by gentleman, I mean the
  15    person on the left.
  16          A.       Thank you for clarifying
  17    that.
  18                   No, I don't recall.              I don't
  19    know who this Jeffrey -- Jeffrey's on
  20    the right.         I don't know the name, I
  21    can't remember the name of this guy.
  22          Q.       Wearing a belt?
  23          A.       Trying on a belt, yeah.
  24          Q.       Okay.      Turning to
  25    Defendant's Exhibit 7.
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                                                                   Page 355
   1                HIGHLY CONFIDENTIAL AEO
   2           A.      Yes.
   3           Q.      Do you recognize these
   4    photographs?
   5           A.      I remember this photograph,
   6    the first one, very well.
   7           Q.      What is it?
   8           A.      It's a box -- it's a box of
   9    condoms that were placed around the
  10    island for the guests to use at their
  11    leisure.
  12           Q.      Where on the island was this
  13    one?
  14           A.      I can't remember.
  15           Q.      Did you take the photograph?
  16           A.      I can't remember.
  17           Q.      Do you have this photograph
  18    at your house now?
  19           A.      I'll have to recheck.               I
  20    can't remember where this photo came
  21    from, if it was either on the disk or
  22    by myself.         But it was -- I recognize
  23    the box.       There were boxes like this
  24    put everywhere.
  25           Q.      Did you have any photographs
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 357 of 469
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                                                                   Page 356
   1               HIGHLY CONFIDENTIAL AEO
   2    contained on your computer?
   3          A.       No.
   4          Q.       Where were photographs that
   5    you gathered together to produce?
   6          A.       You've got them all there.
   7    I just need to -- all the photos that
   8    I have, you guys have.               So I don't
   9    know.
  10          Q.       Where were they?            Where did
  11    you find them?
  12          A.       My photos?
  13          Q.       Yes.
  14          A.       In my storage.
  15          Q.       Where is that?
  16          A.       It was in England.              It was
  17    in my private box where I keep all my
  18    photos from, you know, when I was a
  19    baby to now, so...
  20          Q.       Is that with your mother?
  21          A.       No, that wasn't with my
  22    mother.
  23          Q.       Where is the storage in
  24    London?
  25          A.       The storage was in Ramsgate.
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                                                                   Page 357
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       And where did it go?
   3          A.       It's now in my current
   4    residency in Spain.
   5          Q.       When you gathered the photos
   6    together and gave them to your lawyer
   7    to give to us, did you gather them in
   8    Spain or in London?
   9          A.       My stuff was in London and I
  10    moved to Barcelona.              I was currently
  11    staying in Barcelona with                          and
  12    we were just going to commute between
  13    St. Albans and Barcelona.
  14                   When I came forward, I knew
  15    that I had photos that I had taken and
  16    I knew that I had materials.
  17                   At that same time is --
  18    during that same time, I contacted
  19    Maureen Callahan.            When I contacted
  20    Maureen Callahan, there were people
  21    that were following me in Barcelona,
  22    and I got scared.
  23                   I then contacted my estate
  24    agent.      I got my entire flat packed up
  25    in St. Albans and moved to Spain.                     I
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                                                                   Page 358
   1               HIGHLY CONFIDENTIAL AEO
   2    was too frightened to actually fly
   3    back myself and pack, so I stayed in
   4    Barcelona and a company packed my
   5    things for me and brought them to me.
   6          Q.       Okay.      So they were in St.
   7    Albans.       You had them all packed up
   8    and sent to you in Barcelona, where
   9    you relocated?
  10          A.       That's correct.
  11          Q.       When you were interacting
  12    with Ms. Callahan, did you send her
  13    any photographs?
  14          A.       Sorry, sorry.           Who is
  15    Ms. Callahan?          Sorry.       I'm just really
  16    tired.      I'm really bad with names.
  17    Callahan first name, please.
  18          Q.       Do you know who Ms. Callahan
  19    is?
  20          A.       It's really late, I've had a
  21    really long day, and I've said
  22    numerous times throughout the day that
  23    I am slightly dyslexic and I have
  24    difficulty with names.
  25                   Can you just tell me
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                                                                   Page 359
   1               HIGHLY CONFIDENTIAL AEO
   2    Ms. Callahan's first name so I can
   3    answer the question, please.
   4          Q.       Is Ms. Callahan the name of
   5    the individual that you said worked
   6    for the New York Post?
   7          A.       Oh, sorry.         Maureen
   8    Callahan, yes.
   9          Q.       Did you send Ms. Callahan
  10    any photographs?
  11          A.       Not of this, no.            Not of
  12    this.
  13          Q.       Did you send her photographs
  14    of something else?
  15          A.       I did.       I sent her a photo
  16    of
  17
  18          A.
  19
  20          A.
  21
  22
  23
  24
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                                                                   Page 360
   1               HIGHLY CONFIDENTIAL AEO
   2


   4          Q.       Why did you send
   5    Ms. Callahan a photograph of


   7          A.       Because I wanted to show her
   8    I was telling the truth about
   9    everything.         I didn't want to send a
  10    journalist anything regarding Jeffrey
  11    Epstein because I -- I -- well, I sent
  12    her a picture of
  13    to show that I was telling my story,
  14    that my story was straight from the
  15    beginning,
                      , etcetera.         So...
  17          Q.




  20




  23
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                                                                   Page 361
   1               HIGHLY CONFIDENTIAL AEO
   2


   4          Q.       Apart from the photograph
   5                                         , did you send
   6    Ms. Callahan any other documents or
   7    photographs?
   8          A.       I can't remember.
   9          Q.       Did you have contact with
  10    any other media person?
  11          A.       I can't remember.
  12          Q.       Did you meet with anyone
  13    from the Daily Mail?
  14          A.       No.
  15          Q.       From the Mirror?
  16          A.       No.
  17          Q.       Did you speak to anyone from
  18    the Daily Mail?
  19          A.       No.
  20          Q.       Anyone from the Mirror?
  21          A.       No.
  22          Q.       The Independent?
  23          A.       No.
  24          Q.       The Guardian?
  25          A.       No.
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                                                                   Page 362
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       When you got these boxes of
   3    items from St. Albans and you looked
   4    at them while you were in Barcelona;
   5    is that right?
   6          A.       I --
   7                   MR. GUIRGUIS:           Objection.
   8          A.       I looked at them -- I
   9    vaguely went through the photos in St.
  10    Albans.       I knew what was there.               Yeah,
  11    I -- they were there, so I saw them.
  12    I went through my photos, like all my
  13    memorabilia that had been in storage.
  14    But that's about it.
  15          Q.       And you selected photographs
  16    to send to your lawyers to give to us,
  17    correct?
  18          A.       I was asked to -- well I
  19    just provided every -- all the
  20    evidence that I had.
  21          Q.       When did do you that?
  22                   MR. GUIRGUIS:           I'm going to
  23          object.       If you're talking about
  24          a communication between client
  25          and counsel -- is that what
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 364 of 469
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                                                                   Page 363
   1               HIGHLY CONFIDENTIAL AEO
   2          you're asking for?
   3                   MS. MENNINGER:           No.     I'm
   4          asking when did you provide all
   5          of your evidence, which is what
   6          she said that she had.
   7                   MR. GUIRGUIS:           The photos --
   8          you mean when she provided them
   9          to her counsel?
  10                   MS. MENNINGER:           Yes.
  11          Q.       When did you provide them to
  12    your counsel?
  13                   MR. GUIRGUIS:           Objection.
  14          Do not answer.
  15          Q.       Did you receive a subpoena
  16    in this case?
  17          A.       I don't know what a subpoena
  18    is.
  19                   MS. MENNINGER:           Let's mark
  20          Defendant's Exhibit 8.
  21                   (Defendant's Exhibit 8,
  22          Notice of Service of Rule 45
  23          Subpoena and Notice of Deposition
  24          of Sarah Ransome, was marked for
  25          identification.)
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                                                                     Page 364
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Have you seen this document
   3    before?
   4          A.       Let me just have a look,
   5    okay.      I don't remember.
   6          Q.       Have you ever seen this
   7    document before?
   8                   MR. GUIRGUIS:           Objection,
   9          asked and answered.
  10                   MS. MENNINGER:           I'm sorry.
  11          I didn't hear an answer.
  12          A.       I've seen various papers.                 I
  13    remember specifically seeing the
  14    depositions.          There's been millions of
  15    documents.         I can't remember which
  16    specific documents I've seen.
  17          Q.       Okay.      If I could have you
  18    turn to the last three pages, where it
  19    says "Documents to be Produced."
  20          A.       Mm-hmm.
  21          Q.       Have you seen that list
  22    before?
  23          A.       Yes, I have.
  24          Q.       Did you conduct a search of
  25    your records to produce documents?
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                                                                   Page 365
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       Yes, I believe that I
   3    produced every single document I can.
   4          Q.       After looking at this list,
   5    did you go back and look through your
   6    photographs in Barcelona?
   7          A.       As I said, I looked at
   8    everything I had during that time
   9    frame and I produced everything I can
  10    during that time frame that I was with
  11    Jeffrey.
  12          Q.       Just tell me what you did in
  13    order to make sure you had produced
  14    everything that was called for in this
  15    list.
  16          A.       Okay.      So I went through a
  17    box of about over 5,000 photos that I
  18    had, and I went through every single
  19    photo, every single disk, everything
  20    that I had.
  21                   I went through all my
  22    emails.
  23                   I tried to look for the
  24    BlackBerry sim card, which I had hoped
  25    that I had kept, which had all
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                                                                   Page 366
   1               HIGHLY CONFIDENTIAL AEO
   2    Ghislaine's messages on and Jeffrey's
   3    and            's, and stupidly I misplaced
   4    that, which is really annoying.
   5                   But I myself, you know,
   6    considering my objective is to get
   7    these people and get justice for the
   8    abuse that Ghislaine caused me -- and
   9    Jeffrey -- I have given as sufficient
  10    evidence that I have.
  11          Q.       Did you look for all
  12    photographs taken by you or containing
  13    any image of you at or near any home,
  14    business, private vehicle or any other
  15    property owned or controlled by
  16    Jeffrey Epstein, as indicated in
  17    paragraph 7?
  18          A.       Yes.
  19          Q.       Likewise in paragraph 8, did
  20    you look for any photographs that
  21    depict any home, business, private
  22    vehicle or any other property owned or
  23    controlled by Jeffrey Epstein?
  24          A.       Yes.
  25          Q.       And you did that after
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                                                                   Page 367
   1               HIGHLY CONFIDENTIAL AEO
   2    reviewing this list of documents?
   3          A.       Yeah, I mean, I received the
   4    list and I've complied with
   5    everything.          I have given absolutely
   6    everything that I can to you guys.
   7          Q.       Have you given all of your
   8    passports, travel visas or permissions
   9    to live, work or study in other
  10    country?
  11          A.       I haven't given my current
  12    passports, but I've given everything
  13    that I have; documents, passports that
  14    I had during, commercial plane
  15    tickets.
  16          Q.       Do you have any visas?
  17          A.       I have a visa coming here,
  18    but that's the only visa that I have.
  19          Q.       Do you have any visa
  20    applications?
  21          A.       No.
  22          Q.       Do you have any other plane
  23    tickets or boarding passes for the
  24    period 2006 to 2007?
  25          A.       No.
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                                                                   Page 368
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Turning back to Defendant's
   3    Exhibit 7, these photographs, do you
   4    know what the second photograph
   5    represents?
   6          A.       Yes, that's me playing with
   7    Ghislaine's dog, a Yorkshire Terrier.
   8          Q.       Where are you in this
   9    picture?
  10          A.       I was in the girls' bedroom
  11    where we all slept, and I was on my
  12    bed playing with Ghislaine's dog.
  13          Q.       When was this photograph
  14    taken?
  15          A.       I can't remember.
  16          Q.       Was it the same trip as
  17    Defendant's Exhibit 6?
  18          A.       I can't remember.
  19          Q.       Okay.      Do you know who took
  20    the photograph in 205?
  21          A.       I can't remember.
  22          Q.       206?
  23                   MR. GUIRGUIS:           Objection to
  24          form.
  25          A.       I can't remember.
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                                                                   Page 369
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       207?
   3                   MR. GUIRGUIS:           Objection to
   4          form.
   5          A.       Can't remember.
   6          Q.       Who is depicted in 208?
   7          A.
   8          Q.       And?
   9          A.       Oh, and me.          That's me.
  10          Q.       And 209?
  11          A.       Sorry.       That's me,
  12                , and one of Jeffrey's staff
  13    members in the background.
  14          Q.       Turning to 213, is that you?
  15          A.       Yes, that's me.
  16          Q.       And where are you located?
  17          A.       I'm trying to remember
  18    specifically where that is on the
  19    island.       I think it's near the main
  20    house, there was a -- yeah, there was
  21    a fountain near the main house.
  22          Q.       Do you know whether you took
  23    this?
  24          A.       I don't remember.
  25          Q.       Do you know whether you had
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 371 of 469
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                                                                   Page 370
   1                HIGHLY CONFIDENTIAL AEO
   2    this photograph on the disk?
   3           A.      I think these were one of my
   4    photos.
   5           Q.      Was it in hard copy, like an
   6    actual print?
   7           A.      I can't remember.             I have to
   8    double check if there are more copies.
   9    But I think -- yeah, I'm pretty sure
  10    this is a hard copy.
  11           Q.      Does it have a back, like
  12    when it was developed or printed?
  13           A.      I can check.
  14           Q.      Is it back in Barcelona?
  15           A.      No.
  16           Q.      Where are these photographs?
  17           A.      I have given all the
  18    photographs to my lawyers.
  19           Q.      Okay.      How did you do that?
  20    By handing them over in person?
  21    Sending them by mail?
  22           A.      Handing them over in person.
  23           Q.      Was this some type of photo
  24    shoot represented in RANSOME 214, 215,
  25    216?
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                                                                   Page 371
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       Sorry.       214, this is not a
   3    photo shoot.          We were just messing
   4    around on the island.
   5          Q.       Do you know who you were
   6    messing around with?
   7          A.       We were all having fun
   8    together.
   9          Q.       Were there photographs of
  10    other people taken around the same
  11    time that you have?
  12          A.       I have given all the photos
  13    that I have.
  14          Q.       In other words, if you were
  15    messing around with                       at this
  16    time and there's a photo of
  17    that you have, did you provide that?
  18          A.       I provided every single
  19    photograph that I have.
  20          Q.       And 218, was that a photo
  21    shoot?
  22          A.       That was me when I was
  23    naked, actually, and I had a towel
  24    around me.         So I think I just had a
  25    massage by Jeffrey, because I was
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                                                                     Page 372
   1               HIGHLY CONFIDENTIAL AEO
   2    naked underneath the towel.
   3          Q.       Also 219 and 220?
   4          A.       Yep.
   5          Q.       Those were just after a
   6    massage?
   7          A.       Yeah.      You can tell I look
   8    really, really happy to be out of
   9    there, so...
  10          Q.       Do you know which trip that
  11    was on?
  12          A.       I can't remember which trip.
  13          Q.       And page RANSOME 221, who is
  14    in that photograph?
  15          A.       Myself,                 and               ,
  16    and a staff member in the background.
  17          Q.       Do you know what's happening
  18    in 223?
  19          A.       Oh, no.       Yes.      So Jeffrey
  20    provided cosmetics for all the girls.
  21    We had to look our best.                So that was
  22    a Crème de la Mer facial mask that he
  23    regularly gave to the girls so their
  24    skin was nice.           We had top-line
  25    cosmetics in our bathroom to use at
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                                                                   Page 373
   1               HIGHLY CONFIDENTIAL AEO
   2    our disposal.
   3          Q.       So in 223 and 224 you're
   4    doing a facial mask?
   5          A.       I'm attempting to do a
   6    facial.       It's not going that well.
   7          Q.       And going to 229, do you
   8    know where that was taken?
   9          A.       That was on Jeffrey's
  10    speedboat to -- going to the island.
  11          Q.       Do you know when?
  12          A.       I don't recall which date
  13    that was.
  14          Q.       Did you have any contact
  15    with the mail on Sunday?
  16                   MR. GUIRGUIS:           Objection.
  17          Huh?
  18          Q.       Did you ever have any
  19    contact with the mail on Sunday?
  20          A.       No.
  21                   MR. GUIRGUIS:           You mean the
  22          mail as in postage?              I'm sorry.
  23                   MR. PAGLIUCA:           The
  24          newspaper.
  25          A.       No, no, I haven't had
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                                                                   Page 374
   1               HIGHLY CONFIDENTIAL AEO
   2    correspondence with them, no.
   3          Q.       Apart from Ms. Callahan,
   4    have you had contact with any member
   5    of the press?
   6          A.       Oh, I contacted
   7               because
   8
   9          Q.       Okay.      Did you have any
  10    contact with any other member of the
  11    press?
  12          A.       No.
  13          Q.       When was the last time that
  14    you saw Ghislaine Maxwell?
  15          A.       In New York, before I left
  16    in 2007.
  17          Q.       How long before you left?
  18          A.       I can't remember.
  19          Q.       What time of year was it?
  20          A.       When I left?
  21          Q.       Yes.
  22          A.       It was the end of April.
  23          Q.       How do you know that?
  24          A.       Because I am -- on some of
  25    the emails, I wanted to go home.
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 376 of 469
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                                                                     Page 375
   1               HIGHLY CONFIDENTIAL AEO
   2    Actually, back to my mom.
   3          Q.       When's the last time you
   4    spoke to Ghislaine Maxwell?
   5          A.       Before I left New York.
   6          Q.       Okay.      Do you know how long
   7    before you left?
   8          A.       I can't remember.
   9          Q.       Tell me what you recall
  10    about the last time you saw Ghislaine
  11    Maxwell.
  12          A.       I can't remember.
  13          Q.       Where it was?
  14          A.       I can't remember my last
  15    interaction with Ghislaine.
  16          Q.       Or the last time you spoke
  17    with her?
  18                   MR. GUIRGUIS:           Objection,
  19          asked and answered.
  20          A.       I can't remember the last
  21    time I spoke to her.              Yeah, I don't
  22    remember the specifics.
  23          Q.       Were you living with                     at
  24    the time you last spoke to Ghislaine?
  25          A.       Yes.
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 377 of 469
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                                                                   Page 376
   1                HIGHLY CONFIDENTIAL AEO
   2           Q.       What did she say to you when
   3    you last spoke to her --
   4                    MR. GUIRGUIS:          Objection,
   5           asked and answered.
   6           Q.       -- when you were living with
   7
   8                    MR. GUIRGUIS:          Objection,
   9           asked and answered.
  10           A.       I can't remember.
  11           Q.       Did you speak to her about
  12    FIT?
  13                    MR. GUIRGUIS:          Objection,
  14           asked and answered.
  15           A.       I had spoken to her numerous
  16    times about FIT.
  17                    MS. MENNINGER:          Counsel,
  18           when did I already ask her, did
  19           you speak to her about FIT.
  20                    MR. GUIRGUIS:          You've asked
  21           her --
  22                    THE WITNESS:         Several times.
  23                    MS. MENNINGER:          I'm not
  24           talking to you.
  25                    MR. GUIRGUIS:          Okay.
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 378 of 469
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                                                                   Page 377
   1               HIGHLY CONFIDENTIAL AEO
   2                   THE WITNESS:          That was rude.
   3                   MR. GUIRGUIS:           It was, and
   4          I'm not going to answer her
   5          question now.
   6                   You can proceed, Counsel.
   7                   MS. MENNINGER:           When did I
   8          last ask her about --
   9                   MR. GUIRGUIS:           I'm not going
  10          to answer your question.                 I'm not
  11          being deposed.           I'm not arguing
  12          objections with you.              You have
  13          asked her about it before; that's
  14          why I made my objection.
  15                   You can proceed with your
  16          questioning whenever you like,
  17          Counsel.
  18                   MS. MENNINGER:           Thank you.
  19                   MR. GUIRGUIS:           Feel free to
  20          search the transcript later.
  21                   MS. MENNINGER:           I would like
  22          to mark as Defendant's Exhibit 8.
  23                   (Defendant's Exhibit 8,
  24          Bates stamped RANSOME_000004, was
  25          marked for identification.)
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 379 of 469
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                                                                   Page 378
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Do you recognize Defendant's
   3    Exhibit 8?
   4          A.       Yes, I do.
   5          Q.       What is it?
   6          A.       They're emails.
   7          Q.       Did you find these emails
   8    and produce them?
   9          A.       That's correct.
  10          Q.       Where did you find them?
  11          A.       On my old email account that
  12    I had during that time.
  13          Q.       What was your old email
  14    account?
  15          A.
  16          Q.       When did you stop using that
  17    email account?
  18          A.       A guess a year or a few
  19    months after.          I can't recall when I
  20    stopped using it.
  21          Q.       Do you see on the first page
  22    where it says RANSOME 004, there are
  23    two emails in the chain which are
  24    visible?
  25          A.       That's correct.
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                                                                   Page 379
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       And did you produce the
   3    other emails between those two that
   4    are not visible?
   5          A.       Yes.
   6          Q.       When did you do that?
   7          A.       The same time I provided all
   8    the emails originally.
   9          Q.       Okay.      So you believed that
  10    you produced six emails of
  11    conversation between yourself and
  12
  13                   MR. GUIRGUIS:           I'm going to
  14          object and just ask for
  15          clarification.
  16                   I'm not trying to give you a
  17          hard time on this one.               When you
  18          say produced, you're asking the
  19          witness if she provided it to her
  20          attorneys, right?             Because
  21          obviously the attorneys produced
  22          the documents in this case.
  23                   MS. MENNINGER:           Correct.
  24                   MR. GUIRGUIS:           So just --
  25          she didn't produce anything,
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 381 of 469
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                                                                   Page 380
   1               HIGHLY CONFIDENTIAL AEO
   2          obviously.
   3                   So she's asking you did you
   4          collect this email and give it to
   5          the lawyers, I guess is the
   6          question.
   7          A.       Yeah, I collected all --
   8    all -- everything I had, I gave to my
   9    lawyers.
  10          Q.       Okay.      So you believe you
  11    gave six emails between yourself and
  12                              to your attorneys?
  13          A.       Yes, I gave all my evidence.
  14          Q.       Okay.      And --
  15                   MR. GUIRGUIS:           I'm going to
  16          object to that last question also
  17          as misrepresenting the testimony.
  18                   MS. MENNINGER:           What was
  19          misrepresenting what testimony?
  20                   MR. GUIRGUIS:           You're saying
  21          that she gave six emails.
  22                   MS. MENNINGER:           Well, let's
  23          go back, then, and get the
  24          testimony right.
  25          Q.       On RANSOME 004, how many
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 382 of 469
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                                                                   Page 381
   1               HIGHLY CONFIDENTIAL AEO
   2    emails between yourself and
   3                  do you see total?
   4                   There's one at 1:04 a.m.,
   5    correct?
   6                   MR. GUIRGUIS:           Counsel,
   7          you're doing the exact thing that
   8          I just tried to avoid confusion
   9          on, right?
  10                   There's a difference between
  11          what was produced to you -- and
  12          apparently and you're saying that
  13          six emails were produced to
  14          you --
  15                   MS. MENNINGER:           No, I was
  16          not saying that.
  17                   MR. GUIRGUIS:           -- which
  18          she's providing to her counsel.
  19                   MS. MENNINGER:           No, I'm not
  20          saying that.          So I'm trying to
  21          get it straight now.
  22          Q.       There's an email indicated
  23    on the first page from                         to you
  24    at 1:04 a.m. on February 3rd, 2007,
  25    correct?
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                                                                   Page 382
   1                HIGHLY CONFIDENTIAL AEO
   2           A.      Mm-hmm.       Yes.
   3           Q.      And you can read the text of
   4    that email, correct?
   5           A.      Yes, I can.
   6           Q.      And the next email down says
   7    "Sarah Ransome" at 4:07 -- at 4:01
   8    p.m.
   9           A.      Mm-hmm.
  10           Q.      Can you read that email?
  11           A.      No, because it's on Yahoo.
  12    It's a technological thing.                  You can't
  13    read all emails.
  14           Q.      So did you produce the
  15    February '04, '07, 4:01 p.m. email
  16    from yourself to                                   to
  17    your attorneys?
  18                   MR. GUIRGUIS:           Objection to
  19           the use of the word produce.
  20           A.      I've given all my email
  21    correspondence to my lawyers.
  22           Q.      Did you give that email to
  23    your lawyer?
  24           A.      I've given all my emails to
  25    my lawyers.
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                                                                   Page 383
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Okay.      The next email down
   3    says "Sarah Ransome, February 5, 2007,
   4    at 10:09 p.m."
   5                   Can you read the text of
   6    that email on this document?
   7          A.       Mm-hmm.
   8          Q.       What does the 10:09 p.m.
   9    email say?
  10          A.       As I've specified before,
  11    this is a screenshot, okay, of the
  12    actual Yahoo email.              This is a
  13    screenshot.         So technically I can't
  14    read that anyways, seeing as it's a
  15    screen shot.
  16          Q.       Okay.
  17          A.       This isn't a computer.                I
  18    can't tap into that email on a page
  19    because it's a screen shot.
  20          Q.       Did you give a February 6th,
  21    '07, 2:00 a.m. email between yourself
  22    and                            to your attorneys?
  23          A.       I have handed all over my
  24    evidence to my attorneys.
  25          Q.       Did you give a February 8,
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                                                                   Page 384
   1               HIGHLY CONFIDENTIAL AEO
   2    2007, 9:12 p.m. email from yourself to
   3                             to your attorneys?
   4          A.       I have given all my evidence
   5    to my attorneys.
   6                   MS. MENNINGER:           I'm going to
   7          show you Defendant's Exhibit 10.
   8                   (Defendant's Exhibit 10,
   9          Bates stamped RANSOME_000006, was
  10          marked for identification.)
  11          Q.       Do you recognize Defendant's
  12    Exhibit 10?
  13          A.       Yes.
  14          Q.       What is it?
  15          A.       It's an email correspondence
  16    between                          and myself.
  17          Q.       On the second page, RANSOME
  18    0008, do you see other emails with
  19    headings but no text visible in the
  20    screenshot?
  21          A.       Mm-hmm.
  22          Q.       Did you give each one of
  23    those emails to your attorneys?
  24          A.       I have given all my
  25    correspondence to my attorneys.
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                                                                   Page 385
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Do you see in the "Smart
   3    View" column on the left side a folder
   4    named "                          "?
   5          A.       Yes, I do.
   6          Q.       Does that folder contain
   7    your correspondence with
   8
   9          A.       I didn't even know that
  10    folder was there, but I presume so,
  11    which is why I would have created it
  12    in the first place.
  13          Q.       And it also shows a
  14    substantial number of documents in
  15    your Inbox.
  16          A.       Yes.
  17          Q.       Did you search your Inbox
  18    for documents responsive to the
  19    subpoena that I showed you a little
  20    while ago?
  21          A.       I did.       I wanted to be
  22    thorough with my research, so I,
  23    during that time frame, went through
  24    every single email.
  25          Q.       You went through each one?
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 387 of 469
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                                                                   Page 386
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       I went through all of my
   3    emails to make sure I gave all my
   4    evidence to my lawyers.
   5          Q.       Did you search for keywords
   6    or did you just read each email?
   7          A.       I read each email.
   8          Q.       And did you print out each
   9    email?
  10          A.       I didn't print out.              I saved
  11    them to a USB stick.
  12          Q.       All of them or just the ones
  13    that you thought were needed?
  14          A.       Just the ones that were
  15    for -- just anything related to
  16    Jeffrey, I sent over.
  17          Q.       And I think you testified
  18    earlier you believe you still have
  19    your FIT application in an email?
  20          A.       I haven't read it.              I'm
  21    assuming I have it.
  22                   MS. MENNINGER:           I want to
  23          show you Defendant's Exhibit 11.
  24                   (Defendant's Exhibit 11,
  25          Maureen Callahan article, was
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                                                                     Page 387
   1               HIGHLY CONFIDENTIAL AEO
   2          marked for identification.)
   3          A.       Oh, it's 9th of October,
   4    sorry.
   5          Q.       Do you recognize this
   6    document?
   7          A.       Let me go to the last
   8    sentence.        That catchphrase that I
   9    mentioned earlier, as I said earlier,
  10    I couldn't remember the contents of
  11    the article earlier.              I do apologize,
  12    I got the date wrong from the 16th.
  13    It was actually the 9th of October.                      I
  14    couldn't remember the specific date.
  15                   I remember the specific
  16    statement that really struck a chord
  17    with me, which was, "The true number
  18    of Epstein's victims will never be
  19    known."
  20          Q.       So you believe this is the
  21    document by Maureen Callahan that you
  22    read last October that caused you to
  23    come forward?
  24          A.       I'm presuming so, because
  25    I've gone straight to the bank, and
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                                                                   Page 388
   1               HIGHLY CONFIDENTIAL AEO
   2    the sentence that I told you that I
   3    remembered is this.              So I'm assuming,
   4    yes, that it's the same.
   5          Q.       And this article had a big
   6    impact on you because it caused you to
   7    come forward, I think you testified
   8    earlier; is that correct?
   9          A.       That's correct.
  10          Q.       All right.         Do you also see
  11    on that last page, just right where
  12    you were, there's a little box on the
  13    left hand side.           Can you read that out
  14    loud, beginning "Today Jeffrey
  15    Epstein..."
  16                   Do you see that in bold
  17    letters on that last page?
  18          A.       Oh.
  19          Q.       Can you just read that
  20    sentence to us?
  21          A.       "Today Jeffrey Epstein is a
  22    free man, albeit one who routinely has
  23    civil lawsuits brought against him by
  24    young women out of court."
  25                   MS. MENNINGER:           Okay.
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                                                                   Page 389
   1               HIGHLY CONFIDENTIAL AEO
   2          Defendant's Exhibit 12.
   3                   (Defendant's Exhibit 12,
   4          website printout titled How to
   5          Apply, was marked for
   6          identification.)
   7          Q.       Do you recognize this
   8    document?
   9          A.       I've seen it before, yes.
  10          Q.       And what do you recognize it
  11    be?
  12          A.       It's the application how you
  13    apply to FIT.
  14          Q.       It talks about students
  15    applying to different parts of the
  16    school, including arts and design or
  17    business and technology.
  18                   Do you recall if you were
  19    applying to a particular area at FIT
  20    or a general admission?
  21          A.       I wanted to specialize in
  22    fashion designing.
  23          Q.       Do you know if that was a
  24    special area?
  25          A.       Yes, it was.          FIT's the
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 391 of 469
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                                                                     Page 390
   1                HIGHLY CONFIDENTIAL AEO
   2    financial -- fashion school, so yeah.
   3           Q.      Did you visit the building
   4    where FIT is located?
   5           A.      Yes, I did.
   6           Q.      Did you attend classes
   7    there?
   8           A.      No.
   9           Q.      I mean did you visit a
  10    class.       I know you didn't enroll, but
  11    did you visit a class?
  12           A.      No, I didn't.           But I went to
  13    the university, had a look around.
  14           Q.      Did you take a tour?
  15           A.      Not per se.          I mean, I went
  16    around, I looked at the university.                      I
  17    didn't go on a big personalized tour
  18    with a specific person, no.
  19           Q.      Did you talk to any of the
  20    teachers there?
  21           A.      No, I didn't.
  22           Q.      Do you recall there being
  23    multiple steps for applications to
  24    FIT?
  25           A.      There's multiple steps on
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 392 of 469
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                                                                   Page 391
   1               HIGHLY CONFIDENTIAL AEO
   2    any college application form.
   3          Q.       Do you remember what those
   4    steps were when you were applying?
   5          A.       No.
   6          Q.       Do you remember an original
   7    application which had details?
   8          A.       I can't remember the
   9    original application form, no.
  10          Q.       Do you remember there being
  11    a separate essay portion?
  12          A.       Yes, I do remember that.
  13          Q.       Do you remember a separate
  14    portion that relates to students who
  15    are applying who are not U.S.
  16    citizens?
  17          A.       I can't remember that.                I
  18    can't remember the specific form.
  19          Q.       Do you remember filling out
  20    any special paperwork for someone who
  21    was applying who was not a U.S.
  22    citizen?
  23          A.       No, there was no paperwork
  24    as such for that.            Jeffrey Epstein was
  25    sorting that out for me with his
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                                                                   Page 392
   1               HIGHLY CONFIDENTIAL AEO
   2    connections at FIT.
   3          Q.       So you don't believe you
   4    filled that part out?
   5                   MR. GUIRGUIS:           Objection.
   6          A.       I said I can't remember
   7    filling that part out.
   8          Q.       Do you remember getting a
   9    copy of your transcript from Queen
  10    Margaret University?
  11          A.       I haven't got my transcripts
  12    yet, but I can get them.
  13          Q.       Do you remember submitting
  14    them to FIT?
  15          A.       I can't remember.
  16          Q.       Did you get a degree from a
  17    school in Edinburgh, high school?
  18          A.       So I finished all my high
  19    school qualification, which, you know,
  20    my grades were good enough to get into
  21    psychology and sociology in Edinburgh.
  22          Q.       What was the name of your
  23    high school?
  24          A.       Grantown Grammar School.
  25          Q.       Did you get a transcript
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 394 of 469
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                                                                   Page 393
   1               HIGHLY CONFIDENTIAL AEO
   2    from that school to provide to FIT?
   3          A.       I think I was in the process
   4    of getting my transcripts from Queen
   5    Margaret.        I did have a copy of my
   6    high school grades as well.                  When you
   7    fill out an application, you submit
   8    all your grades, high school.
   9          Q.       And that's the one in
  10    Scotland?
  11          A.       Yes, that's correct.
  12                   MS. MENNINGER:           I think I've
  13          only got a couple more questions,
  14          but I got my piles messed up.
  15          Can we take a two-minute break
  16          and I can get organized and
  17          finished.
  18                   (Time noted:          5:54 p.m.)
  19                   (Recess.)
  20                   (Time noted:          6:07 p.m.)
  21                   MS. MENNINGER:           I'm going to
  22          mark a new exhibit Defendant's
  23          Exhibit 13.
  24                   (Defendant's Exhibit 13,
  25          Bates stamped RANSOME_000007 was
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                                                                   Page 394
   1               HIGHLY CONFIDENTIAL AEO
   2          marked for identification.)
   3          Q.       Do you recognize this
   4    document?
   5          A.       Yes, I do.
   6          Q.       What is it?
   7          A.       It was an email sent to my
   8    friend
   9          Q.       Is that different than
  10    that you were with on the island?
  11          A.       I was never with                 on the
  12    island.       It was
  13          Q.       Do you remember testifying
  14    about someone named
  15          A.              was my friend in New
  16    York.
  17          Q.       Is that the same person you
  18    were writing here, or is that a
  19    different person?
  20          A.       It's the same person; it's
  21    just I called her                    It's a
  22                name.      She's
  23          Q.       How did you know
  24          A.       I met her in New York.
  25          Q.       Do you know whether you paid
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                                                                   Page 395
   1               HIGHLY CONFIDENTIAL AEO
   2    for your plane ticket to come back to
   3    New York from South Africa in February
   4    of '07?
   5          A.       I didn't pay for my ticket.
   6          Q.       You did not?
   7          A.       No.
   8          Q.       Do you see in your email
   9    exchange in Defendant's Exhibit 13
  10    that you wrote to                 on February 8th
  11    of '07, "Not going to Miami anymore,
  12    clearly, and have to pay for me flight
  13    back."
  14                   It's in the second paragraph
  15    towards the bottom.
  16          A.       Mm-hmm.
  17          Q.       Did you write that?
  18          A.       Yes.
  19          Q.       But you did not, in fact,
  20    pay for your flight back?
  21          A.       No.
  22          Q.       Do you know what you meant
  23    by "Not going to Miami anymore,
  24    clearly..."?
  25          A.       I can't remember what that
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                                                                   Page 396
   1               HIGHLY CONFIDENTIAL AEO
   2    whole Miami thing was about.                   It never
   3    came about, so I can't remember the
   4    specific details on Miami.                 But it was
   5    via Jeffrey Epstein.
   6          Q.       Okay.      How did it happen
   7    that you were writing, "I'm going to
   8    have to pay for me flight back," but
   9    you did not, in fact, pay for your
  10    flight back?
  11          A.       Because Jeffrey Epstein and
  12    I had a fight about my weight.                    So
  13    that was probably during the argument,
  14    the time frame that I had the argument
  15    with Jeffrey.          He said that he refused
  16    to pay for my flight back if I didn't
  17    get down to 52 kilograms.
  18          Q.       And how did it come about
  19    that you did not pay for your flight
  20    back?
  21          A.       I carried on losing weight
  22    to try and get to the goal that
  23    Jeffrey and Ghislaine had set for me,
  24    which is 52 kilograms.
  25          Q.       How does that relate to
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                                                                   Page 397
   1                HIGHLY CONFIDENTIAL AEO
   2    payment for a flight?
   3                   MR. GUIRGUIS:           Objection.
   4           A.      Well, I didn't pay for that
   5    flight because Jeffrey was financing
   6    me, so I wouldn't have had the money
   7    to pay for my own flight back.
   8           Q.      But you said you were "going
   9    to have to pay for my flight back,"
  10    right?
  11           A.      That's correct.
  12           Q.      And then what changed?
  13                   MR. GUIRGUIS:           Objection,
  14           asked and answered.
  15           A.      I made up with Jeffrey.                I
  16    tried to meet my target weight of
  17    52 kilograms.
  18           Q.      And how did you make up with
  19    him?
  20           A.      I can't remember if it was
  21    telephone call or email or message,
  22    but there were various phone calls
  23    that were made to my family home from
  24    Ghislaine and Jeffrey during that time
  25    frame.
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                                                                   Page 398
   1               HIGHLY CONFIDENTIAL AEO
   2                   It was a very delicate time
   3    because my family were up in arms the
   4    fact I was told to be 52 kilograms,
   5    which is not -- it can't be achievable
   6    with my body frame, and they saw me
   7    getting very ill.
   8                   And I didn't have the funds
   9    to buy a flight back, so I had to do
  10    what Ghislaine and Jeffrey told me do.
  11          Q.       What did you do?
  12          A.       Continue to lose weight.
  13          Q.       Did you see any medical
  14    professionals while you were in South
  15    Africa?
  16          A.       No.
  17          Q.       How did you communicate to
  18    Jeffrey that you had decided to
  19    continue losing weight?
  20          A.       So Jeffrey, Ghislaine,
  21    again, we all corresponded by
  22    telephonic call, BBM, message, my
  23    house phone.          I decided to lose
  24    weight.       I was given an ultimatum that
  25    either I do it or I'm finished.                    At
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 400 of 469
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                                                                   Page 399
   1                HIGHLY CONFIDENTIAL AEO
   2    that point I had no option.
   3           Q.      If you wanted the flight
   4    back.
   5           A.      If I wanted the flight back.
   6    I had all my stuff in New York, I had
   7    my life in New York, I was going to
   8    FIT.
   9                   I didn't have any finances;
  10    Jeffrey was funding me.                So I was
  11    stuck.       I either had to do what
  12    Ghislaine and Jeffrey told me do or I
  13    was stuck, really.
  14           Q.      You were stuck at your
  15    father and stepmother's house in South
  16    Africa, where you grew up?
  17           A.      I didn't grow up with my
  18    father and my stepmother.
  19           Q.      You grew up in South Africa?
  20           A.      I grew up in Johannesburg.
  21           Q.      When you say you were stuck,
  22    you're describing a time you were in
  23    South Africa?
  24           A.      I'm describing a time I was
  25    on holiday visiting my family, that
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 401 of 469
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                                                                   Page 400
   1               HIGHLY CONFIDENTIAL AEO
   2    Jeffrey paid for.
   3          Q.       Okay.      Did you finish your
   4    answer?
   5          A.       Sorry, I just read here.
   6    I'm describing a time that I was on
   7    holiday visiting my family, that was
   8    paid for by Jeffrey and Ghislaine.
   9    They financed my ticket.                They
  10    financed every ticket.               They financed
  11    my whole lifestyle.
  12          Q.       Ghislaine financed your
  13    ticket?
  14          A.       Well, they were one entity.
  15    Ghislaine is Jeffrey's right-hand
  16    woman.      They --
  17          Q.       When did Ghislaine finance
  18    this ticket?
  19          A.       It was through Jeffrey's
  20    company that she worked with.
  21          Q.       Did you correspond by email
  22    with Ghislaine about financing this
  23    ticket?
  24          A.       No.
  25          Q.       You searched for emails with
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 402 of 469
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                                                                   Page 401
   1               HIGHLY CONFIDENTIAL AEO
   2    yourself and Ghislaine, correct?
   3          A.       That's correct.
   4          Q.       And you found none, correct?
   5          A.       That's correct.
   6          Q.       You found emails between
   7    yourself and                            about the
   8    plane ticket back, correct?
   9          A.       That's correct.
  10          Q.       But none with Ghislaine?
  11          A.       I never said once today that
  12    I had email communication with
  13    Ghislaine.
  14          Q.       But you just said that
  15    Ghislaine financed your holiday in
  16    South Africa.          And what is your basis
  17    for saying that?
  18                   MR. GUIRGUIS:           Objection.
  19          She did not say that Ghislaine
  20          financed it.
  21          Q.       What is your basis for
  22    referring to Ghislaine financing your
  23    holiday in South Africa?
  24                   MR. GUIRGUIS:           Objection.
  25          A.       So Ghislaine is Jeffrey's
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 403 of 469
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                                                                   Page 402
   1               HIGHLY CONFIDENTIAL AEO
   2    right-hand man, so she -- so we report
   3    to her.       I told them I wanted to go
   4    and see my family.             They paid for my
   5    flight.
   6          Q.       You told them when they were
   7    together in the same place?
   8          A.       I can't remember the
   9    specific location.             I just wanted to
  10    go on holiday to see my family, which
  11    Ghislaine and Jeffrey paid for.
  12          Q.       How did Ghislaine pay for
  13    it?
  14          A.       I don't know.           You should
  15    ask Ghislaine.
  16          Q.       Did she write a check?
  17          A.       You should ask Ghislaine.
  18          Q.       Did she put it on a credit
  19    card?
  20                   MR. GUIRGUIS:           Objection.
  21          A.       You should ask Ghislaine.
  22          Q.       Do you have any idea how
  23    Ghislaine Maxwell paid for your trip
  24    to South Africa?
  25                   MR. GUIRGUIS:           Objection.
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                                                                   Page 403
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       You should ask Ghislaine.
   3          Q.       Is that an answer?
   4                   MR. GUIRGUIS:           Objection.
   5          Q.       Do you have an answer?
   6                   MR. GUIRGUIS:           Objection.
   7          A.       You should ask Ghislaine how
   8    she funded my ticket.
   9          Q.       I appreciate the tip.
  10                   Do you have any information
  11    inside of your head about how
  12    Ghislaine financed your trip to South
  13    Africa?
  14                   MR. GUIRGUIS:           Counsel, she
  15          has repeatedly stated that she
  16          does not know.           You keep asking
  17          her the same question.
  18                   MS. MENNINGER:           No, she has
  19          repeated to he me that she
  20          needed -- I needed to ask my
  21          client.
  22                   MR. GUIRGUIS:           Hold on.
  23                   "QUESTION:         Ghislaine funded
  24          your ticket?
  25                   "ANSWER:        Well, she was his
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 405 of 469
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                                                                   Page 404
   1               HIGHLY CONFIDENTIAL AEO
   2          right-hand...
   3                   "QUESTION:         When did
   4          Ghislaine finance this ticket?
   5                   "ANSWER:        Well, it was
   6          through Jeffrey's company that
   7          she worked with."
   8                   Are you asking a different
   9          question, Counsel?             Am I
  10          misunderstanding?
  11                   MS. MENNINGER:           Yeah, you
  12          are.
  13                   MR. GUIRGUIS:           Please.
  14                   MS. MENNINGER:           Can you read
  15          the question that I asked.
  16                   (Requested portion of the
  17          record was read back.)
  18          A.       In my head, I can't remember
  19    how she financed, how she and Jeffrey
  20    financed.
  21          Q.       Did you see any invoice paid
  22    by Ghislaine for your ticket?
  23          A.       No.     But a ticket was
  24    produced which enabled me to fly back
  25    to my family, so a ticket was produced
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 406 of 469
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                                                                   Page 405
   1               HIGHLY CONFIDENTIAL AEO
   2    by Ghislaine and Jeffrey in order for
   3    me to fly home to see my family.
   4          Q.       How did Ghislaine produce a
   5    ticket to you?
   6          A.       I can't remember.
   7          Q.       Did it come by email?
   8                   MR. GUIRGUIS:           Objection.
   9          A.       I've provided all the emails
  10    that I have.
  11          Q.       That's not the question.
  12                   Did the ticket get produced
  13    to you by Ghislaine by email?
  14                   MR. GUIRGUIS:           Objection.
  15          A.       No.
  16          Q.       Did it get sent by a courier
  17    to you from Ghislaine?
  18                   MR. GUIRGUIS:           Objection.
  19          A.       I can't remember how I
  20    received the ticket specifically.
  21          Q.       Your final line to                  is,
  22    "You must save some partying energy
  23    for me when I come back.                Lots of
  24    love, Sarah."
  25                   Correct?
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                                                                   Page 406
   1               HIGHLY CONFIDENTIAL AEO
   2          A.       Mm-hmm.
   3          Q.       Is that right?
   4          A.       Mm-hmm.
   5          Q.       In the first paragraph, do
   6    you advise Sarah, "Still very loved
   7    up, so much so that he asked me to
   8    move in with him and I accepted.                     All
   9    good," exclamation point, exclamation
  10    point, exclamation point -- well,
  11    about eight of them, or ten.
  12          A.       Mm-hmm.
  13          Q.       Is that what you wrote?
  14          A.       Yes, that's what you wrote.
  15          Q.       Is that true?
  16          A.       Yes.
  17          Q.       Looking back at Defendant's
  18    Exhibit 8, which you testified earlier
  19    were your communications with
  20                   or some of them --
  21          A.       That's Exhibit 9.
  22                   MR. GUIRGUIS:           We seem to be
  23          missing Exhibit 8 from the stack.
  24                   MS. MENNINGER:           I checked it
  25          during the break.
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                                                                   Page 407
   1               HIGHLY CONFIDENTIAL AEO
   2                   MR. GUIRGUIS:           It's just out
   3          of order.
   4                   THE WITNESS:          Is this
   5          Defendant's Exhibit 8?
   6                   MS. MENNINGER:           Eight.
   7                   THE WITNESS:          Is this
   8          Exhibit 8?
   9                   MR. GUIRGUIS:           Yes, it is.
  10          Q.       So the emails with
  11    Maybe I wrote it down wrong.                   I
  12    apologize.
  13                   MR. GUIRGUIS:           With who?
  14          I'm sorry?
  15                   MS. MENNINGER:                        --
  16                   THE WITNESS:          That was
  17          Exhibit -- oh, gosh.              This is
  18          Exhibit 9 between                        and
  19          myself.
  20          Q.       Okay.      And it's got RANSOME
  21    0004 and 0005; is that right?                      Just
  22    making sure we're looking at the same
  23    thing.      On the lower right-hand
  24    corner.
  25          A.       Yes, 000004.
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                                                                   Page 408
   1                HIGHLY CONFIDENTIAL AEO
   2           Q.      All right.         Those are emails
   3    that you and                   exchanged in
   4    February of 2007, correct?
   5           A.      That's correct.
   6           Q.      And can you read to us the
   7    email at the bottom from you to
   8    on February 8, 2007.
   9           A.      "Hey sweetie, how are you?
  10    I'm busy writing my essay for FIT.
  11    What fun.        I had a bit of a fight with
  12    Jeffrey.       Oh, well, what can you do.
  13    I meant to ask in my last email can
  14    you please email me your address.                     It
  15    looks like I'm not going to Miami
  16    either.       Well, at least I will be back
  17    in NY.       Hope you are well and look
  18    forward to seeing you soon.                  Please
  19    tell                  I say hi.        Lots of hugs
  20    and kisses, Sarah."
  21           Q.      Were you writing your FIT
  22    essay in February 2007 while you were
  23    in South Africa?
  24           A.      Yeah.      It took me quite some
  25    time writing my essay, so it was over
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 410 of 469
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                                                                   Page 409
   1               HIGHLY CONFIDENTIAL AEO
   2    a duration of...
   3          Q.       Did you email your essay
   4    from South Africa to Ghislaine
   5    Maxwell?
   6          A.       I don't recall emailing her.
   7          Q.       Defendant's Exhibit 10, I
   8    think it is, with                              ?
   9          A.       Yes.
  10                   MR. GUIRGUIS:           Hold on a
  11          second.       Let me just find my
  12          copy.
  13          Q.       And I show RANSOME 006 is
  14    the first one in the lower right-hand
  15    corner.
  16          A.       Yes.
  17          Q.       So did you correspond with
  18               about faxing your FIT
  19    application in to her on or about
  20    February 8, 2007?
  21          A.       Yes.
  22          Q.       Did you also ask her to look
  23    into booking a flight for you back to
  24    New York?
  25          A.       That's correct.
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                                                                   Page 410
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Did you give her the date
   3    you wanted to fly back?
   4          A.       That's correct.
   5          Q.       And the next email down, did
   6    you say, "Hi, can you please phone
   7    back?"
   8          A.       Mm-hmm.
   9          Q.       Was that to                   or to
  10    Jeffrey?
  11          A.       I can't remember who it was
  12    to.     Jeffrey never corresponded
  13    directly; he either did it through
  14                         or -- so I can't remember
  15    who phoned me back.
  16          Q.       Can you turn two pages back
  17    to where it says RANSOME_0009.
  18                   Do you see those emails?
  19          A.       Mm-hmm.
  20                   MR. GUIRGUIS:           Read the
  21          emails, don't just...
  22          Q.       Did               ask what type of
  23    visa you were coming on, student or
  24    tourist?
  25                   MR. GUIRGUIS:           Hold on,
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                                                                   Page 411
   1               HIGHLY CONFIDENTIAL AEO
   2          Counsel.
   3                   Are you through with it?
   4                   THE WITNESS:          Sorry, I
   5          haven't finished reading yet.
   6          Q.       Did               ask what type of
   7    visa you were coming on, student or
   8    tourist?
   9          A.       That's correct.
  10          Q.       And what was your response?
  11          A.       I can't remember what my
  12    response was.
  13          Q.       Is it visible in this
  14    exhibit?
  15          A.       No.
  16          Q.       All right.         You said you
  17    left New York in late April --
  18          A.       That's correct.
  19          Q.       -- 2007?
  20                   Did you find any records
  21    reflecting that departure when you
  22    were going through all of your emails
  23    and your other documents?
  24          A.       No.
  25          Q.       When was the last time you
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                                                                   Page 412
   1                HIGHLY CONFIDENTIAL AEO
   2    saw Jeffrey Epstein?
   3           A.      April 2007.
   4           Q.      Where did you see him last?
   5           A.      In New York.
   6           Q.      Where in New York?
   7           A.      I can't remember where I
   8    last saw him.
   9           Q.      Do you remember what
  10    happened the last time you saw him?
  11           A.      No, I can't remember what
  12    happened.
  13           Q.      Do you know whether he gave
  14    you any money the last time you saw
  15    him?
  16           A.      No, he didn't give me money.
  17           Q.      Do you know if you talked
  18    about FIT the last time you saw him?
  19           A.      I didn't really want
  20    anything do with Jeffrey and Ghislaine
  21    at that stage.           So at that point I did
  22    not talk about FIT anymore with them.
  23    I just wanted to go back home to my
  24    mom.
  25           Q.      And this is when you were
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 414 of 469
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                                                                   Page 413
   1               HIGHLY CONFIDENTIAL AEO
   2    living with
   3          A.       Yes.
   4          Q.       When did you decide you
   5    didn't want to have anything to do
   6    with Jeffrey Epstein?
   7          A.       After my trip to South
   8    Africa, my relationship deteriorated
   9    with Jeffrey and Ghislaine.                  So I
  10    didn't really want to be here anymore.
  11          Q.       When did you make that
  12    decision?
  13          A.       I was kind of toying with
  14    the idea of going back.                I was in a
  15    bit of a mess after what I had been
  16    through with Ghislaine and Jeffrey,
  17    so -- yeah.
  18          Q.       And who purchased your plane
  19    ticket to London?
  20          A.       I think it was my mom.                I
  21    can't remember.
  22          Q.       Were you still taking the
  23    medications at the time you went back?
  24          A.       Yes.
  25          Q.       And you returned from South
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                                                                   Page 414
   1               HIGHLY CONFIDENTIAL AEO
   2    Africa in February 2007, correct?
   3          A.       That's correct.
   4          Q.       And that's when you made the
   5    decision to break with Jeffrey by
   6    moving in with                   correct?
   7          A.       I wanted to distance myself
   8    from Jeffrey.          Things weren't great.
   9    What he was doing was wrong and what
  10    he was doing to me was wrong, and I
  11    got pretty depressed about it.                    I was
  12    in -- I was stuck in a dark hallway.
  13    I was basically being abused by a man,
  14    and I -- I didn't -- I didn't know
  15    what to do, where to go.
  16          Q.       Did you have a bank account
  17    in New York?
  18          A.       Yes, I did.
  19          Q.       With which bank?
  20                   MR. GUIRGUIS:           Objection.
  21          Same objection I gave at the
  22          beginning, financial information
  23          for a nonparty witness.
  24                   MS. MENNINGER:           The name of
  25          the bank.        The name of the bank.
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                                                                   Page 415
   1               HIGHLY CONFIDENTIAL AEO
   2          Q.       Let me ask you this:               What
   3    did you do with the cash you received
   4    from Jeffrey Epstein?               Did you put it
   5    in the bank?
   6          A.       No.     I spent it on food,
   7    cabs.      General expenses.
   8          Q.       Where did you get the money
   9    that you put into the bank?
  10          A.       From the occasional modeling
  11    job that I got, freelance modeling.
  12          Q.       Were you still modeling in
  13    the spring of 2007?
  14          A.       No.
  15                   MR. GUIRGUIS:           Off the
  16          record.
  17                   (An off-the-record
  18          discussion was held.)
  19                   MR. GUIRGUIS:           Back on the
  20          record.
  21                   MS. MENNINGER:           I think if
  22          you can just give my co-counsel
  23          and I a minute off the record.
  24                   (Time noted:          6:28 p.m.)
  25                   (Recess.)
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                                                                   Page 416
   1                HIGHLY CONFIDENTIAL AEO
   2                   (Time noted:          6:29 p.m.)
   3           Q.      In February of 2007, you
   4    decided to make a break with Jeffrey
   5    Epstein, correct?
   6           A.      No, I didn't decide to make
   7    a break with Jeffrey Epstein.                   He let
   8    me down with my FIT application and he
   9    wasn't taking me seriously, and he
  10    wasn't following through his end of
  11    the deal, basically.
  12           Q.      How did he let you down with
  13    your FIT application?
  14           A.      Because I didn't go to FIT.
  15           Q.      And why didn't you go to
  16    FIT?
  17           A.      Because I wanted to go home
  18    back to my mom.
  19           Q.      When did you decide that he
  20    let you down with the FIT application?
  21           A.      Well, I think it was pretty
  22    much after that incident with Alan and
  23    the fact that I had been sexually
  24    abused for months on end by Jeffrey, I
  25    kind of wanted to call it time with
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 418 of 469
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                                                                   Page 417
   1                HIGHLY CONFIDENTIAL AEO
   2    him.
   3                   I saw how he was acting with
   4    the other girls.            I saw how they got
   5    pretty mentally messed up as well; for
   6    example,                     So...
   7           Q.      And you saw that before you
   8    went to South Africa?
   9           A.      Yes.
  10           Q.      And while you were in South
  11    Africa, you got in a fight with
  12    Jeffrey.
  13           A.      That's correct.
  14           Q.      And you didn't want to lose
  15    this weight, correct?
  16           A.      I didn't want to lose this
  17    weight because I would be dead if I
  18    weighed 52 kilograms.
  19           Q.      You didn't want to lose the
  20    weight in South Africa, correct?
  21           A.      I wanted to -- I was
  22    desperate to go to FIT.                I tried to
  23    lose as much weight as I could for
  24    Jeffrey and Ghislaine.
  25           Q.      While you were in South
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                                                                    Page 418
   1               HIGHLY CONFIDENTIAL AEO
   2    Africa, you did some reevaluating of
   3    your life?
   4                   MR. GUIRGUIS:           Objection.
   5          A.       Reevaluating of my life?                 I
   6    wouldn't say I spent the holiday
   7    reevaluating my life, no.
   8          Q.       Were you happy when you were
   9    in South Africa?
  10          A.       I was concerned because I
  11    was being asked and being hounded to
  12    find a 18-year-old PA for Jeffrey, and
  13    I knew that was wrong because he would
  14    do exactly the same thing to that girl
  15    that he did to me, and I would not let
  16    him do that to another girl.
  17          Q.       So when you were in South
  18    Africa, you decided to make a break
  19    from Jeffrey.
  20                   MR. GUIRGUIS:           Objection.
  21          A.       I didn't decide to make a
  22    break; I decided to distance myself
  23    from Jeffrey.          Not make a break, but
  24    to distance myself.
  25          Q.       When you came back, you
Case 1:15-cv-07433-LAP Document 1296-10 Filed 12/12/22 Page 420 of 469
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                                                                   Page 419
   1               HIGHLY CONFIDENTIAL AEO
   2    moved in with
   3          A.       That's correct.
   4          Q.       You can't remember the last
   5    time that you saw Jeffrey?
   6                   MR. GUIRGUIS:           Objection.
   7          That's not the testimony.
   8          A.       No.
   9                   MS. MENNINGER:           No further
  10          questions.         Thank you.
  11                   THE WITNESS:          Thank you.
  12                   MS. MENNINGER:           Do you have
  13          any?
  14                   MR. GUIRGUIS:           Give me one
  15          second to confer.
  16                   We have no questions.
  17                   MS. MENNINGER:           Counsel,
  18          we're going to, unfortunately,
  19          before we go off the record, need
  20          to leave the deposition open,
  21          just because there are some email
  22          documents that were referenced
  23          but not produced.             And we can
  24          follow up and have a discussion
  25          with counsel about that.
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                                                                   Page 420
   1               HIGHLY CONFIDENTIAL AEO
   2                   MR. GUIRGUIS:           Okay.      So on
   3          the record -- we can carry on the
   4          conversation, certainly, off the
   5          record.
   6                   But while we're on the
   7          record, I will say that my
   8          understanding is that those
   9          documents were all produced to
  10          you, including all the emails
  11          that you asked her about, and
  12          where are the missing emails, and
  13          she kept saying they'd been
  14          produced to her attorneys.                  My
  15          understanding is that the
  16          attorneys did provide them to
  17          defense counsel.
  18                   MS. MENNINGER:           Well,
  19          there's a current passport that
  20          we know was not produced, there
  21          is an FIT application that we
  22          know was not produced, and I
  23          believe there are emails that
  24          were not produced.
  25                   And I'm happy to have the
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                                                                   Page 421
   1               HIGHLY CONFIDENTIAL AEO
   2          conversation continue off the
   3          record, but I'm telling you those
   4          are some of my recollections.
   5                   MR. GUIRGUIS:           Okay.      And to
   6          be clear so that I'm not
   7          misrepresenting, I see that I
   8          said there were documents and the
   9          emails.       I meant to clarify, as
  10          in the emails I know were
  11          produced.
  12                   I can't speak to any other
  13          documents that you might want to
  14          raise a dispute about.               But with
  15          respect to the emails that you
  16          said, my understanding, at least
  17          as I sit here, is that they were
  18          produced.
  19                   That said, I think we can go
  20          off the record and resolve any
  21          other issues between counsel and
  22          I.
  23                   (Time noted:          6:34 p.m.)
  24
  25
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                                                                   Page 422
   1               HIGHLY CONFIDENTIAL AEO
   2
   3                   ____________________________
                                       SARAH RANSOME
   4
   5                   Signed and subscribed to
                       before me, this_______day
   6                   of ___________ 2017.
   7                   _________________________
                                 Notary Public
   8
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                                                                   Page 423
   1
   2                           C E R T I F I C A T E
   3    STATE OF NEW YORK            )
                                     :
   4    COUNTY OF NEW YORK)
   5
   6                    I, Jeremy Richman, a Notary Public
   7    within and for the State of New York, do hereby
   8    certify:
   9                     THAT SARAH RANSOME, the witness
  10    whose deposition is hereinbefore set forth, was
  11    duly sworn by me and that such deposition is a
  12    true record of the testimony given by such
  13    witness.
  14                     I further certify that I am not
  15    related to any of the parties to this action by
  16    blood or marriage; and that I am in no way
  17    interested in the outcome of this matter.
  18                     IN WITNESS WHEREOF, I have hereunto
  19    set my hand this 19th day of February 2017.
  20
  21
  22                                     ________________________
                                                    Jeremy Richman
  23
  24
  25
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   1
   2                                     INDEX
   3                              EXAMINATION BY
   4      MS. MENNINGER                                             7
   5      P.M. Session                                              199
   6
   7                             EXHIBITS MARKED
   8      (Defendant's Exhibit 1, hand-drawn                        128
   9      picture marked for identification.)
  10      (Defendant's Exhibit 2, hand-drawn                        149
  11      picture, was marked for
  12      identification.)
  13      (Defendant's Exhibit 3, affidavit,                        262
  14      was marked for identification.)
  15      (Defendant's Exhibit 4,                                   274
  16      RANSOME_000168, was marked for
  17      identification.)
  18      (Defendant's Exhibit 5, jury trial                        323
  19      demand, was marked for
  20      identification.)
  21      (Defendant's Exhibit 6, Bates                             335
  22      stamped Ransome_000017, was marked
  23      for identification.)
  24      (Defendant's Exhibit 7, Bates                             339
  25      stamped Ransome_000204, was marked
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                                                                   Page 425
   1      for identification.)
   2      (Defendant's Exhibit 8, Notice of                         363
   3      Service of Rule 45 Subpoena and
   4      Notice of Deposition of Sarah
   5      Ransome, was marked for
   6      identification.)
   7      (Defendant's Exhibit 8, Bates                             377
   8      stamped RANSOME_000004, was marked
   9      for identification.)
  10      (Defendant's Exhibit 10, Bates                            384
  11      stamped RANSOME_000006, was marked
  12      for identification.)
  13      (Defendant's Exhibit 11, Maureen                          386
  14      Callahan article, was marked for
  15      identification.)
  16      (Defendant's Exhibit 12, website                          389
  17      printout titled How to Apply, was
  18      marked for identification.)
  19      (Defendant's Exhibit 13, Bates                            393
  20      stamped RANSOME_000007 was marked
  21      for identification.)
  22
  23               QUESTIONS INSTRUCTED NOT TO ANSWER
  24      do you have any source of income?                         10
  25      so I'm going to ask you a last                            12
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                                                                   Page 426
   1      time:     Do you have any source of
   2      income?
   3      what is your partner's occupation?                        13
   4      and where do your parents live?                           14
   5      Ms. Ransome, there was a question                         15
   6      pending when you took a break with
   7      your lawyers.          Can you please
   8      answer the question.
   9      what is your partner's cell phone                         28
  10      number?
  11      and you're staying where while                            31
  12      you're here?
  13      have you been promised that you                           34
  14      would have counsel to help you
  15      bring a lawsuit against a number of
  16      people?
  17      what's the private legal matter?                          172
  18      what did you talk about with Alan                         184
  19      Dershowitz?
  20      did you sign a common interest                            185
  21      agreement with Jeffrey?
  22      did he do anything in terms of                            199
  23      contacting anyone on your behalf?
  24      what was the specific legal matter                        199
  25      that you were seeking
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   1      representation for?
   2      who prescribed it to you?                                 204
   3      so please tell me how to reach your                       241
   4      stepmother,                           .
   5      when did you see that?                                    284
   6      when did you provide them to your                         363
   7      counsel?
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